                   Case 1:20-cv-06516-VM Document 104-1 Filed 12/18/20 Page 1 of 68
                           USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                           Nation - By Week

        Week               First-Class Mail   USPS Marketing Mail            Periodicals
           1/4/2020                    91.76%              91.21%                     85.70%
          1/11/2020                    91.36%              88.61%                     85.87%
          1/18/2020                    93.01%              89.86%                     87.71%
          1/25/2020                    91.15%              91.45%                     87.49%
           2/1/2020                    90.71%              90.57%                     87.54%
           2/8/2020                    91.98%              91.80%                     88.57%
          2/15/2020                    93.88%              92.24%                     89.40%
          2/22/2020                    92.84%              93.29%                     87.38%
          2/29/2020                    93.16%              92.41%                     86.54%
           3/7/2020                    92.40%              92.21%                     86.77%
          3/14/2020                    92.11%              91.32%                     86.08%
          3/21/2020                    92.84%              92.48%                     85.57%
          3/28/2020                    92.54%              93.69%                     85.09%
           4/1/2020                    92.82%              90.08%                     85.68%
           4/4/2020                    91.55%              90.54%                     83.16%
          4/11/2020                    89.62%              89.39%                     77.21%
          4/18/2020                    91.24%              89.10%                     78.86%
          4/25/2020                    90.28%              87.83%                     74.97%
           5/2/2020                    89.99%              86.81%                     73.76%
           5/9/2020                    89.52%              87.39%                     68.94%
          5/16/2020                    91.19%              89.52%                     71.72%
          5/23/2020                    92.30%              89.52%                     76.49%
          5/30/2020                    90.39%              91.07%                     78.77%
           6/6/2020                    90.69%              89.70%                     76.53%
          6/13/2020                    91.74%              90.84%                     78.71%
          6/20/2020                    90.86%              90.69%                     79.10%
          6/27/2020                    90.70%              92.34%                     81.00%
           7/1/2020                    91.82%              89.87%                     81.04%
           7/4/2020                    90.56%              87.55%                     77.13%
          7/11/2020                    85.26%              82.94%                     73.16%
          7/18/2020                    82.22%              79.76%                     71.62%
          7/25/2020                    83.64%              82.19%                     69.47%
           8/1/2020                    82.82%              81.58%                     68.95%
           8/8/2020                    81.47%              82.27%                     69.04%
          8/15/2020                    85.19%              86.28%                     73.15%
          8/22/2020                    87.76%              89.54%                     75.57%
          8/29/2020                    88.04%              89.56%                     78.24%
           9/5/2020                    88.74%              87.90%                     80.32%
          9/12/2020                    86.75%              86.90%                     77.04%
          9/19/2020                    84.23%              88.68%                     79.72%
          9/26/2020                    85.97%              89.82%                     78.30%
          10/3/2020                    86.15%              89.17%                     78.54%
         10/10/2020                    85.58%              86.00%                     77.43%
         10/17/2020                    80.85%              86.74%                     74.68%
         10/24/2020                    81.57%              85.57%                     74.74%
         10/31/2020                    84.61%              84.00%                     76.26%
          11/7/2020                    85.40%              86.91%                     79.61%
         11/14/2020                    87.72%              88.70%                     75.44%
         11/21/2020                    84.69%              85.80%                     74.49%
         11/28/2020                    78.86%              85.28%                     67.08%
          12/5/2020                    75.29%              80.77%                     62.00%




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Commission (PRC) at the end of the quarter.                         1
                   Case 1:20-cv-06516-VM Document 104-1 Filed 12/18/20 Page 2 of 68
                           USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                            Area - By Week

         Area                   Week              First-Class Mail   USPS Marketing Mail            Periodicals
Capital Metro                      1/4/2020                   90.91%              87.74%                     84.43%
Capital Metro                     1/11/2020                   90.38%              82.03%                     83.34%
Capital Metro                     1/18/2020                   92.12%              85.94%                     87.35%
Capital Metro                     1/25/2020                   90.55%              88.62%                     86.04%
Capital Metro                      2/1/2020                   90.22%              88.11%                     85.11%
Capital Metro                      2/8/2020                   91.78%              89.28%                     87.92%
Capital Metro                     2/15/2020                   93.58%              89.84%                     89.34%
Capital Metro                     2/22/2020                   92.29%              90.98%                     85.68%
Capital Metro                     2/29/2020                   92.88%              84.70%                     84.43%
Capital Metro                      3/7/2020                   92.15%              89.99%                     85.58%
Capital Metro                     3/14/2020                   92.86%              89.83%                     85.48%
Capital Metro                     3/21/2020                   93.44%              91.39%                     86.61%
Capital Metro                     3/28/2020                   93.23%              93.33%                     86.46%
Capital Metro                      4/1/2020                   94.20%              90.41%                     86.53%
Capital Metro                      4/4/2020                   92.99%              92.27%                     87.31%
Capital Metro                     4/11/2020                   91.65%              91.72%                     81.63%
Capital Metro                     4/18/2020                   92.87%              92.67%                     84.91%
Capital Metro                     4/25/2020                   92.04%              90.92%                     78.95%
Capital Metro                      5/2/2020                   91.08%              88.45%                     77.63%
Capital Metro                      5/9/2020                   89.71%              86.44%                     68.43%
Capital Metro                     5/16/2020                   91.38%              85.77%                     71.09%
Capital Metro                     5/23/2020                   92.45%              88.50%                     78.75%
Capital Metro                     5/30/2020                   89.55%              88.82%                     77.07%
Capital Metro                      6/6/2020                   90.07%              85.87%                     77.74%
Capital Metro                     6/13/2020                   90.86%              88.67%                     78.93%
Capital Metro                     6/20/2020                   90.76%              89.32%                     81.19%
Capital Metro                     6/27/2020                   91.15%              92.77%                     81.11%
Capital Metro                      7/1/2020                   92.00%              88.45%                     80.37%
Capital Metro                      7/4/2020                   90.81%              86.74%                     72.63%
Capital Metro                     7/11/2020                   87.12%              81.71%                     68.58%
Capital Metro                     7/18/2020                   83.65%              78.91%                     66.25%
Capital Metro                     7/25/2020                   84.31%              79.65%                     65.58%
Capital Metro                      8/1/2020                   83.36%              80.50%                     70.06%
Capital Metro                      8/8/2020                   80.63%              77.33%                     68.21%
Capital Metro                     8/15/2020                   83.11%              80.46%                     68.56%
Capital Metro                     8/22/2020                   86.60%              86.67%                     72.47%
Capital Metro                     8/29/2020                   85.46%              86.13%                     68.95%
Capital Metro                      9/5/2020                   84.59%              82.79%                     77.50%
Capital Metro                     9/12/2020                   83.09%              81.13%                     73.59%
Capital Metro                     9/19/2020                   78.70%              82.41%                     75.40%
Capital Metro                     9/26/2020                   82.65%              85.60%                     71.66%
Capital Metro                     10/3/2020                   82.47%              84.14%                     74.88%
Capital Metro                    10/10/2020                   80.76%              79.76%                     69.98%
Capital Metro                    10/17/2020                   73.69%              75.48%                     68.29%
Capital Metro                    10/24/2020                   74.19%              71.22%                     62.56%
Capital Metro                    10/31/2020                   78.86%              70.07%                     62.85%
Capital Metro                     11/7/2020                   80.81%              79.37%                     70.85%
Capital Metro                    11/14/2020                   84.01%              82.86%                     66.64%
Capital Metro                    11/21/2020                   82.54%              80.12%                     71.79%
Capital Metro                    11/28/2020                   74.51%              80.13%                     57.63%
Capital Metro                     12/5/2020                   68.61%              73.75%                     55.85%
Eastern                            1/4/2020                   91.55%              92.72%                     87.05%
Eastern                           1/11/2020                   92.64%              90.84%                     89.31%
Eastern                           1/18/2020                   93.93%              92.72%                     91.71%
Eastern                           1/25/2020                   92.21%              94.23%                     87.53%
Eastern                            2/1/2020                   92.30%              93.80%                     91.07%

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                           USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                            Area - By Week

        Area                    Week              First-Class Mail   USPS Marketing Mail            Periodicals
Eastern                            2/8/2020                   93.13%              94.04%                     89.85%
Eastern                           2/15/2020                   94.59%              94.32%                     91.21%
Eastern                           2/22/2020                   93.18%              95.21%                     90.93%
Eastern                           2/29/2020                   93.38%              94.95%                     90.31%
Eastern                            3/7/2020                   92.88%              94.59%                     90.24%
Eastern                           3/14/2020                   92.91%              94.37%                     88.19%
Eastern                           3/21/2020                   93.69%              94.15%                     88.22%
Eastern                           3/28/2020                   93.37%              95.10%                     88.79%
Eastern                            4/1/2020                   93.95%              93.45%                     88.85%
Eastern                            4/4/2020                   92.93%              93.34%                     87.38%
Eastern                           4/11/2020                   91.43%              91.62%                     80.24%
Eastern                           4/18/2020                   92.12%              92.55%                     81.49%
Eastern                           4/25/2020                   91.18%              90.27%                     77.48%
Eastern                            5/2/2020                   91.23%              90.78%                     79.48%
Eastern                            5/9/2020                   91.38%              91.40%                     72.02%
Eastern                           5/16/2020                   91.88%              92.85%                     77.68%
Eastern                           5/23/2020                   93.24%              90.27%                     80.40%
Eastern                           5/30/2020                   91.66%              92.04%                     80.77%
Eastern                            6/6/2020                   92.14%              91.98%                     81.58%
Eastern                           6/13/2020                   92.73%              92.57%                     82.71%
Eastern                           6/20/2020                   92.34%              91.98%                     82.02%
Eastern                           6/27/2020                   92.27%              93.63%                     83.13%
Eastern                            7/1/2020                   93.02%              92.33%                     80.62%
Eastern                            7/4/2020                   91.09%              89.09%                     78.91%
Eastern                           7/11/2020                   85.29%              82.02%                     74.92%
Eastern                           7/18/2020                   79.00%              74.45%                     73.60%
Eastern                           7/25/2020                   78.04%              79.19%                     72.43%
Eastern                            8/1/2020                   79.75%              81.17%                     68.68%
Eastern                            8/8/2020                   78.98%              80.10%                     71.14%
Eastern                           8/15/2020                   83.65%              85.46%                     75.94%
Eastern                           8/22/2020                   88.25%              90.73%                     78.16%
Eastern                           8/29/2020                   88.53%              90.51%                     77.46%
Eastern                            9/5/2020                   88.90%              88.92%                     80.83%
Eastern                           9/12/2020                   86.27%              86.20%                     78.87%
Eastern                           9/19/2020                   82.98%              87.18%                     81.00%
Eastern                           9/26/2020                   84.81%              89.98%                     78.69%
Eastern                           10/3/2020                   83.72%              88.29%                     82.54%
Eastern                          10/10/2020                   82.90%              85.10%                     79.03%
Eastern                          10/17/2020                   75.39%              82.14%                     72.63%
Eastern                          10/24/2020                   74.07%              80.32%                     74.97%
Eastern                          10/31/2020                   77.49%              77.61%                     79.61%
Eastern                           11/7/2020                   80.40%              82.03%                     80.08%
Eastern                          11/14/2020                   84.46%              85.34%                     75.81%
Eastern                          11/21/2020                   81.31%              79.08%                     73.40%
Eastern                          11/28/2020                   72.11%              79.03%                     66.96%
Eastern                           12/5/2020                   65.90%              71.46%                     48.09%
Great Lakes                        1/4/2020                   91.09%              91.75%                     85.58%
Great Lakes                       1/11/2020                   90.97%              89.42%                     87.13%
Great Lakes                       1/18/2020                   92.29%              89.60%                     86.96%
Great Lakes                       1/25/2020                   90.07%              90.56%                     86.47%
Great Lakes                        2/1/2020                   88.41%              89.81%                     86.19%
Great Lakes                        2/8/2020                   91.63%              90.76%                     87.53%
Great Lakes                       2/15/2020                   93.02%              91.19%                     87.26%
Great Lakes                       2/22/2020                   92.07%              92.50%                     84.37%
Great Lakes                       2/29/2020                   92.35%              89.88%                     84.11%
Great Lakes                        3/7/2020                   92.02%              91.07%                     86.81%

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                   Case 1:20-cv-06516-VM Document 104-1 Filed 12/18/20 Page 4 of 68
                           USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                            Area - By Week

        Area                    Week              First-Class Mail   USPS Marketing Mail            Periodicals
Great Lakes                       3/14/2020                   91.48%              90.71%                     84.42%
Great Lakes                       3/21/2020                   91.76%              89.84%                     82.94%
Great Lakes                       3/28/2020                   90.41%              88.33%                     82.87%
Great Lakes                        4/1/2020                   90.01%              77.95%                     77.26%
Great Lakes                        4/4/2020                   88.16%              82.15%                     76.87%
Great Lakes                       4/11/2020                   84.87%              79.25%                     73.14%
Great Lakes                       4/18/2020                   88.59%              75.22%                     67.57%
Great Lakes                       4/25/2020                   88.23%              76.82%                     69.61%
Great Lakes                        5/2/2020                   87.51%              76.09%                     57.75%
Great Lakes                        5/9/2020                   87.46%              77.87%                     69.07%
Great Lakes                       5/16/2020                   89.26%              86.85%                     61.82%
Great Lakes                       5/23/2020                   91.17%              87.53%                     74.02%
Great Lakes                       5/30/2020                   89.76%              89.69%                     77.53%
Great Lakes                        6/6/2020                   90.21%              87.33%                     74.99%
Great Lakes                       6/13/2020                   90.97%              89.14%                     74.19%
Great Lakes                       6/20/2020                   89.81%              89.73%                     75.24%
Great Lakes                       6/27/2020                   89.77%              91.01%                     76.46%
Great Lakes                        7/1/2020                   90.23%              85.87%                     71.64%
Great Lakes                        7/4/2020                   88.34%              84.28%                     71.03%
Great Lakes                       7/11/2020                   82.40%              79.74%                     70.99%
Great Lakes                       7/18/2020                   81.14%              77.52%                     63.56%
Great Lakes                       7/25/2020                   80.71%              73.47%                     56.85%
Great Lakes                        8/1/2020                   79.49%              71.24%                     58.93%
Great Lakes                        8/8/2020                   79.25%              71.67%                     64.06%
Great Lakes                       8/15/2020                   83.71%              80.19%                     69.20%
Great Lakes                       8/22/2020                   86.38%              83.87%                     71.19%
Great Lakes                       8/29/2020                   87.40%              84.83%                     75.90%
Great Lakes                        9/5/2020                   87.47%              84.88%                     76.27%
Great Lakes                       9/12/2020                   85.18%              85.03%                     72.83%
Great Lakes                       9/19/2020                   78.16%              86.75%                     71.82%
Great Lakes                       9/26/2020                   81.14%              83.62%                     72.51%
Great Lakes                       10/3/2020                   83.53%              82.67%                     69.51%
Great Lakes                      10/10/2020                   83.25%              82.25%                     74.09%
Great Lakes                      10/17/2020                   79.87%              85.71%                     68.95%
Great Lakes                      10/24/2020                   80.44%              85.00%                     69.24%
Great Lakes                      10/31/2020                   83.72%              82.11%                     70.13%
Great Lakes                       11/7/2020                   83.99%              86.23%                     78.73%
Great Lakes                      11/14/2020                   85.74%              86.64%                     66.98%
Great Lakes                      11/21/2020                   82.62%              79.26%                     64.75%
Great Lakes                      11/28/2020                   77.69%              80.13%                     56.27%
Great Lakes                       12/5/2020                   74.28%              77.23%                     49.39%
Northeast                          1/4/2020                   91.24%              89.76%                     84.39%
Northeast                         1/11/2020                   91.20%              87.80%                     80.59%
Northeast                         1/18/2020                   92.10%              88.72%                     82.77%
Northeast                         1/25/2020                   90.46%              91.32%                     83.49%
Northeast                          2/1/2020                   91.45%              90.47%                     85.06%
Northeast                          2/8/2020                   91.74%              91.17%                     85.51%
Northeast                         2/15/2020                   93.41%              92.07%                     86.55%
Northeast                         2/22/2020                   92.49%              91.98%                     81.32%
Northeast                         2/29/2020                   92.77%              92.03%                     82.54%
Northeast                          3/7/2020                   91.80%              90.96%                     82.34%
Northeast                         3/14/2020                   90.56%              87.27%                     80.50%
Northeast                         3/21/2020                   91.17%              89.73%                     78.18%
Northeast                         3/28/2020                   91.02%              89.99%                     73.87%
Northeast                          4/1/2020                   90.88%              86.98%                     76.26%
Northeast                          4/4/2020                   88.48%              77.40%                     63.52%

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                           USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                            Area - By Week

        Area                    Week              First-Class Mail   USPS Marketing Mail            Periodicals
Northeast                         4/11/2020                   84.09%              74.19%                     50.42%
Northeast                         4/18/2020                   85.91%              76.41%                     51.08%
Northeast                         4/25/2020                   85.57%              72.43%                     39.24%
Northeast                          5/2/2020                   84.12%              70.03%                     41.35%
Northeast                          5/9/2020                   85.26%              77.96%                     42.51%
Northeast                         5/16/2020                   88.56%              82.29%                     50.58%
Northeast                         5/23/2020                   89.48%              84.53%                     53.41%
Northeast                         5/30/2020                   87.84%              87.90%                     63.01%
Northeast                          6/6/2020                   88.25%              87.13%                     56.93%
Northeast                         6/13/2020                   90.14%              88.42%                     64.55%
Northeast                         6/20/2020                   89.56%              88.73%                     65.60%
Northeast                         6/27/2020                   89.51%              88.39%                     72.75%
Northeast                          7/1/2020                   90.83%              91.06%                     72.12%
Northeast                          7/4/2020                   89.87%              87.65%                     71.70%
Northeast                         7/11/2020                   84.25%              84.79%                     65.70%
Northeast                         7/18/2020                   82.64%              84.28%                     66.32%
Northeast                         7/25/2020                   85.58%              86.14%                     65.67%
Northeast                          8/1/2020                   84.29%              81.54%                     65.51%
Northeast                          8/8/2020                   81.26%              82.96%                     64.34%
Northeast                         8/15/2020                   85.91%              88.91%                     68.93%
Northeast                         8/22/2020                   88.33%              89.24%                     71.73%
Northeast                         8/29/2020                   89.74%              90.17%                     72.70%
Northeast                          9/5/2020                   90.13%              89.12%                     78.47%
Northeast                         9/12/2020                   87.71%              86.36%                     70.70%
Northeast                         9/19/2020                   85.24%              89.17%                     75.71%
Northeast                         9/26/2020                   88.55%              92.06%                     78.59%
Northeast                         10/3/2020                   88.25%              90.32%                     77.52%
Northeast                        10/10/2020                   88.01%              88.06%                     74.58%
Northeast                        10/17/2020                   85.43%              91.30%                     72.59%
Northeast                        10/24/2020                   86.45%              90.02%                     71.83%
Northeast                        10/31/2020                   88.23%              89.16%                     71.26%
Northeast                         11/7/2020                   88.50%              91.99%                     79.67%
Northeast                        11/14/2020                   89.97%              89.31%                     69.40%
Northeast                        11/21/2020                   86.83%              87.79%                     67.06%
Northeast                        11/28/2020                   83.19%              89.50%                     60.44%
Northeast                         12/5/2020                   78.54%              82.26%                     60.55%
Pacific                            1/4/2020                   93.61%              93.21%                     84.80%
Pacific                           1/11/2020                   92.62%              91.93%                     85.16%
Pacific                           1/18/2020                   93.84%              92.32%                     89.86%
Pacific                           1/25/2020                   92.35%              91.46%                     89.13%
Pacific                            2/1/2020                   90.72%              88.77%                     87.07%
Pacific                            2/8/2020                   91.51%              91.83%                     87.96%
Pacific                           2/15/2020                   94.29%              93.61%                     91.85%
Pacific                           2/22/2020                   93.78%              95.10%                     89.31%
Pacific                           2/29/2020                   93.69%              92.77%                     84.15%
Pacific                            3/7/2020                   93.49%              93.46%                     87.32%
Pacific                           3/14/2020                   92.64%              93.28%                     87.73%
Pacific                           3/21/2020                   93.54%              94.51%                     87.73%
Pacific                           3/28/2020                   93.57%              95.26%                     86.96%
Pacific                            4/1/2020                   93.81%              90.31%                     89.12%
Pacific                            4/4/2020                   92.72%              94.14%                     88.47%
Pacific                           4/11/2020                   91.65%              93.72%                     83.55%
Pacific                           4/18/2020                   92.50%              91.95%                     86.33%
Pacific                           4/25/2020                   90.30%              92.08%                     81.57%
Pacific                            5/2/2020                   91.48%              92.89%                     82.21%
Pacific                            5/9/2020                   89.83%              92.48%                     76.42%

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                           USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                            Area - By Week

        Area                    Week              First-Class Mail   USPS Marketing Mail            Periodicals
Pacific                           5/16/2020                   91.10%              92.80%                     79.79%
Pacific                           5/23/2020                   92.14%              91.87%                     79.56%
Pacific                           5/30/2020                   90.43%              91.48%                     77.38%
Pacific                            6/6/2020                   90.74%              91.61%                     77.79%
Pacific                           6/13/2020                   91.85%              91.48%                     81.97%
Pacific                           6/20/2020                   89.79%              90.86%                     81.10%
Pacific                           6/27/2020                   90.64%              91.67%                     81.63%
Pacific                            7/1/2020                   91.54%              87.77%                     83.93%
Pacific                            7/4/2020                   91.17%              88.17%                     75.26%
Pacific                           7/11/2020                   86.26%              85.84%                     71.24%
Pacific                           7/18/2020                   82.52%              82.14%                     74.54%
Pacific                           7/25/2020                   84.12%              85.11%                     69.36%
Pacific                            8/1/2020                   80.80%              83.60%                     64.08%
Pacific                            8/8/2020                   81.29%              85.75%                     67.68%
Pacific                           8/15/2020                   86.37%              89.32%                     72.57%
Pacific                           8/22/2020                   88.84%              91.04%                     76.21%
Pacific                           8/29/2020                   90.24%              90.64%                     80.06%
Pacific                            9/5/2020                   91.22%              91.11%                     80.99%
Pacific                           9/12/2020                   90.91%              91.51%                     81.10%
Pacific                           9/19/2020                   90.70%              93.56%                     87.02%
Pacific                           9/26/2020                   90.77%              93.35%                     81.83%
Pacific                           10/3/2020                   90.10%              93.63%                     83.00%
Pacific                          10/10/2020                   90.73%              91.92%                     80.21%
Pacific                          10/17/2020                   87.42%              94.13%                     79.07%
Pacific                          10/24/2020                   88.62%              94.38%                     80.93%
Pacific                          10/31/2020                   90.18%              93.23%                     85.72%
Pacific                           11/7/2020                   90.99%              94.38%                     86.58%
Pacific                          11/14/2020                   92.18%              94.15%                     87.69%
Pacific                          11/21/2020                   89.90%              93.95%                     87.20%
Pacific                          11/28/2020                   84.87%              92.86%                     80.34%
Pacific                           12/5/2020                   81.96%              91.33%                     80.18%
Southern                           1/4/2020                   91.96%              91.10%                     84.77%
Southern                          1/11/2020                   91.03%              87.45%                     85.13%
Southern                          1/18/2020                   93.47%              88.19%                     86.46%
Southern                          1/25/2020                   91.52%              90.04%                     88.85%
Southern                           2/1/2020                   91.36%              90.05%                     86.98%
Southern                           2/8/2020                   92.07%              91.64%                     87.48%
Southern                          2/15/2020                   93.87%              91.60%                     88.06%
Southern                          2/22/2020                   92.56%              92.30%                     86.83%
Southern                          2/29/2020                   93.23%              91.98%                     87.74%
Southern                           3/7/2020                   92.38%              91.56%                     85.73%
Southern                          3/14/2020                   91.83%              90.23%                     85.16%
Southern                          3/21/2020                   93.39%              92.77%                     86.53%
Southern                          3/28/2020                   93.12%              94.98%                     86.48%
Southern                           4/1/2020                   93.38%              91.72%                     88.84%
Southern                           4/4/2020                   92.33%              94.01%                     86.97%
Southern                          4/11/2020                   91.03%              93.61%                     80.96%
Southern                          4/18/2020                   92.56%              93.59%                     86.73%
Southern                          4/25/2020                   91.99%              91.68%                     83.97%
Southern                           5/2/2020                   91.40%              91.60%                     80.60%
Southern                           5/9/2020                   90.61%              90.07%                     71.47%
Southern                          5/16/2020                   92.05%              91.16%                     79.32%
Southern                          5/23/2020                   93.01%              89.87%                     80.48%
Southern                          5/30/2020                   91.22%              91.55%                     81.97%
Southern                           6/6/2020                   90.94%              90.28%                     79.37%
Southern                          6/13/2020                   92.00%              90.90%                     80.87%

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Commission (PRC) at the end of the quarter.                         6
                   Case 1:20-cv-06516-VM Document 104-1 Filed 12/18/20 Page 7 of 68
                           USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                            Area - By Week

        Area                    Week              First-Class Mail   USPS Marketing Mail            Periodicals
Southern                          6/20/2020                   90.63%              90.60%                     81.47%
Southern                          6/27/2020                   90.45%              91.90%                     79.90%
Southern                           7/1/2020                   92.37%              90.16%                     82.94%
Southern                           7/4/2020                   90.68%              87.43%                     77.49%
Southern                          7/11/2020                   84.76%              79.47%                     74.99%
Southern                          7/18/2020                   81.60%              76.82%                     69.06%
Southern                          7/25/2020                   84.82%              80.34%                     71.90%
Southern                           8/1/2020                   84.42%              81.51%                     70.25%
Southern                           8/8/2020                   82.51%              84.94%                     67.60%
Southern                          8/15/2020                   86.42%              86.98%                     71.62%
Southern                          8/22/2020                   88.25%              89.95%                     75.23%
Southern                          8/29/2020                   87.98%              90.47%                     83.86%
Southern                           9/5/2020                   89.50%              87.49%                     79.54%
Southern                          9/12/2020                   87.10%              87.40%                     79.28%
Southern                          9/19/2020                   85.15%              88.82%                     80.46%
Southern                          9/26/2020                   86.61%              90.12%                     80.10%
Southern                          10/3/2020                   86.16%              89.51%                     79.05%
Southern                         10/10/2020                   85.99%              86.23%                     77.57%
Southern                         10/17/2020                   81.89%              87.86%                     76.49%
Southern                         10/24/2020                   82.82%              87.12%                     79.48%
Southern                         10/31/2020                   86.27%              86.95%                     79.79%
Southern                          11/7/2020                   86.52%              88.40%                     77.62%
Southern                         11/14/2020                   88.18%              90.82%                     79.62%
Southern                         11/21/2020                   85.40%              90.68%                     76.20%
Southern                         11/28/2020                   80.23%              87.52%                     70.67%
Southern                          12/5/2020                   76.11%              84.59%                     59.47%
Western                            1/4/2020                   91.85%              91.52%                     87.68%
Western                           1/11/2020                   90.75%              90.60%                     88.44%
Western                           1/18/2020                   92.92%              91.35%                     87.56%
Western                           1/25/2020                   90.67%              93.22%                     89.11%
Western                            2/1/2020                   90.42%              91.63%                     89.21%
Western                            2/8/2020                   91.82%              93.23%                     91.20%
Western                           2/15/2020                   94.19%              92.59%                     91.04%
Western                           2/22/2020                   93.32%              94.21%                     90.29%
Western                           2/29/2020                   93.54%              94.12%                     88.10%
Western                            3/7/2020                   92.14%              93.33%                     88.26%
Western                           3/14/2020                   92.37%              93.23%                     88.94%
Western                           3/21/2020                   92.56%              94.25%                     88.05%
Western                           3/28/2020                   92.66%              94.77%                     87.13%
Western                            4/1/2020                   93.11%              93.38%                     87.83%
Western                            4/4/2020                   92.16%              94.18%                     85.19%
Western                           4/11/2020                   90.85%              93.38%                     85.44%
Western                           4/18/2020                   92.59%              94.15%                     85.72%
Western                           4/25/2020                   91.33%              93.95%                     81.55%
Western                            5/2/2020                   91.29%              93.19%                     83.64%
Western                            5/9/2020                   90.69%              92.87%                     81.15%
Western                           5/16/2020                   92.65%              94.29%                     83.71%
Western                           5/23/2020                   93.25%              92.86%                     84.07%
Western                           5/30/2020                   90.87%              93.97%                     83.69%
Western                            6/6/2020                   91.43%              92.32%                     83.19%
Western                           6/13/2020                   92.54%              93.64%                     85.51%
Western                           6/20/2020                   92.13%              92.75%                     83.29%
Western                           6/27/2020                   90.95%              93.64%                     87.16%
Western                            7/1/2020                   91.94%              91.87%                     85.42%
Western                            7/4/2020                   91.37%              89.49%                     82.28%
Western                           7/11/2020                   86.80%              88.39%                     81.39%

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Commission (PRC) at the end of the quarter.                         7
                   Case 1:20-cv-06516-VM Document 104-1 Filed 12/18/20 Page 8 of 68
                           USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                            Area - By Week

          Area                  Week              First-Class Mail   USPS Marketing Mail            Periodicals
Western                           7/18/2020                   84.66%              86.94%                     82.10%
Western                           7/25/2020                   87.04%              90.19%                     79.07%
Western                            8/1/2020                   86.05%              88.72%                     79.39%
Western                            8/8/2020                   84.67%              89.79%                     76.24%
Western                           8/15/2020                   86.23%              91.11%                     80.10%
Western                           8/22/2020                   87.48%              93.13%                     81.52%
Western                           8/29/2020                   87.23%              92.48%                     82.57%
Western                            9/5/2020                   88.86%              90.35%                     84.37%
Western                           9/12/2020                   87.12%              90.00%                     83.06%
Western                           9/19/2020                   87.66%              92.59%                     83.96%
Western                           9/26/2020                   87.70%              91.99%                     82.64%
Western                           10/3/2020                   88.38%              93.29%                     82.07%
Western                          10/10/2020                   87.48%              87.39%                     84.12%
Western                          10/17/2020                   82.88%              88.93%                     80.21%
Western                          10/24/2020                   84.50%              90.19%                     82.67%
Western                          10/31/2020                   87.23%              88.24%                     80.60%
Western                           11/7/2020                   86.87%              87.28%                     83.40%
Western                          11/14/2020                   89.34%              90.53%                     82.49%
Western                          11/21/2020                   84.62%              88.34%                     79.55%
Western                          11/28/2020                   80.21%              86.29%                     73.82%
Western                           12/5/2020                   79.39%              82.94%                     70.39%




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Commission (PRC) at the end of the quarter.                         8
                    Case 1:20-cv-06516-VM Document 104-1 Filed 12/18/20 Page 9 of 68
                             USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                             District - By Week

         Area                  District                  Week               First-Class Mail   USPS Marketing Mail           Periodicals
Capital Metro          Atlanta                              1/4/2020                    92.83%              84.53%                    81.66%
Capital Metro          Atlanta                             1/11/2020                    91.52%              82.35%                    81.44%
Capital Metro          Atlanta                             1/18/2020                    93.84%              79.42%                    87.63%
Capital Metro          Atlanta                             1/25/2020                    91.34%              85.59%                    85.13%
Capital Metro          Atlanta                              2/1/2020                    91.16%              77.71%                    80.65%
Capital Metro          Atlanta                              2/8/2020                    92.55%              86.78%                    87.46%
Capital Metro          Atlanta                             2/15/2020                    94.07%              84.00%                    90.70%
Capital Metro          Atlanta                             2/22/2020                    92.05%              87.86%                    87.92%
Capital Metro          Atlanta                             2/29/2020                    93.18%              83.15%                    78.75%
Capital Metro          Atlanta                              3/7/2020                    92.32%              88.33%                    79.72%
Capital Metro          Atlanta                             3/14/2020                    93.07%              89.46%                    80.15%
Capital Metro          Atlanta                             3/21/2020                    93.61%              89.59%                    84.71%
Capital Metro          Atlanta                             3/28/2020                    93.10%              92.59%                    83.72%
Capital Metro          Atlanta                              4/1/2020                    94.40%              82.00%                    85.27%
Capital Metro          Atlanta                              4/4/2020                    93.18%              83.56%                    83.21%
Capital Metro          Atlanta                             4/11/2020                    92.63%              90.21%                    84.09%
Capital Metro          Atlanta                             4/18/2020                    92.78%              91.55%                    80.77%
Capital Metro          Atlanta                             4/25/2020                    91.58%              87.90%                    78.32%
Capital Metro          Atlanta                              5/2/2020                    92.12%              79.79%                    69.62%
Capital Metro          Atlanta                              5/9/2020                    90.84%              80.79%                    55.69%
Capital Metro          Atlanta                             5/16/2020                    92.63%              82.94%                    59.76%
Capital Metro          Atlanta                             5/23/2020                    92.94%              86.30%                    77.07%
Capital Metro          Atlanta                             5/30/2020                    91.40%              86.04%                    72.59%
Capital Metro          Atlanta                              6/6/2020                    91.02%              76.43%                    72.63%
Capital Metro          Atlanta                             6/13/2020                    91.69%              81.79%                    76.83%
Capital Metro          Atlanta                             6/20/2020                    91.61%              83.74%                    85.04%
Capital Metro          Atlanta                             6/27/2020                    91.49%              88.79%                    83.37%
Capital Metro          Atlanta                              7/1/2020                    91.77%              77.58%                    65.41%
Capital Metro          Atlanta                              7/4/2020                    90.71%              80.35%                    70.00%
Capital Metro          Atlanta                             7/11/2020                    87.14%              76.45%                    65.86%
Capital Metro          Atlanta                             7/18/2020                    85.51%              72.51%                    55.21%
Capital Metro          Atlanta                             7/25/2020                    87.14%              79.36%                    73.20%
Capital Metro          Atlanta                              8/1/2020                    86.59%              72.52%                    71.29%
Capital Metro          Atlanta                              8/8/2020                    83.99%              77.99%                    68.78%
Capital Metro          Atlanta                             8/15/2020                    84.97%              72.34%                    66.85%
Capital Metro          Atlanta                             8/22/2020                    89.79%              80.90%                    79.80%
Capital Metro          Atlanta                             8/29/2020                    90.08%              83.23%                    81.18%
Capital Metro          Atlanta                              9/5/2020                    88.75%              75.27%                    73.21%
Capital Metro          Atlanta                             9/12/2020                    85.36%              76.04%                    76.73%
Capital Metro          Atlanta                             9/19/2020                    82.06%              72.50%                    69.70%
Capital Metro          Atlanta                             9/26/2020                    83.50%              73.58%                    65.74%
Capital Metro          Atlanta                             10/3/2020                    83.78%              72.87%                    62.69%
Capital Metro          Atlanta                            10/10/2020                    82.22%              59.55%                    55.46%
Capital Metro          Atlanta                            10/17/2020                    79.46%              56.97%                    59.14%
Capital Metro          Atlanta                            10/24/2020                    80.83%              63.45%                    71.98%
Capital Metro          Atlanta                            10/31/2020                    82.62%              66.40%                    62.31%
Capital Metro          Atlanta                             11/7/2020                    85.07%              77.60%                    68.36%
Capital Metro          Atlanta                            11/14/2020                    87.63%              82.97%                    72.48%
Capital Metro          Atlanta                            11/21/2020                    84.24%              75.53%                    75.89%
Capital Metro          Atlanta                            11/28/2020                    75.25%              67.50%                    59.95%
Capital Metro          Atlanta                             12/5/2020                    67.22%              65.15%                    34.27%
Capital Metro          Baltimore                            1/4/2020                    86.86%              83.71%                    82.29%
Capital Metro          Baltimore                           1/11/2020                    86.82%              76.29%                    89.55%
Capital Metro          Baltimore                           1/18/2020                    86.79%              82.91%                    87.64%
Capital Metro          Baltimore                           1/25/2020                    87.34%              88.07%                    83.09%
Capital Metro          Baltimore                            2/1/2020                    89.92%              89.30%                    80.31%
Capital Metro          Baltimore                            2/8/2020                    91.36%              89.82%                    87.77%


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                             USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                             District - By Week

         Area                  District                  Week               First-Class Mail   USPS Marketing Mail           Periodicals
Capital Metro          Baltimore                           2/15/2020                    91.56%              88.99%                    86.43%
Capital Metro          Baltimore                           2/22/2020                    91.43%              91.17%                    87.84%
Capital Metro          Baltimore                           2/29/2020                    91.48%              84.23%                    80.89%
Capital Metro          Baltimore                            3/7/2020                    89.48%              90.54%                    88.67%
Capital Metro          Baltimore                           3/14/2020                    91.31%              90.94%                    88.24%
Capital Metro          Baltimore                           3/21/2020                    91.29%              89.01%                    82.65%
Capital Metro          Baltimore                           3/28/2020                    91.85%              93.12%                    87.14%
Capital Metro          Baltimore                            4/1/2020                    91.83%              90.54%                    82.92%
Capital Metro          Baltimore                            4/4/2020                    88.77%              87.17%                    84.37%
Capital Metro          Baltimore                           4/11/2020                    86.75%              85.31%                    76.68%
Capital Metro          Baltimore                           4/18/2020                    90.02%              89.80%                    80.94%
Capital Metro          Baltimore                           4/25/2020                    89.10%              85.93%                    70.37%
Capital Metro          Baltimore                            5/2/2020                    85.36%              77.15%                    53.59%
Capital Metro          Baltimore                            5/9/2020                    78.86%              67.20%                    36.73%
Capital Metro          Baltimore                           5/16/2020                    80.89%              66.21%                    27.03%
Capital Metro          Baltimore                           5/23/2020                    88.91%              83.67%                    61.07%
Capital Metro          Baltimore                           5/30/2020                    80.20%              76.24%                    67.31%
Capital Metro          Baltimore                            6/6/2020                    80.99%              73.22%                    67.37%
Capital Metro          Baltimore                           6/13/2020                    86.03%              86.68%                    71.02%
Capital Metro          Baltimore                           6/20/2020                    85.04%              86.87%                    76.76%
Capital Metro          Baltimore                           6/27/2020                    88.46%              93.82%                    79.25%
Capital Metro          Baltimore                            7/1/2020                    89.70%              89.77%                    79.17%
Capital Metro          Baltimore                            7/4/2020                    87.97%              88.03%                    75.78%
Capital Metro          Baltimore                           7/11/2020                    81.36%              84.02%                    67.07%
Capital Metro          Baltimore                           7/18/2020                    77.06%              80.03%                    71.79%
Capital Metro          Baltimore                           7/25/2020                    75.14%              76.00%                    47.70%
Capital Metro          Baltimore                            8/1/2020                    64.05%              65.44%                    53.58%
Capital Metro          Baltimore                            8/8/2020                    59.63%              58.54%                    41.84%
Capital Metro          Baltimore                           8/15/2020                    64.75%              59.57%                    34.88%
Capital Metro          Baltimore                           8/22/2020                    72.59%              73.85%                    34.55%
Capital Metro          Baltimore                           8/29/2020                    59.74%              58.10%                    29.15%
Capital Metro          Baltimore                            9/5/2020                    61.13%              56.11%                    48.36%
Capital Metro          Baltimore                           9/12/2020                    61.24%              59.53%                    61.61%
Capital Metro          Baltimore                           9/19/2020                    60.67%              74.89%                    65.65%
Capital Metro          Baltimore                           9/26/2020                    73.67%              86.97%                    64.91%
Capital Metro          Baltimore                           10/3/2020                    74.49%              82.33%                    67.08%
Capital Metro          Baltimore                          10/10/2020                    65.50%              74.83%                    70.46%
Capital Metro          Baltimore                          10/17/2020                    53.48%              76.38%                    55.16%
Capital Metro          Baltimore                          10/24/2020                    57.17%              74.39%                    47.99%
Capital Metro          Baltimore                          10/31/2020                    69.01%              76.93%                    60.50%
Capital Metro          Baltimore                           11/7/2020                    74.70%              83.76%                    64.56%
Capital Metro          Baltimore                          11/14/2020                    79.40%              85.66%                    62.33%
Capital Metro          Baltimore                          11/21/2020                    72.42%              78.63%                    56.09%
Capital Metro          Baltimore                          11/28/2020                    65.17%              78.37%                    40.81%
Capital Metro          Baltimore                           12/5/2020                    58.78%              64.88%                    43.65%
Capital Metro          Capital                              1/4/2020                    85.55%              90.55%                    75.82%
Capital Metro          Capital                             1/11/2020                    87.08%              84.24%                    78.84%
Capital Metro          Capital                             1/18/2020                    89.89%              87.11%                    85.30%
Capital Metro          Capital                             1/25/2020                    88.29%              91.06%                    79.31%
Capital Metro          Capital                              2/1/2020                    87.82%              90.08%                    85.54%
Capital Metro          Capital                              2/8/2020                    88.71%              91.03%                    85.00%
Capital Metro          Capital                             2/15/2020                    91.57%              90.28%                    85.44%
Capital Metro          Capital                             2/22/2020                    90.82%              92.49%                    85.60%
Capital Metro          Capital                             2/29/2020                    90.38%              85.57%                    84.59%
Capital Metro          Capital                              3/7/2020                    90.39%              90.03%                    84.79%
Capital Metro          Capital                             3/14/2020                    90.45%              92.77%                    87.14%
Capital Metro          Capital                             3/21/2020                    91.93%              93.43%                    87.92%


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                   Case 1:20-cv-06516-VM Document 104-1 Filed 12/18/20 Page 11 of 68
                             USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                             District - By Week

         Area                  District                  Week               First-Class Mail   USPS Marketing Mail           Periodicals
Capital Metro          Capital                             3/28/2020                    91.09%              94.16%                    85.12%
Capital Metro          Capital                              4/1/2020                    91.46%              91.93%                    86.95%
Capital Metro          Capital                              4/4/2020                    90.34%              93.96%                    83.32%
Capital Metro          Capital                             4/11/2020                    88.73%              93.43%                    77.77%
Capital Metro          Capital                             4/18/2020                    89.55%              93.38%                    85.53%
Capital Metro          Capital                             4/25/2020                    89.45%              92.36%                    84.13%
Capital Metro          Capital                              5/2/2020                    85.84%              92.01%                    79.30%
Capital Metro          Capital                              5/9/2020                    87.81%              91.47%                    74.73%
Capital Metro          Capital                             5/16/2020                    88.09%              92.30%                    82.03%
Capital Metro          Capital                             5/23/2020                    90.05%              90.62%                    85.17%
Capital Metro          Capital                             5/30/2020                    85.94%              92.11%                    78.82%
Capital Metro          Capital                              6/6/2020                    87.53%              91.45%                    73.32%
Capital Metro          Capital                             6/13/2020                    86.78%              92.44%                    79.71%
Capital Metro          Capital                             6/20/2020                    87.91%              93.63%                    84.40%
Capital Metro          Capital                             6/27/2020                    87.88%              94.34%                    83.01%
Capital Metro          Capital                              7/1/2020                    89.73%              90.81%                    76.96%
Capital Metro          Capital                              7/4/2020                    86.45%              89.80%                    77.58%
Capital Metro          Capital                             7/11/2020                    85.59%              89.31%                    66.78%
Capital Metro          Capital                             7/18/2020                    82.48%              86.07%                    74.13%
Capital Metro          Capital                             7/25/2020                    78.11%              82.38%                    70.60%
Capital Metro          Capital                              8/1/2020                    77.27%              82.63%                    63.12%
Capital Metro          Capital                              8/8/2020                    76.75%              84.26%                    69.75%
Capital Metro          Capital                             8/15/2020                    78.24%              84.85%                    66.65%
Capital Metro          Capital                             8/22/2020                    82.07%              88.32%                    60.86%
Capital Metro          Capital                             8/29/2020                    78.37%              87.51%                    65.87%
Capital Metro          Capital                              9/5/2020                    76.34%              81.41%                    68.94%
Capital Metro          Capital                             9/12/2020                    77.28%              82.91%                    64.22%
Capital Metro          Capital                             9/19/2020                    70.97%              86.31%                    75.05%
Capital Metro          Capital                             9/26/2020                    74.13%              86.19%                    64.27%
Capital Metro          Capital                             10/3/2020                    74.44%              82.00%                    60.33%
Capital Metro          Capital                            10/10/2020                    78.09%              87.35%                    64.91%
Capital Metro          Capital                            10/17/2020                    67.43%              92.17%                    76.55%
Capital Metro          Capital                            10/24/2020                    75.96%              89.23%                    72.88%
Capital Metro          Capital                            10/31/2020                    75.53%              87.53%                    62.66%
Capital Metro          Capital                             11/7/2020                    74.86%              84.47%                    72.72%
Capital Metro          Capital                            11/14/2020                    78.35%              87.35%                    63.16%
Capital Metro          Capital                            11/21/2020                    75.86%              89.00%                    62.13%
Capital Metro          Capital                            11/28/2020                    71.15%              88.25%                    62.06%
Capital Metro          Capital                             12/5/2020                    64.27%              83.60%                    73.58%
Capital Metro          Greater S Carolina                   1/4/2020                    93.36%              86.18%                    93.05%
Capital Metro          Greater S Carolina                  1/11/2020                    93.03%              90.56%                    91.15%
Capital Metro          Greater S Carolina                  1/18/2020                    93.06%              85.45%                    90.20%
Capital Metro          Greater S Carolina                  1/25/2020                    93.00%              91.53%                    94.22%
Capital Metro          Greater S Carolina                   2/1/2020                    92.25%              86.52%                    94.86%
Capital Metro          Greater S Carolina                   2/8/2020                    93.48%              93.26%                    93.50%
Capital Metro          Greater S Carolina                  2/15/2020                    94.83%              88.36%                    91.00%
Capital Metro          Greater S Carolina                  2/22/2020                    93.89%              94.29%                    92.48%
Capital Metro          Greater S Carolina                  2/29/2020                    93.88%              86.51%                    94.68%
Capital Metro          Greater S Carolina                   3/7/2020                    92.90%              93.02%                    94.09%
Capital Metro          Greater S Carolina                  3/14/2020                    93.97%              86.79%                    94.75%
Capital Metro          Greater S Carolina                  3/21/2020                    93.70%              94.01%                    94.36%
Capital Metro          Greater S Carolina                  3/28/2020                    95.17%              94.65%                    88.72%
Capital Metro          Greater S Carolina                   4/1/2020                    95.16%              92.85%                    92.29%
Capital Metro          Greater S Carolina                   4/4/2020                    94.24%              95.56%                    94.94%
Capital Metro          Greater S Carolina                  4/11/2020                    93.68%              95.21%                    92.25%
Capital Metro          Greater S Carolina                  4/18/2020                    94.90%              96.28%                    93.93%
Capital Metro          Greater S Carolina                  4/25/2020                    93.76%              93.90%                    82.81%


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Commission (PRC) at the end of the quarter.                          11
                   Case 1:20-cv-06516-VM Document 104-1 Filed 12/18/20 Page 12 of 68
                             USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                             District - By Week

         Area                  District                  Week               First-Class Mail   USPS Marketing Mail           Periodicals
Capital Metro          Greater S Carolina                   5/2/2020                    93.09%              85.33%                    92.13%
Capital Metro          Greater S Carolina                   5/9/2020                    91.43%              90.39%                    88.82%
Capital Metro          Greater S Carolina                  5/16/2020                    93.83%              91.47%                    87.22%
Capital Metro          Greater S Carolina                  5/23/2020                    93.91%              90.98%                    85.76%
Capital Metro          Greater S Carolina                  5/30/2020                    92.31%              93.87%                    85.87%
Capital Metro          Greater S Carolina                   6/6/2020                    92.09%              90.79%                    90.27%
Capital Metro          Greater S Carolina                  6/13/2020                    92.58%              92.58%                    85.42%
Capital Metro          Greater S Carolina                  6/20/2020                    92.76%              91.95%                    84.24%
Capital Metro          Greater S Carolina                  6/27/2020                    93.24%              94.46%                    88.81%
Capital Metro          Greater S Carolina                   7/1/2020                    93.94%              92.72%                    87.19%
Capital Metro          Greater S Carolina                   7/4/2020                    93.31%              90.64%                    74.70%
Capital Metro          Greater S Carolina                  7/11/2020                    90.37%              75.69%                    75.37%
Capital Metro          Greater S Carolina                  7/18/2020                    86.99%              78.71%                    63.96%
Capital Metro          Greater S Carolina                  7/25/2020                    85.29%              76.82%                    76.12%
Capital Metro          Greater S Carolina                   8/1/2020                    85.08%              75.02%                    72.63%
Capital Metro          Greater S Carolina                   8/8/2020                    78.41%              73.38%                    76.82%
Capital Metro          Greater S Carolina                  8/15/2020                    85.93%              86.42%                    77.36%
Capital Metro          Greater S Carolina                  8/22/2020                    89.70%              85.23%                    82.46%
Capital Metro          Greater S Carolina                  8/29/2020                    89.29%              93.00%                    90.28%
Capital Metro          Greater S Carolina                   9/5/2020                    87.99%              81.99%                    92.00%
Capital Metro          Greater S Carolina                  9/12/2020                    84.53%              84.41%                    84.77%
Capital Metro          Greater S Carolina                  9/19/2020                    79.53%              85.88%                    85.87%
Capital Metro          Greater S Carolina                  9/26/2020                    84.88%              91.10%                    80.72%
Capital Metro          Greater S Carolina                  10/3/2020                    83.48%              90.31%                    91.51%
Capital Metro          Greater S Carolina                 10/10/2020                    81.16%              83.37%                    85.37%
Capital Metro          Greater S Carolina                 10/17/2020                    72.69%              85.62%                    80.98%
Capital Metro          Greater S Carolina                 10/24/2020                    67.85%              77.86%                    73.77%
Capital Metro          Greater S Carolina                 10/31/2020                    71.43%              73.14%                    84.71%
Capital Metro          Greater S Carolina                  11/7/2020                    72.64%              83.37%                    91.31%
Capital Metro          Greater S Carolina                 11/14/2020                    81.90%              86.33%                    81.63%
Capital Metro          Greater S Carolina                 11/21/2020                    79.99%              85.69%                    79.40%
Capital Metro          Greater S Carolina                 11/28/2020                    76.84%              86.59%                    77.49%
Capital Metro          Greater S Carolina                  12/5/2020                    76.60%              78.14%                    70.10%
Capital Metro          Greensboro                           1/4/2020                    90.72%              84.28%                    85.86%
Capital Metro          Greensboro                          1/11/2020                    90.85%              87.38%                    84.62%
Capital Metro          Greensboro                          1/18/2020                    93.16%              90.81%                    84.58%
Capital Metro          Greensboro                          1/25/2020                    91.29%              89.88%                    90.79%
Capital Metro          Greensboro                           2/1/2020                    91.50%              86.19%                    86.97%
Capital Metro          Greensboro                           2/8/2020                    92.51%              91.24%                    90.05%
Capital Metro          Greensboro                          2/15/2020                    94.48%              87.11%                    90.22%
Capital Metro          Greensboro                          2/22/2020                    93.31%              93.03%                    80.02%
Capital Metro          Greensboro                          2/29/2020                    93.21%              86.67%                    86.39%
Capital Metro          Greensboro                           3/7/2020                    93.15%              92.61%                    84.90%
Capital Metro          Greensboro                          3/14/2020                    93.51%              86.68%                    87.56%
Capital Metro          Greensboro                          3/21/2020                    94.42%              94.12%                    88.10%
Capital Metro          Greensboro                          3/28/2020                    94.84%              94.19%                    86.98%
Capital Metro          Greensboro                           4/1/2020                    94.30%              93.60%                    87.15%
Capital Metro          Greensboro                           4/4/2020                    94.45%              95.39%                    85.63%
Capital Metro          Greensboro                          4/11/2020                    93.31%              88.97%                    82.58%
Capital Metro          Greensboro                          4/18/2020                    94.16%              94.40%                    85.19%
Capital Metro          Greensboro                          4/25/2020                    93.45%              92.60%                    80.68%
Capital Metro          Greensboro                           5/2/2020                    92.78%              84.61%                    76.57%
Capital Metro          Greensboro                           5/9/2020                    91.76%              92.17%                    66.91%
Capital Metro          Greensboro                          5/16/2020                    92.97%              89.93%                    78.76%
Capital Metro          Greensboro                          5/23/2020                    93.53%              90.57%                    83.77%
Capital Metro          Greensboro                          5/30/2020                    90.60%              84.87%                    73.63%
Capital Metro          Greensboro                           6/6/2020                    92.05%              92.87%                    73.93%


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Commission (PRC) at the end of the quarter.                          12
                   Case 1:20-cv-06516-VM Document 104-1 Filed 12/18/20 Page 13 of 68
                             USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                             District - By Week

         Area                 District                   Week               First-Class Mail   USPS Marketing Mail           Periodicals
Capital Metro          Greensboro                          6/13/2020                    90.47%              92.83%                    86.87%
Capital Metro          Greensboro                          6/20/2020                    92.25%              87.07%                    80.89%
Capital Metro          Greensboro                          6/27/2020                    92.34%              94.42%                    80.18%
Capital Metro          Greensboro                           7/1/2020                    93.50%              91.92%                    75.40%
Capital Metro          Greensboro                           7/4/2020                    92.49%              89.41%                    76.51%
Capital Metro          Greensboro                          7/11/2020                    90.23%              83.44%                    70.95%
Capital Metro          Greensboro                          7/18/2020                    86.67%              89.08%                    72.40%
Capital Metro          Greensboro                          7/25/2020                    87.78%              84.40%                    58.31%
Capital Metro          Greensboro                           8/1/2020                    86.42%              78.34%                    67.77%
Capital Metro          Greensboro                           8/8/2020                    83.97%              76.59%                    74.90%
Capital Metro          Greensboro                          8/15/2020                    86.52%              79.80%                    74.81%
Capital Metro          Greensboro                          8/22/2020                    87.31%              91.94%                    72.59%
Capital Metro          Greensboro                          8/29/2020                    88.72%              93.14%                    82.20%
Capital Metro          Greensboro                           9/5/2020                    88.43%              86.42%                    74.63%
Capital Metro          Greensboro                          9/12/2020                    82.42%              76.98%                    68.63%
Capital Metro          Greensboro                          9/19/2020                    78.49%              77.70%                    70.66%
Capital Metro          Greensboro                          9/26/2020                    82.05%              86.47%                    68.52%
Capital Metro          Greensboro                          10/3/2020                    80.64%              83.48%                    77.01%
Capital Metro          Greensboro                         10/10/2020                    79.35%              76.02%                    67.51%
Capital Metro          Greensboro                         10/17/2020                    62.27%              56.37%                    56.59%
Capital Metro          Greensboro                         10/24/2020                    67.84%              48.30%                    36.37%
Capital Metro          Greensboro                         10/31/2020                    71.43%              49.38%                    37.55%
Capital Metro          Greensboro                          11/7/2020                    75.58%              53.68%                    42.31%
Capital Metro          Greensboro                         11/14/2020                    77.46%              65.61%                    55.14%
Capital Metro          Greensboro                         11/21/2020                    79.89%              67.41%                    63.64%
Capital Metro          Greensboro                         11/28/2020                    67.64%              66.61%                    38.93%
Capital Metro          Greensboro                          12/5/2020                    60.14%              60.15%                    41.18%
Capital Metro          Mid-Carolinas                        1/4/2020                    91.62%              89.59%                    79.38%
Capital Metro          Mid-Carolinas                       1/11/2020                    90.67%              72.16%                    72.51%
Capital Metro          Mid-Carolinas                       1/18/2020                    92.16%              85.40%                    84.42%
Capital Metro          Mid-Carolinas                       1/25/2020                    90.43%              86.19%                    87.40%
Capital Metro          Mid-Carolinas                        2/1/2020                    89.41%              84.70%                    86.68%
Capital Metro          Mid-Carolinas                        2/8/2020                    91.59%              87.19%                    84.92%
Capital Metro          Mid-Carolinas                       2/15/2020                    93.98%              90.37%                    84.96%
Capital Metro          Mid-Carolinas                       2/22/2020                    92.83%              92.25%                    84.46%
Capital Metro          Mid-Carolinas                       2/29/2020                    94.44%              85.10%                    84.12%
Capital Metro          Mid-Carolinas                        3/7/2020                    93.40%              89.88%                    84.43%
Capital Metro          Mid-Carolinas                       3/14/2020                    94.08%              88.88%                    85.89%
Capital Metro          Mid-Carolinas                       3/21/2020                    94.75%              93.46%                    87.55%
Capital Metro          Mid-Carolinas                       3/28/2020                    92.91%              95.08%                    87.16%
Capital Metro          Mid-Carolinas                        4/1/2020                    94.89%              93.95%                    86.36%
Capital Metro          Mid-Carolinas                        4/4/2020                    94.67%              95.23%                    90.35%
Capital Metro          Mid-Carolinas                       4/11/2020                    92.86%              95.41%                    83.59%
Capital Metro          Mid-Carolinas                       4/18/2020                    94.09%              94.51%                    84.84%
Capital Metro          Mid-Carolinas                       4/25/2020                    92.65%              93.86%                    80.90%
Capital Metro          Mid-Carolinas                        5/2/2020                    91.54%              89.35%                    77.25%
Capital Metro          Mid-Carolinas                        5/9/2020                    91.60%              89.85%                    63.52%
Capital Metro          Mid-Carolinas                       5/16/2020                    93.61%              91.29%                    71.18%
Capital Metro          Mid-Carolinas                       5/23/2020                    93.01%              89.90%                    79.69%
Capital Metro          Mid-Carolinas                       5/30/2020                    91.03%              90.35%                    74.81%
Capital Metro          Mid-Carolinas                        6/6/2020                    92.44%              86.55%                    80.73%
Capital Metro          Mid-Carolinas                       6/13/2020                    92.65%              91.59%                    78.59%
Capital Metro          Mid-Carolinas                       6/20/2020                    92.22%              90.89%                    80.35%
Capital Metro          Mid-Carolinas                       6/27/2020                    92.78%              95.72%                    80.90%
Capital Metro          Mid-Carolinas                        7/1/2020                    92.83%              93.24%                    84.26%
Capital Metro          Mid-Carolinas                        7/4/2020                    92.56%              92.91%                    73.52%
Capital Metro          Mid-Carolinas                       7/11/2020                    88.38%              82.29%                    72.88%


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Commission (PRC) at the end of the quarter.                          13
                   Case 1:20-cv-06516-VM Document 104-1 Filed 12/18/20 Page 14 of 68
                             USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                             District - By Week

         Area                 District                   Week               First-Class Mail   USPS Marketing Mail           Periodicals
Capital Metro          Mid-Carolinas                       7/18/2020                    84.26%              71.86%                    64.26%
Capital Metro          Mid-Carolinas                       7/25/2020                    86.63%              78.98%                    63.00%
Capital Metro          Mid-Carolinas                        8/1/2020                    87.62%              83.98%                    67.65%
Capital Metro          Mid-Carolinas                        8/8/2020                    85.35%              81.20%                    68.92%
Capital Metro          Mid-Carolinas                       8/15/2020                    84.98%              84.22%                    70.66%
Capital Metro          Mid-Carolinas                       8/22/2020                    88.77%              90.59%                    75.02%
Capital Metro          Mid-Carolinas                       8/29/2020                    89.77%              93.40%                    68.74%
Capital Metro          Mid-Carolinas                        9/5/2020                    89.28%              89.33%                    86.80%
Capital Metro          Mid-Carolinas                       9/12/2020                    89.46%              91.55%                    83.82%
Capital Metro          Mid-Carolinas                       9/19/2020                    83.41%              93.33%                    81.56%
Capital Metro          Mid-Carolinas                       9/26/2020                    88.57%              91.26%                    80.83%
Capital Metro          Mid-Carolinas                       10/3/2020                    86.15%              88.84%                    78.16%
Capital Metro          Mid-Carolinas                      10/10/2020                    84.66%              88.46%                    79.50%
Capital Metro          Mid-Carolinas                      10/17/2020                    81.07%              85.35%                    77.54%
Capital Metro          Mid-Carolinas                      10/24/2020                    77.97%              67.92%                    67.37%
Capital Metro          Mid-Carolinas                      10/31/2020                    83.06%              57.70%                    68.64%
Capital Metro          Mid-Carolinas                       11/7/2020                    85.07%              86.48%                    76.73%
Capital Metro          Mid-Carolinas                      11/14/2020                    87.24%              91.28%                    71.62%
Capital Metro          Mid-Carolinas                      11/21/2020                    87.51%              90.21%                    82.98%
Capital Metro          Mid-Carolinas                      11/28/2020                    79.68%              91.23%                    67.64%
Capital Metro          Mid-Carolinas                       12/5/2020                    73.76%              88.27%                    70.38%
Capital Metro          Northern Virginia                    1/4/2020                    89.00%              89.21%                    89.35%
Capital Metro          Northern Virginia                   1/11/2020                    89.88%              88.63%                    90.69%
Capital Metro          Northern Virginia                   1/18/2020                    92.92%              89.56%                    88.25%
Capital Metro          Northern Virginia                   1/25/2020                    92.26%              92.43%                    84.07%
Capital Metro          Northern Virginia                    2/1/2020                    90.63%              92.65%                    86.63%
Capital Metro          Northern Virginia                    2/8/2020                    92.61%              91.33%                    86.93%
Capital Metro          Northern Virginia                   2/15/2020                    93.04%              91.20%                    87.16%
Capital Metro          Northern Virginia                   2/22/2020                    92.19%              93.29%                    88.98%
Capital Metro          Northern Virginia                   2/29/2020                    92.72%              85.83%                    78.08%
Capital Metro          Northern Virginia                    3/7/2020                    91.34%              93.15%                    87.75%
Capital Metro          Northern Virginia                   3/14/2020                    92.65%              93.37%                    89.63%
Capital Metro          Northern Virginia                   3/21/2020                    91.19%              92.39%                    87.76%
Capital Metro          Northern Virginia                   3/28/2020                    93.38%              92.90%                    91.70%
Capital Metro          Northern Virginia                    4/1/2020                    93.67%              90.96%                    89.51%
Capital Metro          Northern Virginia                    4/4/2020                    91.45%              93.31%                    88.61%
Capital Metro          Northern Virginia                   4/11/2020                    90.99%              93.43%                    79.45%
Capital Metro          Northern Virginia                   4/18/2020                    91.84%              94.21%                    87.89%
Capital Metro          Northern Virginia                   4/25/2020                    92.05%              93.77%                    86.79%
Capital Metro          Northern Virginia                    5/2/2020                    90.81%              92.62%                    86.13%
Capital Metro          Northern Virginia                    5/9/2020                    89.04%              92.34%                    81.23%
Capital Metro          Northern Virginia                   5/16/2020                    90.63%              93.43%                    85.67%
Capital Metro          Northern Virginia                   5/23/2020                    92.45%              90.83%                    83.93%
Capital Metro          Northern Virginia                   5/30/2020                    88.14%              92.72%                    86.95%
Capital Metro          Northern Virginia                    6/6/2020                    88.86%              91.10%                    79.65%
Capital Metro          Northern Virginia                   6/13/2020                    90.88%              91.85%                    88.12%
Capital Metro          Northern Virginia                   6/20/2020                    89.85%              92.18%                    85.76%
Capital Metro          Northern Virginia                   6/27/2020                    90.21%              92.82%                    91.37%
Capital Metro          Northern Virginia                    7/1/2020                    90.34%              91.73%                    90.94%
Capital Metro          Northern Virginia                    7/4/2020                    88.03%              90.36%                    86.28%
Capital Metro          Northern Virginia                   7/11/2020                    87.15%              91.38%                    84.32%
Capital Metro          Northern Virginia                   7/18/2020                    83.07%              90.13%                    86.50%
Capital Metro          Northern Virginia                   7/25/2020                    80.98%              87.79%                    88.85%
Capital Metro          Northern Virginia                    8/1/2020                    83.51%              82.41%                    87.18%
Capital Metro          Northern Virginia                    8/8/2020                    80.60%              91.01%                    84.93%
Capital Metro          Northern Virginia                   8/15/2020                    85.44%              90.39%                    84.83%
Capital Metro          Northern Virginia                   8/22/2020                    85.73%              91.96%                    86.94%


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Commission (PRC) at the end of the quarter.                          14
                   Case 1:20-cv-06516-VM Document 104-1 Filed 12/18/20 Page 15 of 68
                             USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                             District - By Week

         Area                 District                   Week               First-Class Mail   USPS Marketing Mail           Periodicals
Capital Metro          Northern Virginia                   8/29/2020                    85.58%              90.19%                    69.31%
Capital Metro          Northern Virginia                    9/5/2020                    88.43%              84.77%                    87.93%
Capital Metro          Northern Virginia                   9/12/2020                    83.12%              91.20%                    86.56%
Capital Metro          Northern Virginia                   9/19/2020                    75.97%              92.85%                    86.26%
Capital Metro          Northern Virginia                   9/26/2020                    81.42%              92.33%                    86.55%
Capital Metro          Northern Virginia                   10/3/2020                    82.92%              87.53%                    85.56%
Capital Metro          Northern Virginia                  10/10/2020                    84.77%              91.51%                    71.53%
Capital Metro          Northern Virginia                  10/17/2020                    78.04%              93.20%                    82.09%
Capital Metro          Northern Virginia                  10/24/2020                    78.40%              92.85%                    87.32%
Capital Metro          Northern Virginia                  10/31/2020                    84.17%              92.96%                    85.60%
Capital Metro          Northern Virginia                   11/7/2020                    82.69%              85.54%                    85.82%
Capital Metro          Northern Virginia                  11/14/2020                    84.82%              89.96%                    82.94%
Capital Metro          Northern Virginia                  11/21/2020                    86.03%              89.33%                    86.26%
Capital Metro          Northern Virginia                  11/28/2020                    78.19%              90.86%                    80.97%
Capital Metro          Northern Virginia                   12/5/2020                    65.86%              82.87%                    87.47%
Capital Metro          Richmond                             1/4/2020                    90.17%              83.72%                    79.95%
Capital Metro          Richmond                            1/11/2020                    88.80%              77.33%                    77.12%
Capital Metro          Richmond                            1/18/2020                    90.70%              82.46%                    83.01%
Capital Metro          Richmond                            1/25/2020                    88.51%              85.74%                    83.94%
Capital Metro          Richmond                             2/1/2020                    86.32%              84.89%                    80.23%
Capital Metro          Richmond                             2/8/2020                    89.01%              85.68%                    83.19%
Capital Metro          Richmond                            2/15/2020                    92.44%              85.85%                    83.65%
Capital Metro          Richmond                            2/22/2020                    90.21%              84.22%                    81.78%
Capital Metro          Richmond                            2/29/2020                    89.67%              81.38%                    82.02%
Capital Metro          Richmond                             3/7/2020                    90.56%              85.06%                    78.02%
Capital Metro          Richmond                            3/14/2020                    90.69%              81.83%                    70.54%
Capital Metro          Richmond                            3/21/2020                    92.77%              88.55%                    78.77%
Capital Metro          Richmond                            3/28/2020                    92.55%              90.56%                    83.19%
Capital Metro          Richmond                             4/1/2020                    92.86%              90.44%                    81.83%
Capital Metro          Richmond                             4/4/2020                    92.03%              89.81%                    81.91%
Capital Metro          Richmond                            4/11/2020                    88.73%              86.94%                    70.90%
Capital Metro          Richmond                            4/18/2020                    91.55%              90.87%                    78.43%
Capital Metro          Richmond                            4/25/2020                    91.91%              89.86%                    71.17%
Capital Metro          Richmond                             5/2/2020                    90.85%              88.42%                    77.14%
Capital Metro          Richmond                             5/9/2020                    89.62%              86.95%                    63.37%
Capital Metro          Richmond                            5/16/2020                    89.87%              89.42%                    80.30%
Capital Metro          Richmond                            5/23/2020                    91.03%              86.95%                    73.66%
Capital Metro          Richmond                            5/30/2020                    88.37%              87.77%                    63.80%
Capital Metro          Richmond                             6/6/2020                    89.36%              84.41%                    70.26%
Capital Metro          Richmond                            6/13/2020                    90.13%              84.86%                    63.99%
Capital Metro          Richmond                            6/20/2020                    88.14%              86.64%                    64.28%
Capital Metro          Richmond                            6/27/2020                    87.28%              88.29%                    66.41%
Capital Metro          Richmond                             7/1/2020                    90.73%              83.21%                    77.07%
Capital Metro          Richmond                             7/4/2020                    88.05%              80.24%                    58.94%
Capital Metro          Richmond                            7/11/2020                    83.23%              75.45%                    54.80%
Capital Metro          Richmond                            7/18/2020                    75.87%              64.94%                    50.32%
Capital Metro          Richmond                            7/25/2020                    78.84%              73.92%                    47.91%
Capital Metro          Richmond                             8/1/2020                    81.64%              81.39%                    53.04%
Capital Metro          Richmond                             8/8/2020                    81.17%              78.19%                    46.69%
Capital Metro          Richmond                            8/15/2020                    85.27%              84.11%                    63.19%
Capital Metro          Richmond                            8/22/2020                    86.18%              87.42%                    69.15%
Capital Metro          Richmond                            8/29/2020                    85.30%              88.54%                    66.81%
Capital Metro          Richmond                             9/5/2020                    84.14%              86.18%                    76.42%
Capital Metro          Richmond                            9/12/2020                    84.44%              85.18%                    65.41%
Capital Metro          Richmond                            9/19/2020                    78.46%              87.48%                    68.39%
Capital Metro          Richmond                            9/26/2020                    79.09%              85.63%                    60.34%
Capital Metro          Richmond                            10/3/2020                    83.65%              87.03%                    60.38%


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Commission (PRC) at the end of the quarter.                          15
                   Case 1:20-cv-06516-VM Document 104-1 Filed 12/18/20 Page 16 of 68
                             USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                             District - By Week

         Area                 District                   Week               First-Class Mail   USPS Marketing Mail           Periodicals
Capital Metro          Richmond                           10/10/2020                    83.95%              82.66%                    53.73%
Capital Metro          Richmond                           10/17/2020                    79.70%              86.42%                    61.51%
Capital Metro          Richmond                           10/24/2020                    80.60%              84.07%                    45.59%
Capital Metro          Richmond                           10/31/2020                    84.31%              76.36%                    53.29%
Capital Metro          Richmond                            11/7/2020                    83.17%              79.68%                    55.05%
Capital Metro          Richmond                           11/14/2020                    83.69%              79.24%                    49.20%
Capital Metro          Richmond                           11/21/2020                    82.33%              77.73%                    48.35%
Capital Metro          Richmond                           11/28/2020                    73.58%              78.76%                    42.07%
Capital Metro          Richmond                            12/5/2020                    69.63%              72.17%                    43.75%
Eastern                Appalachian                          1/4/2020                    93.09%              94.10%                    87.17%
Eastern                Appalachian                         1/11/2020                    94.48%              92.04%                    85.39%
Eastern                Appalachian                         1/18/2020                    94.90%              90.18%                    93.26%
Eastern                Appalachian                         1/25/2020                    93.14%              94.56%                    85.48%
Eastern                Appalachian                          2/1/2020                    93.08%              88.65%                    92.36%
Eastern                Appalachian                          2/8/2020                    92.62%              93.19%                    88.58%
Eastern                Appalachian                         2/15/2020                    95.12%              95.46%                    90.88%
Eastern                Appalachian                         2/22/2020                    94.22%              95.26%                    92.02%
Eastern                Appalachian                         2/29/2020                    93.70%              89.24%                    91.57%
Eastern                Appalachian                          3/7/2020                    93.94%              90.69%                    92.06%
Eastern                Appalachian                         3/14/2020                    93.20%              94.13%                    81.04%
Eastern                Appalachian                         3/21/2020                    94.60%              95.30%                    90.53%
Eastern                Appalachian                         3/28/2020                    93.61%              96.79%                    92.04%
Eastern                Appalachian                          4/1/2020                    94.86%              95.09%                    92.56%
Eastern                Appalachian                          4/4/2020                    94.73%              93.47%                    87.76%
Eastern                Appalachian                         4/11/2020                    94.28%              95.46%                    85.36%
Eastern                Appalachian                         4/18/2020                    94.06%              95.63%                    90.22%
Eastern                Appalachian                         4/25/2020                    94.34%              93.72%                    86.43%
Eastern                Appalachian                          5/2/2020                    94.38%              86.91%                    82.54%
Eastern                Appalachian                          5/9/2020                    92.59%              92.40%                    83.56%
Eastern                Appalachian                         5/16/2020                    93.37%              89.03%                    83.03%
Eastern                Appalachian                         5/23/2020                    94.47%              92.47%                    86.52%
Eastern                Appalachian                         5/30/2020                    92.89%              95.96%                    86.01%
Eastern                Appalachian                          6/6/2020                    93.23%              88.44%                    86.65%
Eastern                Appalachian                         6/13/2020                    93.75%              94.57%                    83.39%
Eastern                Appalachian                         6/20/2020                    93.04%              94.78%                    82.92%
Eastern                Appalachian                         6/27/2020                    93.09%              95.32%                    87.66%
Eastern                Appalachian                          7/1/2020                    94.35%              94.70%                    89.91%
Eastern                Appalachian                          7/4/2020                    93.34%              92.88%                    82.54%
Eastern                Appalachian                         7/11/2020                    89.80%              92.18%                    79.81%
Eastern                Appalachian                         7/18/2020                    86.32%              91.39%                    83.84%
Eastern                Appalachian                         7/25/2020                    84.59%              91.52%                    69.04%
Eastern                Appalachian                          8/1/2020                    88.41%              86.38%                    81.92%
Eastern                Appalachian                          8/8/2020                    85.65%              88.53%                    78.98%
Eastern                Appalachian                         8/15/2020                    88.23%              93.03%                    75.47%
Eastern                Appalachian                         8/22/2020                    90.28%              92.85%                    78.80%
Eastern                Appalachian                         8/29/2020                    88.40%              91.42%                    84.78%
Eastern                Appalachian                          9/5/2020                    90.75%              83.66%                    84.91%
Eastern                Appalachian                         9/12/2020                    84.41%              87.31%                    77.51%
Eastern                Appalachian                         9/19/2020                    82.51%              88.13%                    80.19%
Eastern                Appalachian                         9/26/2020                    82.70%              92.87%                    77.01%
Eastern                Appalachian                         10/3/2020                    80.37%              88.56%                    84.36%
Eastern                Appalachian                        10/10/2020                    85.41%              91.68%                    83.28%
Eastern                Appalachian                        10/17/2020                    81.94%              92.20%                    82.19%
Eastern                Appalachian                        10/24/2020                    81.73%              90.91%                    83.94%
Eastern                Appalachian                        10/31/2020                    85.83%              85.15%                    81.50%
Eastern                Appalachian                         11/7/2020                    84.68%              93.44%                    86.38%
Eastern                Appalachian                        11/14/2020                    84.64%              92.92%                    81.76%


Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                          16
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                             USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                             District - By Week

          Area                  District                 Week               First-Class Mail   USPS Marketing Mail           Periodicals
Eastern                Appalachian                        11/21/2020                    85.70%              87.58%                    79.76%
Eastern                Appalachian                        11/28/2020                    78.16%              85.20%                    71.87%
Eastern                Appalachian                         12/5/2020                    72.98%              85.54%                    69.42%
Eastern                Central Pennsylvania                 1/4/2020                    92.66%              90.72%                    82.45%
Eastern                Central Pennsylvania                1/11/2020                    92.32%              88.10%                    87.96%
Eastern                Central Pennsylvania                1/18/2020                    93.43%              91.57%                    90.51%
Eastern                Central Pennsylvania                1/25/2020                    92.88%              93.32%                    86.26%
Eastern                Central Pennsylvania                 2/1/2020                    92.83%              93.23%                    91.05%
Eastern                Central Pennsylvania                 2/8/2020                    93.78%              93.03%                    86.80%
Eastern                Central Pennsylvania                2/15/2020                    94.98%              94.31%                    91.70%
Eastern                Central Pennsylvania                2/22/2020                    93.12%              94.48%                    88.13%
Eastern                Central Pennsylvania                2/29/2020                    93.28%              94.11%                    90.13%
Eastern                Central Pennsylvania                 3/7/2020                    92.79%              93.62%                    89.89%
Eastern                Central Pennsylvania                3/14/2020                    92.71%              94.40%                    88.56%
Eastern                Central Pennsylvania                3/21/2020                    93.82%              93.85%                    87.07%
Eastern                Central Pennsylvania                3/28/2020                    94.33%              93.15%                    88.97%
Eastern                Central Pennsylvania                 4/1/2020                    92.96%              95.00%                    89.49%
Eastern                Central Pennsylvania                 4/4/2020                    92.56%              90.00%                    89.04%
Eastern                Central Pennsylvania                4/11/2020                    92.08%              86.40%                    78.01%
Eastern                Central Pennsylvania                4/18/2020                    91.28%              88.29%                    79.59%
Eastern                Central Pennsylvania                4/25/2020                    90.82%              83.97%                    70.93%
Eastern                Central Pennsylvania                 5/2/2020                    91.50%              90.03%                    79.75%
Eastern                Central Pennsylvania                 5/9/2020                    91.58%              92.56%                    77.05%
Eastern                Central Pennsylvania                5/16/2020                    92.36%              93.80%                    80.68%
Eastern                Central Pennsylvania                5/23/2020                    92.87%              88.67%                    85.48%
Eastern                Central Pennsylvania                5/30/2020                    92.40%              90.75%                    83.87%
Eastern                Central Pennsylvania                 6/6/2020                    93.12%              88.95%                    85.56%
Eastern                Central Pennsylvania                6/13/2020                    93.14%              89.37%                    82.75%
Eastern                Central Pennsylvania                6/20/2020                    92.71%              89.82%                    80.54%
Eastern                Central Pennsylvania                6/27/2020                    91.61%              90.34%                    85.52%
Eastern                Central Pennsylvania                 7/1/2020                    91.69%              93.53%                    80.28%
Eastern                Central Pennsylvania                 7/4/2020                    91.50%              88.56%                    83.52%
Eastern                Central Pennsylvania                7/11/2020                    83.82%              77.15%                    72.53%
Eastern                Central Pennsylvania                7/18/2020                    67.52%              61.63%                    70.74%
Eastern                Central Pennsylvania                7/25/2020                    71.59%              73.81%                    70.44%
Eastern                Central Pennsylvania                 8/1/2020                    76.04%              76.12%                    70.51%
Eastern                Central Pennsylvania                 8/8/2020                    73.60%              74.05%                    69.52%
Eastern                Central Pennsylvania                8/15/2020                    80.62%              83.16%                    72.59%
Eastern                Central Pennsylvania                8/22/2020                    85.06%              90.96%                    76.14%
Eastern                Central Pennsylvania                8/29/2020                    87.59%              89.14%                    81.41%
Eastern                Central Pennsylvania                 9/5/2020                    88.06%              88.21%                    83.76%
Eastern                Central Pennsylvania                9/12/2020                    86.00%              88.25%                    79.53%
Eastern                Central Pennsylvania                9/19/2020                    84.04%              80.48%                    78.66%
Eastern                Central Pennsylvania                9/26/2020                    85.22%              88.70%                    74.86%
Eastern                Central Pennsylvania                10/3/2020                    83.23%              88.70%                    78.57%
Eastern                Central Pennsylvania               10/10/2020                    79.63%              87.97%                    80.83%
Eastern                Central Pennsylvania               10/17/2020                    65.96%              69.34%                    73.65%
Eastern                Central Pennsylvania               10/24/2020                    58.14%              55.44%                    49.73%
Eastern                Central Pennsylvania               10/31/2020                    58.57%              40.71%                    55.32%
Eastern                Central Pennsylvania                11/7/2020                    62.49%              66.08%                    70.97%
Eastern                Central Pennsylvania               11/14/2020                    78.26%              81.47%                    68.27%
Eastern                Central Pennsylvania               11/21/2020                    71.54%              67.44%                    50.52%
Eastern                Central Pennsylvania               11/28/2020                    68.17%              66.70%                    54.62%
Eastern                Central Pennsylvania                12/5/2020                    59.18%              57.64%                    46.96%
Eastern                Kentuckiana                          1/4/2020                    92.04%              95.43%                    90.03%
Eastern                Kentuckiana                         1/11/2020                    93.00%              93.87%                    89.77%
Eastern                Kentuckiana                         1/18/2020                    93.79%              93.20%                    91.07%


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Commission (PRC) at the end of the quarter.                          17
                   Case 1:20-cv-06516-VM Document 104-1 Filed 12/18/20 Page 18 of 68
                             USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                             District - By Week

          Area                 District                  Week               First-Class Mail   USPS Marketing Mail           Periodicals
Eastern                Kentuckiana                         1/25/2020                    91.97%              94.86%                    87.05%
Eastern                Kentuckiana                          2/1/2020                    92.42%              94.10%                    92.16%
Eastern                Kentuckiana                          2/8/2020                    93.33%              94.37%                    90.67%
Eastern                Kentuckiana                         2/15/2020                    94.28%              93.89%                    89.02%
Eastern                Kentuckiana                         2/22/2020                    93.32%              95.74%                    91.55%
Eastern                Kentuckiana                         2/29/2020                    93.01%              95.34%                    90.04%
Eastern                Kentuckiana                          3/7/2020                    92.77%              94.85%                    91.18%
Eastern                Kentuckiana                         3/14/2020                    92.94%              94.32%                    90.14%
Eastern                Kentuckiana                         3/21/2020                    93.65%              94.84%                    91.72%
Eastern                Kentuckiana                         3/28/2020                    94.05%              95.42%                    88.17%
Eastern                Kentuckiana                          4/1/2020                    94.41%              95.69%                    88.24%
Eastern                Kentuckiana                          4/4/2020                    93.92%              95.94%                    87.16%
Eastern                Kentuckiana                         4/11/2020                    93.27%              95.91%                    77.88%
Eastern                Kentuckiana                         4/18/2020                    93.19%              95.13%                    84.88%
Eastern                Kentuckiana                         4/25/2020                    91.33%              95.17%                    74.85%
Eastern                Kentuckiana                          5/2/2020                    90.60%              95.25%                    79.77%
Eastern                Kentuckiana                          5/9/2020                    90.48%              93.48%                    74.72%
Eastern                Kentuckiana                         5/16/2020                    90.68%              93.51%                    77.45%
Eastern                Kentuckiana                         5/23/2020                    92.20%              91.68%                    84.76%
Eastern                Kentuckiana                         5/30/2020                    91.41%              94.06%                    84.89%
Eastern                Kentuckiana                          6/6/2020                    91.23%              94.37%                    83.79%
Eastern                Kentuckiana                         6/13/2020                    92.25%              94.52%                    85.00%
Eastern                Kentuckiana                         6/20/2020                    92.05%              94.54%                    87.28%
Eastern                Kentuckiana                         6/27/2020                    92.04%              93.03%                    89.48%
Eastern                Kentuckiana                          7/1/2020                    93.11%              91.81%                    79.42%
Eastern                Kentuckiana                          7/4/2020                    90.74%              89.78%                    81.21%
Eastern                Kentuckiana                         7/11/2020                    87.65%              84.98%                    75.91%
Eastern                Kentuckiana                         7/18/2020                    81.86%              82.89%                    77.02%
Eastern                Kentuckiana                         7/25/2020                    84.19%              84.55%                    77.24%
Eastern                Kentuckiana                          8/1/2020                    84.28%              82.74%                    65.06%
Eastern                Kentuckiana                          8/8/2020                    79.31%              76.60%                    63.63%
Eastern                Kentuckiana                         8/15/2020                    85.96%              81.65%                    76.82%
Eastern                Kentuckiana                         8/22/2020                    90.15%              92.52%                    78.39%
Eastern                Kentuckiana                         8/29/2020                    89.92%              92.31%                    84.06%
Eastern                Kentuckiana                          9/5/2020                    89.44%              94.00%                    82.74%
Eastern                Kentuckiana                         9/12/2020                    87.53%              91.98%                    87.18%
Eastern                Kentuckiana                         9/19/2020                    83.87%              92.40%                    84.64%
Eastern                Kentuckiana                         9/26/2020                    86.06%              94.12%                    82.30%
Eastern                Kentuckiana                         10/3/2020                    84.15%              94.29%                    79.12%
Eastern                Kentuckiana                        10/10/2020                    86.60%              93.91%                    85.30%
Eastern                Kentuckiana                        10/17/2020                    81.53%              93.73%                    79.98%
Eastern                Kentuckiana                        10/24/2020                    86.23%              93.85%                    84.76%
Eastern                Kentuckiana                        10/31/2020                    87.14%              92.72%                    83.34%
Eastern                Kentuckiana                         11/7/2020                    87.14%              90.16%                    82.03%
Eastern                Kentuckiana                        11/14/2020                    88.21%              94.62%                    79.34%
Eastern                Kentuckiana                        11/21/2020                    82.32%              87.51%                    70.86%
Eastern                Kentuckiana                        11/28/2020                    72.92%              86.67%                    68.18%
Eastern                Kentuckiana                         12/5/2020                    62.11%              78.54%                    37.96%
Eastern                Northern Ohio                        1/4/2020                    93.18%              95.79%                    93.99%
Eastern                Northern Ohio                       1/11/2020                    93.53%              94.99%                    91.16%
Eastern                Northern Ohio                       1/18/2020                    94.49%              93.81%                    93.10%
Eastern                Northern Ohio                       1/25/2020                    92.83%              95.39%                    90.46%
Eastern                Northern Ohio                        2/1/2020                    93.02%              95.18%                    95.22%
Eastern                Northern Ohio                        2/8/2020                    94.00%              95.74%                    93.11%
Eastern                Northern Ohio                       2/15/2020                    94.94%              94.81%                    91.66%
Eastern                Northern Ohio                       2/22/2020                    93.64%              95.44%                    91.66%
Eastern                Northern Ohio                       2/29/2020                    93.99%              95.17%                    91.81%


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Commission (PRC) at the end of the quarter.                          18
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                             USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                             District - By Week

          Area                 District                  Week               First-Class Mail   USPS Marketing Mail           Periodicals
Eastern                Northern Ohio                        3/7/2020                    93.94%              96.16%                    92.30%
Eastern                Northern Ohio                       3/14/2020                    94.00%              96.43%                    89.03%
Eastern                Northern Ohio                       3/21/2020                    94.42%              95.07%                    91.24%
Eastern                Northern Ohio                       3/28/2020                    93.09%              94.55%                    89.02%
Eastern                Northern Ohio                        4/1/2020                    91.85%              91.11%                    90.54%
Eastern                Northern Ohio                        4/4/2020                    90.65%              89.05%                    86.37%
Eastern                Northern Ohio                       4/11/2020                    87.36%              87.68%                    83.77%
Eastern                Northern Ohio                       4/18/2020                    89.41%              89.36%                    76.24%
Eastern                Northern Ohio                       4/25/2020                    87.34%              88.12%                    78.89%
Eastern                Northern Ohio                        5/2/2020                    89.54%              87.65%                    84.22%
Eastern                Northern Ohio                        5/9/2020                    89.91%              87.72%                    73.74%
Eastern                Northern Ohio                       5/16/2020                    92.11%              92.34%                    82.36%
Eastern                Northern Ohio                       5/23/2020                    94.20%              90.86%                    81.76%
Eastern                Northern Ohio                       5/30/2020                    92.75%              94.06%                    86.49%
Eastern                Northern Ohio                        6/6/2020                    92.65%              94.61%                    83.77%
Eastern                Northern Ohio                       6/13/2020                    93.41%              93.58%                    86.30%
Eastern                Northern Ohio                       6/20/2020                    91.46%              91.91%                    78.76%
Eastern                Northern Ohio                       6/27/2020                    91.54%              93.20%                    80.81%
Eastern                Northern Ohio                        7/1/2020                    92.66%              89.42%                    74.07%
Eastern                Northern Ohio                        7/4/2020                    91.44%              90.12%                    74.18%
Eastern                Northern Ohio                       7/11/2020                    82.86%              72.29%                    77.11%
Eastern                Northern Ohio                       7/18/2020                    75.74%              58.74%                    76.11%
Eastern                Northern Ohio                       7/25/2020                    66.92%              66.28%                    69.18%
Eastern                Northern Ohio                        8/1/2020                    64.69%              72.86%                    78.83%
Eastern                Northern Ohio                        8/8/2020                    63.60%              63.10%                    75.70%
Eastern                Northern Ohio                       8/15/2020                    72.28%              76.85%                    79.06%
Eastern                Northern Ohio                       8/22/2020                    85.29%              90.99%                    79.65%
Eastern                Northern Ohio                       8/29/2020                    88.05%              92.54%                    83.12%
Eastern                Northern Ohio                        9/5/2020                    88.62%              90.09%                    84.74%
Eastern                Northern Ohio                       9/12/2020                    85.40%              85.30%                    81.60%
Eastern                Northern Ohio                       9/19/2020                    82.72%              83.29%                    85.43%
Eastern                Northern Ohio                       9/26/2020                    85.12%              86.55%                    82.08%
Eastern                Northern Ohio                       10/3/2020                    84.32%              88.68%                    88.16%
Eastern                Northern Ohio                      10/10/2020                    78.67%              73.96%                    79.84%
Eastern                Northern Ohio                      10/17/2020                    76.04%              70.62%                    80.49%
Eastern                Northern Ohio                      10/24/2020                    73.18%              73.00%                    77.82%
Eastern                Northern Ohio                      10/31/2020                    75.57%              65.21%                    85.90%
Eastern                Northern Ohio                       11/7/2020                    77.26%              59.94%                    85.30%
Eastern                Northern Ohio                      11/14/2020                    80.46%              56.86%                    80.57%
Eastern                Northern Ohio                      11/21/2020                    73.92%              42.79%                    74.49%
Eastern                Northern Ohio                      11/28/2020                    56.66%              36.86%                    58.77%
Eastern                Northern Ohio                       12/5/2020                    49.62%              26.76%                    26.24%
Eastern                Ohio Valley                          1/4/2020                    91.27%              91.61%                    86.04%
Eastern                Ohio Valley                         1/11/2020                    91.76%              90.02%                    86.16%
Eastern                Ohio Valley                         1/18/2020                    93.90%              91.27%                    90.55%
Eastern                Ohio Valley                         1/25/2020                    91.57%              92.55%                    83.11%
Eastern                Ohio Valley                          2/1/2020                    90.55%              91.25%                    87.40%
Eastern                Ohio Valley                          2/8/2020                    92.06%              89.87%                    88.72%
Eastern                Ohio Valley                         2/15/2020                    93.44%              91.70%                    89.86%
Eastern                Ohio Valley                         2/22/2020                    91.21%              92.96%                    88.16%
Eastern                Ohio Valley                         2/29/2020                    91.82%              93.19%                    82.35%
Eastern                Ohio Valley                          3/7/2020                    91.49%              92.80%                    86.32%
Eastern                Ohio Valley                         3/14/2020                    91.82%              92.80%                    87.21%
Eastern                Ohio Valley                         3/21/2020                    92.79%              92.67%                    88.74%
Eastern                Ohio Valley                         3/28/2020                    91.36%              94.78%                    86.81%
Eastern                Ohio Valley                          4/1/2020                    93.78%              92.36%                    86.86%
Eastern                Ohio Valley                          4/4/2020                    92.48%              94.23%                    88.10%


Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                          19
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                             USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                             District - By Week

          Area                 District                  Week               First-Class Mail   USPS Marketing Mail           Periodicals
Eastern                Ohio Valley                         4/11/2020                    90.37%              95.14%                    87.88%
Eastern                Ohio Valley                         4/18/2020                    91.77%              94.88%                    86.97%
Eastern                Ohio Valley                         4/25/2020                    90.78%              94.27%                    81.99%
Eastern                Ohio Valley                          5/2/2020                    91.58%              93.12%                    80.78%
Eastern                Ohio Valley                          5/9/2020                    91.93%              92.82%                    80.20%
Eastern                Ohio Valley                         5/16/2020                    92.01%              94.15%                    77.91%
Eastern                Ohio Valley                         5/23/2020                    92.88%              90.09%                    83.54%
Eastern                Ohio Valley                         5/30/2020                    90.20%              88.75%                    79.36%
Eastern                Ohio Valley                          6/6/2020                    90.59%              91.34%                    83.44%
Eastern                Ohio Valley                         6/13/2020                    91.44%              91.49%                    84.21%
Eastern                Ohio Valley                         6/20/2020                    92.06%              89.51%                    79.64%
Eastern                Ohio Valley                         6/27/2020                    91.77%              93.03%                    81.89%
Eastern                Ohio Valley                          7/1/2020                    93.31%              90.31%                    87.56%
Eastern                Ohio Valley                          7/4/2020                    89.88%              83.39%                    65.16%
Eastern                Ohio Valley                         7/11/2020                    81.55%              76.38%                    80.62%
Eastern                Ohio Valley                         7/18/2020                    75.38%              69.50%                    80.51%
Eastern                Ohio Valley                         7/25/2020                    69.71%              70.10%                    73.02%
Eastern                Ohio Valley                          8/1/2020                    75.76%              75.55%                    77.58%
Eastern                Ohio Valley                          8/8/2020                    80.64%              82.44%                    76.33%
Eastern                Ohio Valley                         8/15/2020                    83.26%              87.70%                    87.02%
Eastern                Ohio Valley                         8/22/2020                    87.92%              90.68%                    76.26%
Eastern                Ohio Valley                         8/29/2020                    85.26%              88.63%                    80.59%
Eastern                Ohio Valley                          9/5/2020                    85.51%              85.88%                    83.61%
Eastern                Ohio Valley                         9/12/2020                    83.13%              84.23%                    78.54%
Eastern                Ohio Valley                         9/19/2020                    78.72%              88.19%                    87.53%
Eastern                Ohio Valley                         9/26/2020                    82.10%              87.52%                    77.07%
Eastern                Ohio Valley                         10/3/2020                    82.07%              83.90%                    83.02%
Eastern                Ohio Valley                        10/10/2020                    82.25%              84.87%                    81.13%
Eastern                Ohio Valley                        10/17/2020                    76.15%              82.59%                    83.22%
Eastern                Ohio Valley                        10/24/2020                    78.95%              83.53%                    82.03%
Eastern                Ohio Valley                        10/31/2020                    83.29%              89.70%                    85.25%
Eastern                Ohio Valley                         11/7/2020                    83.38%              86.93%                    83.79%
Eastern                Ohio Valley                        11/14/2020                    85.28%              88.14%                    80.34%
Eastern                Ohio Valley                        11/21/2020                    81.97%              85.78%                    81.80%
Eastern                Ohio Valley                        11/28/2020                    71.91%              83.21%                    59.83%
Eastern                Ohio Valley                         12/5/2020                    63.97%              70.56%                    34.13%
Eastern                Philadelphia Metropo                 1/4/2020                    87.22%              87.17%                    80.73%
Eastern                Philadelphia Metropo                1/11/2020                    92.29%              81.51%                    86.47%
Eastern                Philadelphia Metropo                1/18/2020                    93.23%              92.18%                    91.57%
Eastern                Philadelphia Metropo                1/25/2020                    90.54%              93.84%                    88.24%
Eastern                Philadelphia Metropo                 2/1/2020                    92.32%              94.48%                    88.08%
Eastern                Philadelphia Metropo                 2/8/2020                    93.65%              95.31%                    88.77%
Eastern                Philadelphia Metropo                2/15/2020                    95.40%              95.51%                    91.20%
Eastern                Philadelphia Metropo                2/22/2020                    94.36%              96.28%                    90.11%
Eastern                Philadelphia Metropo                2/29/2020                    94.52%              95.16%                    91.09%
Eastern                Philadelphia Metropo                 3/7/2020                    93.17%              94.74%                    89.85%
Eastern                Philadelphia Metropo                3/14/2020                    93.44%              93.80%                    81.98%
Eastern                Philadelphia Metropo                3/21/2020                    93.79%              94.66%                    87.46%
Eastern                Philadelphia Metropo                3/28/2020                    93.46%              90.56%                    91.58%
Eastern                Philadelphia Metropo                 4/1/2020                    94.26%              94.64%                    90.47%
Eastern                Philadelphia Metropo                 4/4/2020                    92.71%              92.47%                    81.46%
Eastern                Philadelphia Metropo                4/11/2020                    92.35%              88.18%                    66.86%
Eastern                Philadelphia Metropo                4/18/2020                    92.38%              87.10%                    71.69%
Eastern                Philadelphia Metropo                4/25/2020                    91.54%              81.81%                    74.81%
Eastern                Philadelphia Metropo                 5/2/2020                    91.30%              89.32%                    79.34%
Eastern                Philadelphia Metropo                 5/9/2020                    92.01%              92.25%                    68.98%
Eastern                Philadelphia Metropo                5/16/2020                    90.11%              91.89%                    75.65%


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Commission (PRC) at the end of the quarter.                          20
                   Case 1:20-cv-06516-VM Document 104-1 Filed 12/18/20 Page 21 of 68
                             USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                             District - By Week

          Area                 District                  Week               First-Class Mail   USPS Marketing Mail           Periodicals
Eastern                Philadelphia Metropo                5/23/2020                    92.07%              87.60%                    78.97%
Eastern                Philadelphia Metropo                5/30/2020                    90.29%              89.52%                    76.47%
Eastern                Philadelphia Metropo                 6/6/2020                    91.12%              87.09%                    76.55%
Eastern                Philadelphia Metropo                6/13/2020                    92.54%              88.93%                    81.85%
Eastern                Philadelphia Metropo                6/20/2020                    92.28%              90.39%                    80.52%
Eastern                Philadelphia Metropo                6/27/2020                    91.56%              85.49%                    83.58%
Eastern                Philadelphia Metropo                 7/1/2020                    91.69%              93.36%                    81.86%
Eastern                Philadelphia Metropo                 7/4/2020                    87.05%              89.25%                    78.64%
Eastern                Philadelphia Metropo                7/11/2020                    87.91%              76.13%                    60.15%
Eastern                Philadelphia Metropo                7/18/2020                    83.30%              78.19%                    68.90%
Eastern                Philadelphia Metropo                7/25/2020                    84.55%              84.38%                    69.56%
Eastern                Philadelphia Metropo                 8/1/2020                    83.69%              78.84%                    62.23%
Eastern                Philadelphia Metropo                 8/8/2020                    79.10%              78.50%                    69.52%
Eastern                Philadelphia Metropo                8/15/2020                    85.86%              82.83%                    72.37%
Eastern                Philadelphia Metropo                8/22/2020                    88.71%              90.08%                    73.74%
Eastern                Philadelphia Metropo                8/29/2020                    88.06%              89.93%                    65.77%
Eastern                Philadelphia Metropo                 9/5/2020                    88.65%              87.10%                    67.76%
Eastern                Philadelphia Metropo                9/12/2020                    87.99%              86.04%                    60.20%
Eastern                Philadelphia Metropo                9/19/2020                    78.76%              82.88%                    57.88%
Eastern                Philadelphia Metropo                9/26/2020                    83.04%              82.11%                    63.06%
Eastern                Philadelphia Metropo                10/3/2020                    79.67%              74.19%                    59.33%
Eastern                Philadelphia Metropo               10/10/2020                    76.92%              68.98%                    51.47%
Eastern                Philadelphia Metropo               10/17/2020                    58.85%              62.21%                    46.24%
Eastern                Philadelphia Metropo               10/24/2020                    48.54%              62.41%                    62.42%
Eastern                Philadelphia Metropo               10/31/2020                    59.36%              53.75%                    55.71%
Eastern                Philadelphia Metropo                11/7/2020                    76.10%              75.73%                    64.85%
Eastern                Philadelphia Metropo               11/14/2020                    83.84%              82.92%                    43.87%
Eastern                Philadelphia Metropo               11/21/2020                    80.87%              77.07%                    56.39%
Eastern                Philadelphia Metropo               11/28/2020                    65.40%              83.10%                    54.00%
Eastern                Philadelphia Metropo                12/5/2020                    60.11%              74.35%                    45.37%
Eastern                South Jersey                         1/4/2020                    91.57%              91.69%                    91.43%
Eastern                South Jersey                        1/11/2020                    92.42%              91.24%                    90.54%
Eastern                South Jersey                        1/18/2020                    93.60%              93.65%                    90.51%
Eastern                South Jersey                        1/25/2020                    91.86%              94.54%                    92.65%
Eastern                South Jersey                         2/1/2020                    92.29%              94.27%                    91.64%
Eastern                South Jersey                         2/8/2020                    93.17%              95.63%                    93.66%
Eastern                South Jersey                        2/15/2020                    94.25%              95.87%                    92.93%
Eastern                South Jersey                        2/22/2020                    93.27%              96.15%                    92.23%
Eastern                South Jersey                        2/29/2020                    93.89%              95.78%                    91.65%
Eastern                South Jersey                         3/7/2020                    92.34%              95.74%                    87.52%
Eastern                South Jersey                        3/14/2020                    92.62%              94.09%                    90.01%
Eastern                South Jersey                        3/21/2020                    93.66%              92.47%                    85.58%
Eastern                South Jersey                        3/28/2020                    92.01%              89.19%                    85.66%
Eastern                South Jersey                         4/1/2020                    94.40%              92.15%                    73.88%
Eastern                South Jersey                         4/4/2020                    92.96%              94.15%                    90.39%
Eastern                South Jersey                        4/11/2020                    91.23%              92.32%                    86.34%
Eastern                South Jersey                        4/18/2020                    92.29%              87.61%                    89.21%
Eastern                South Jersey                        4/25/2020                    91.27%              85.78%                    86.80%
Eastern                South Jersey                         5/2/2020                    89.35%              80.26%                    80.76%
Eastern                South Jersey                         5/9/2020                    89.80%              85.90%                    72.08%
Eastern                South Jersey                        5/16/2020                    90.86%              92.11%                    79.03%
Eastern                South Jersey                        5/23/2020                    92.97%              90.72%                    86.88%
Eastern                South Jersey                        5/30/2020                    90.14%              92.84%                    78.19%
Eastern                South Jersey                         6/6/2020                    91.99%              91.11%                    81.20%
Eastern                South Jersey                        6/13/2020                    91.94%              91.54%                    80.11%
Eastern                South Jersey                        6/20/2020                    91.81%              92.74%                    84.50%
Eastern                South Jersey                        6/27/2020                    92.61%              89.68%                    89.19%


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Commission (PRC) at the end of the quarter.                          21
                   Case 1:20-cv-06516-VM Document 104-1 Filed 12/18/20 Page 22 of 68
                             USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                             District - By Week

          Area                 District                  Week               First-Class Mail   USPS Marketing Mail           Periodicals
Eastern                South Jersey                         7/1/2020                    93.10%              93.57%                    74.95%
Eastern                South Jersey                         7/4/2020                    91.67%              92.63%                    86.74%
Eastern                South Jersey                        7/11/2020                    87.08%              89.80%                    75.99%
Eastern                South Jersey                        7/18/2020                    83.25%              86.25%                    68.92%
Eastern                South Jersey                        7/25/2020                    85.45%              87.03%                    75.63%
Eastern                South Jersey                         8/1/2020                    77.54%              77.12%                    71.80%
Eastern                South Jersey                         8/8/2020                    81.18%              83.11%                    73.77%
Eastern                South Jersey                        8/15/2020                    84.56%              88.50%                    77.54%
Eastern                South Jersey                        8/22/2020                    88.65%              90.64%                    84.98%
Eastern                South Jersey                        8/29/2020                    89.90%              92.00%                    78.12%
Eastern                South Jersey                         9/5/2020                    89.28%              92.55%                    88.15%
Eastern                South Jersey                        9/12/2020                    87.09%              87.13%                    81.41%
Eastern                South Jersey                        9/19/2020                    80.69%              90.86%                    79.00%
Eastern                South Jersey                        9/26/2020                    82.61%              91.97%                    83.18%
Eastern                South Jersey                        10/3/2020                    80.52%              87.66%                    82.21%
Eastern                South Jersey                       10/10/2020                    83.90%              85.12%                    80.74%
Eastern                South Jersey                       10/17/2020                    74.20%              89.15%                    76.14%
Eastern                South Jersey                       10/24/2020                    75.37%              90.27%                    81.05%
Eastern                South Jersey                       10/31/2020                    83.29%              91.74%                    82.04%
Eastern                South Jersey                        11/7/2020                    79.80%              90.74%                    83.32%
Eastern                South Jersey                       11/14/2020                    81.90%              88.78%                    86.15%
Eastern                South Jersey                       11/21/2020                    81.89%              81.33%                    82.19%
Eastern                South Jersey                       11/28/2020                    75.12%              85.89%                    83.58%
Eastern                South Jersey                        12/5/2020                    70.97%              85.64%                    80.40%
Eastern                Tennessee                            1/4/2020                    91.55%              90.33%                    85.26%
Eastern                Tennessee                           1/11/2020                    90.94%              89.55%                    85.66%
Eastern                Tennessee                           1/18/2020                    93.67%              90.52%                    91.89%
Eastern                Tennessee                           1/25/2020                    92.26%              92.03%                    85.26%
Eastern                Tennessee                            2/1/2020                    91.73%              91.39%                    81.45%
Eastern                Tennessee                            2/8/2020                    92.46%              92.89%                    87.56%
Eastern                Tennessee                           2/15/2020                    94.67%              92.64%                    85.22%
Eastern                Tennessee                           2/22/2020                    93.22%              94.72%                    92.25%
Eastern                Tennessee                           2/29/2020                    92.79%              93.34%                    90.14%
Eastern                Tennessee                            3/7/2020                    92.19%              92.15%                    91.73%
Eastern                Tennessee                           3/14/2020                    91.84%              92.51%                    90.48%
Eastern                Tennessee                           3/21/2020                    92.61%              92.74%                    87.85%
Eastern                Tennessee                           3/28/2020                    94.54%              95.32%                    87.56%
Eastern                Tennessee                            4/1/2020                    94.11%              90.96%                    83.07%
Eastern                Tennessee                            4/4/2020                    93.79%              92.08%                    83.95%
Eastern                Tennessee                           4/11/2020                    91.00%              92.52%                    76.83%
Eastern                Tennessee                           4/18/2020                    92.63%              93.17%                    78.33%
Eastern                Tennessee                           4/25/2020                    91.19%              92.12%                    75.71%
Eastern                Tennessee                            5/2/2020                    89.13%              90.83%                    73.39%
Eastern                Tennessee                            5/9/2020                    90.85%              88.39%                    58.63%
Eastern                Tennessee                           5/16/2020                    92.00%              87.74%                    63.07%
Eastern                Tennessee                           5/23/2020                    92.92%              83.75%                    65.98%
Eastern                Tennessee                           5/30/2020                    91.61%              87.01%                    74.38%
Eastern                Tennessee                            6/6/2020                    92.08%              87.51%                    70.52%
Eastern                Tennessee                           6/13/2020                    92.10%              90.71%                    72.66%
Eastern                Tennessee                           6/20/2020                    91.82%              89.49%                    77.30%
Eastern                Tennessee                           6/27/2020                    92.75%              92.28%                    74.48%
Eastern                Tennessee                            7/1/2020                    92.85%              87.07%                    72.46%
Eastern                Tennessee                            7/4/2020                    91.17%              84.32%                    70.51%
Eastern                Tennessee                           7/11/2020                    85.25%              82.98%                    75.01%
Eastern                Tennessee                           7/18/2020                    80.29%              74.93%                    66.23%
Eastern                Tennessee                           7/25/2020                    81.21%              79.85%                    76.85%
Eastern                Tennessee                            8/1/2020                    86.02%              84.62%                    49.79%


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Commission (PRC) at the end of the quarter.                          22
                   Case 1:20-cv-06516-VM Document 104-1 Filed 12/18/20 Page 23 of 68
                             USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                             District - By Week

          Area                District                   Week               First-Class Mail   USPS Marketing Mail           Periodicals
Eastern                Tennessee                            8/8/2020                    86.31%              86.80%                    73.94%
Eastern                Tennessee                           8/15/2020                    88.70%              85.62%                    68.94%
Eastern                Tennessee                           8/22/2020                    88.93%              86.45%                    76.18%
Eastern                Tennessee                           8/29/2020                    88.96%              86.01%                    71.29%
Eastern                Tennessee                            9/5/2020                    90.21%              83.53%                    71.89%
Eastern                Tennessee                           9/12/2020                    84.43%              81.22%                    74.13%
Eastern                Tennessee                           9/19/2020                    84.93%              82.60%                    78.35%
Eastern                Tennessee                           9/26/2020                    85.67%              85.93%                    81.61%
Eastern                Tennessee                           10/3/2020                    85.81%              88.14%                    79.98%
Eastern                Tennessee                          10/10/2020                    86.77%              86.90%                    76.60%
Eastern                Tennessee                          10/17/2020                    81.76%              86.85%                    66.32%
Eastern                Tennessee                          10/24/2020                    83.61%              85.84%                    76.28%
Eastern                Tennessee                          10/31/2020                    86.70%              86.06%                    81.97%
Eastern                Tennessee                           11/7/2020                    85.02%              85.48%                    70.71%
Eastern                Tennessee                          11/14/2020                    86.84%              86.74%                    78.97%
Eastern                Tennessee                          11/21/2020                    82.99%              82.20%                    71.52%
Eastern                Tennessee                          11/28/2020                    78.75%              81.73%                    69.59%
Eastern                Tennessee                           12/5/2020                    71.20%              75.67%                    53.68%
Eastern                Western New York                     1/4/2020                    92.45%              94.53%                    89.38%
Eastern                Western New York                    1/11/2020                    94.03%              94.42%                    87.80%
Eastern                Western New York                    1/18/2020                    94.89%              94.53%                    90.58%
Eastern                Western New York                    1/25/2020                    93.29%              94.64%                    83.68%
Eastern                Western New York                     2/1/2020                    92.99%              94.87%                    92.80%
Eastern                Western New York                     2/8/2020                    93.70%              94.21%                    87.02%
Eastern                Western New York                    2/15/2020                    94.67%              94.93%                    87.53%
Eastern                Western New York                    2/22/2020                    93.69%              94.09%                    90.25%
Eastern                Western New York                    2/29/2020                    93.53%              95.65%                    87.42%
Eastern                Western New York                     3/7/2020                    94.39%              94.14%                    86.69%
Eastern                Western New York                    3/14/2020                    94.24%              94.65%                    87.09%
Eastern                Western New York                    3/21/2020                    94.77%              93.26%                    77.15%
Eastern                Western New York                    3/28/2020                    94.57%              95.57%                    90.47%
Eastern                Western New York                     4/1/2020                    94.68%              93.10%                    91.83%
Eastern                Western New York                     4/4/2020                    93.62%              94.50%                    86.75%
Eastern                Western New York                    4/11/2020                    91.35%              93.56%                    76.00%
Eastern                Western New York                    4/18/2020                    93.99%              93.76%                    66.34%
Eastern                Western New York                    4/25/2020                    92.43%              88.97%                    68.52%
Eastern                Western New York                     5/2/2020                    92.44%              90.42%                    55.55%
Eastern                Western New York                     5/9/2020                    92.21%              92.91%                    57.43%
Eastern                Western New York                    5/16/2020                    92.63%              94.94%                    71.71%
Eastern                Western New York                    5/23/2020                    94.17%              94.15%                    83.15%
Eastern                Western New York                    5/30/2020                    92.67%              94.15%                    64.90%
Eastern                Western New York                     6/6/2020                    92.58%              94.50%                    71.29%
Eastern                Western New York                    6/13/2020                    94.46%              95.99%                    78.64%
Eastern                Western New York                    6/20/2020                    94.04%              94.69%                    82.44%
Eastern                Western New York                    6/27/2020                    94.13%              96.13%                    74.19%
Eastern                Western New York                     7/1/2020                    94.91%              95.00%                    90.61%
Eastern                Western New York                     7/4/2020                    93.73%              89.90%                    74.01%
Eastern                Western New York                    7/11/2020                    86.55%              75.84%                    55.92%
Eastern                Western New York                    7/18/2020                    84.85%              58.06%                    49.20%
Eastern                Western New York                    7/25/2020                    85.45%              81.78%                    40.55%
Eastern                Western New York                     8/1/2020                    86.95%              86.36%                    44.43%
Eastern                Western New York                     8/8/2020                    86.35%              80.33%                    50.43%
Eastern                Western New York                    8/15/2020                    88.77%              85.45%                    49.71%
Eastern                Western New York                    8/22/2020                    91.81%              91.38%                    68.78%
Eastern                Western New York                    8/29/2020                    92.13%              90.01%                    76.99%
Eastern                Western New York                     9/5/2020                    92.65%              90.45%                    77.31%
Eastern                Western New York                    9/12/2020                    88.04%              77.13%                    67.46%


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Commission (PRC) at the end of the quarter.                          23
                   Case 1:20-cv-06516-VM Document 104-1 Filed 12/18/20 Page 24 of 68
                             USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                             District - By Week

          Area                District                   Week               First-Class Mail   USPS Marketing Mail           Periodicals
Eastern                Western New York                    9/19/2020                    87.06%              90.13%                    73.69%
Eastern                Western New York                    9/26/2020                    90.41%              92.13%                    75.71%
Eastern                Western New York                    10/3/2020                    90.24%              93.97%                    78.70%
Eastern                Western New York                   10/10/2020                    90.85%              92.51%                    73.15%
Eastern                Western New York                   10/17/2020                    86.08%              90.81%                    67.42%
Eastern                Western New York                   10/24/2020                    86.63%              94.19%                    76.78%
Eastern                Western New York                   10/31/2020                    89.93%              95.31%                    88.49%
Eastern                Western New York                    11/7/2020                    91.37%              95.79%                    86.85%
Eastern                Western New York                   11/14/2020                    91.15%              95.12%                    86.64%
Eastern                Western New York                   11/21/2020                    90.87%              92.36%                    83.86%
Eastern                Western New York                   11/28/2020                    85.48%              91.54%                    68.27%
Eastern                Western New York                    12/5/2020                    82.73%              81.69%                    17.96%
Eastern                Western Pennsylvania                 1/4/2020                    95.09%              96.45%                    91.81%
Eastern                Western Pennsylvania                1/11/2020                    94.00%              95.62%                    95.19%
Eastern                Western Pennsylvania                1/18/2020                    95.00%              95.81%                    96.60%
Eastern                Western Pennsylvania                1/25/2020                    93.80%              97.40%                    93.79%
Eastern                Western Pennsylvania                 2/1/2020                    93.84%              96.97%                    95.23%
Eastern                Western Pennsylvania                 2/8/2020                    93.46%              97.21%                    93.89%
Eastern                Western Pennsylvania                2/15/2020                    95.29%              96.58%                    96.35%
Eastern                Western Pennsylvania                2/22/2020                    94.69%              97.67%                    94.58%
Eastern                Western Pennsylvania                2/29/2020                    95.23%              97.71%                    94.79%
Eastern                Western Pennsylvania                 3/7/2020                    94.39%              97.51%                    95.11%
Eastern                Western Pennsylvania                3/14/2020                    94.13%              97.33%                    93.33%
Eastern                Western Pennsylvania                3/21/2020                    94.21%              97.20%                    89.69%
Eastern                Western Pennsylvania                3/28/2020                    94.53%              97.54%                    94.05%
Eastern                Western Pennsylvania                 4/1/2020                    95.51%              95.35%                    96.17%
Eastern                Western Pennsylvania                 4/4/2020                    94.59%              97.51%                    93.40%
Eastern                Western Pennsylvania                4/11/2020                    94.07%              91.78%                    92.33%
Eastern                Western Pennsylvania                4/18/2020                    93.70%              96.55%                    94.80%
Eastern                Western Pennsylvania                4/25/2020                    94.26%              96.43%                    92.19%
Eastern                Western Pennsylvania                 5/2/2020                    94.51%              96.68%                    94.44%
Eastern                Western Pennsylvania                 5/9/2020                    92.75%              96.65%                    88.97%
Eastern                Western Pennsylvania                5/16/2020                    94.59%              96.62%                    91.31%
Eastern                Western Pennsylvania                5/23/2020                    94.80%              95.13%                    89.97%
Eastern                Western Pennsylvania                5/30/2020                    93.63%              97.03%                    95.06%
Eastern                Western Pennsylvania                 6/6/2020                    93.97%              96.47%                    93.45%
Eastern                Western Pennsylvania                6/13/2020                    93.95%              96.28%                    93.90%
Eastern                Western Pennsylvania                6/20/2020                    93.66%              96.33%                    91.69%
Eastern                Western Pennsylvania                6/27/2020                    93.59%              97.24%                    93.22%
Eastern                Western Pennsylvania                 7/1/2020                    94.86%              94.56%                    86.84%
Eastern                Western Pennsylvania                 7/4/2020                    93.11%              95.01%                    92.38%
Eastern                Western Pennsylvania                7/11/2020                    88.87%              94.49%                    89.60%
Eastern                Western Pennsylvania                7/18/2020                    88.40%              92.90%                    90.96%
Eastern                Western Pennsylvania                7/25/2020                    89.91%              93.37%                    86.99%
Eastern                Western Pennsylvania                 8/1/2020                    88.71%              93.26%                    92.53%
Eastern                Western Pennsylvania                 8/8/2020                    88.82%              89.76%                    88.95%
Eastern                Western Pennsylvania                8/15/2020                    90.42%              93.92%                    90.35%
Eastern                Western Pennsylvania                8/22/2020                    91.85%              94.85%                    91.23%
Eastern                Western Pennsylvania                8/29/2020                    91.55%              95.47%                    90.37%
Eastern                Western Pennsylvania                 9/5/2020                    92.52%              94.00%                    93.05%
Eastern                Western Pennsylvania                9/12/2020                    90.54%              95.71%                    88.04%
Eastern                Western Pennsylvania                9/19/2020                    89.63%              95.76%                    89.98%
Eastern                Western Pennsylvania                9/26/2020                    88.49%              94.28%                    86.91%
Eastern                Western Pennsylvania                10/3/2020                    89.40%              95.88%                    95.42%
Eastern                Western Pennsylvania               10/10/2020                    87.32%              93.00%                    87.76%
Eastern                Western Pennsylvania               10/17/2020                    83.22%              94.48%                    85.71%
Eastern                Western Pennsylvania               10/24/2020                    85.51%              95.68%                    86.20%


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Commission (PRC) at the end of the quarter.                          24
                   Case 1:20-cv-06516-VM Document 104-1 Filed 12/18/20 Page 25 of 68
                             USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                             District - By Week

        Area                    District                 Week               First-Class Mail   USPS Marketing Mail           Periodicals
Eastern                Western Pennsylvania               10/31/2020                    88.53%              94.63%                    90.99%
Eastern                Western Pennsylvania                11/7/2020                    89.52%              96.07%                    93.24%
Eastern                Western Pennsylvania               11/14/2020                    89.83%              95.46%                    91.48%
Eastern                Western Pennsylvania               11/21/2020                    90.36%              94.39%                    92.77%
Eastern                Western Pennsylvania               11/28/2020                    81.07%              92.41%                    90.61%
Eastern                Western Pennsylvania                12/5/2020                    75.95%              83.69%                    57.56%
Great Lakes            Central Illinois                     1/4/2020                    90.16%              90.17%                    81.02%
Great Lakes            Central Illinois                    1/11/2020                    89.13%              85.49%                    82.41%
Great Lakes            Central Illinois                    1/18/2020                    90.85%              87.28%                    82.39%
Great Lakes            Central Illinois                    1/25/2020                    86.75%              89.07%                    79.08%
Great Lakes            Central Illinois                     2/1/2020                    80.22%              83.70%                    80.93%
Great Lakes            Central Illinois                     2/8/2020                    88.80%              86.05%                    80.43%
Great Lakes            Central Illinois                    2/15/2020                    89.71%              89.08%                    75.61%
Great Lakes            Central Illinois                    2/22/2020                    90.12%              89.75%                    72.73%
Great Lakes            Central Illinois                    2/29/2020                    90.31%              88.06%                    76.95%
Great Lakes            Central Illinois                     3/7/2020                    89.83%              87.83%                    80.39%
Great Lakes            Central Illinois                    3/14/2020                    88.86%              86.50%                    81.73%
Great Lakes            Central Illinois                    3/21/2020                    90.34%              85.98%                    73.67%
Great Lakes            Central Illinois                    3/28/2020                    88.87%              84.49%                    78.53%
Great Lakes            Central Illinois                     4/1/2020                    90.38%              76.56%                    64.64%
Great Lakes            Central Illinois                     4/4/2020                    89.01%              85.69%                    66.84%
Great Lakes            Central Illinois                    4/11/2020                    88.59%              86.11%                    73.29%
Great Lakes            Central Illinois                    4/18/2020                    90.10%              87.74%                    67.76%
Great Lakes            Central Illinois                    4/25/2020                    88.06%              88.01%                    70.61%
Great Lakes            Central Illinois                     5/2/2020                    86.86%              83.74%                    70.09%
Great Lakes            Central Illinois                     5/9/2020                    88.00%              83.73%                    61.47%
Great Lakes            Central Illinois                    5/16/2020                    88.56%              88.21%                    55.02%
Great Lakes            Central Illinois                    5/23/2020                    88.39%              86.93%                    70.04%
Great Lakes            Central Illinois                    5/30/2020                    87.33%              87.88%                    74.49%
Great Lakes            Central Illinois                     6/6/2020                    89.10%              85.30%                    69.65%
Great Lakes            Central Illinois                    6/13/2020                    89.39%              90.09%                    79.51%
Great Lakes            Central Illinois                    6/20/2020                    88.86%              91.44%                    69.56%
Great Lakes            Central Illinois                    6/27/2020                    87.63%              90.95%                    77.12%
Great Lakes            Central Illinois                     7/1/2020                    86.92%              87.85%                    77.02%
Great Lakes            Central Illinois                     7/4/2020                    89.13%              87.70%                    75.01%
Great Lakes            Central Illinois                    7/11/2020                    82.95%              86.57%                    65.36%
Great Lakes            Central Illinois                    7/18/2020                    80.53%              86.63%                    65.82%
Great Lakes            Central Illinois                    7/25/2020                    81.49%              82.14%                    60.13%
Great Lakes            Central Illinois                     8/1/2020                    80.83%              79.78%                    46.82%
Great Lakes            Central Illinois                     8/8/2020                    79.56%              80.97%                    58.16%
Great Lakes            Central Illinois                    8/15/2020                    81.77%              80.78%                    55.24%
Great Lakes            Central Illinois                    8/22/2020                    84.18%              78.87%                    49.98%
Great Lakes            Central Illinois                    8/29/2020                    84.48%              81.95%                    46.81%
Great Lakes            Central Illinois                     9/5/2020                    84.38%              75.91%                    64.06%
Great Lakes            Central Illinois                    9/12/2020                    80.23%              82.23%                    68.08%
Great Lakes            Central Illinois                    9/19/2020                    70.32%              82.44%                    50.15%
Great Lakes            Central Illinois                    9/26/2020                    73.90%              81.45%                    55.46%
Great Lakes            Central Illinois                    10/3/2020                    81.20%              73.85%                    49.45%
Great Lakes            Central Illinois                   10/10/2020                    80.10%              82.43%                    51.09%
Great Lakes            Central Illinois                   10/17/2020                    77.83%              83.26%                    51.79%
Great Lakes            Central Illinois                   10/24/2020                    79.14%              85.86%                    36.99%
Great Lakes            Central Illinois                   10/31/2020                    82.98%              87.37%                    55.57%
Great Lakes            Central Illinois                    11/7/2020                    81.33%              88.62%                    72.30%
Great Lakes            Central Illinois                   11/14/2020                    84.35%              90.11%                    65.14%
Great Lakes            Central Illinois                   11/21/2020                    81.91%              81.72%                    63.99%
Great Lakes            Central Illinois                   11/28/2020                    75.75%              88.14%                    58.38%
Great Lakes            Central Illinois                    12/5/2020                    73.74%              82.83%                    58.68%


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Commission (PRC) at the end of the quarter.                          25
                   Case 1:20-cv-06516-VM Document 104-1 Filed 12/18/20 Page 26 of 68
                             USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                             District - By Week

        Area                     District                Week               First-Class Mail   USPS Marketing Mail           Periodicals
Great Lakes            Chicago                              1/4/2020                    90.45%              90.64%                    71.34%
Great Lakes            Chicago                             1/11/2020                    89.04%              87.80%                    80.99%
Great Lakes            Chicago                             1/18/2020                    90.13%              85.46%                    77.53%
Great Lakes            Chicago                             1/25/2020                    88.18%              89.59%                    73.44%
Great Lakes            Chicago                              2/1/2020                    86.86%              88.35%                    78.07%
Great Lakes            Chicago                              2/8/2020                    89.48%              89.53%                    79.20%
Great Lakes            Chicago                             2/15/2020                    89.68%              89.40%                    78.34%
Great Lakes            Chicago                             2/22/2020                    88.14%              93.72%                    76.08%
Great Lakes            Chicago                             2/29/2020                    90.17%              90.98%                    75.29%
Great Lakes            Chicago                              3/7/2020                    89.14%              89.90%                    76.80%
Great Lakes            Chicago                             3/14/2020                    88.07%              85.16%                    77.56%
Great Lakes            Chicago                             3/21/2020                    89.55%              84.63%                    70.21%
Great Lakes            Chicago                             3/28/2020                    89.71%              83.12%                    72.80%
Great Lakes            Chicago                              4/1/2020                    90.60%              84.03%                    73.24%
Great Lakes            Chicago                              4/4/2020                    89.19%              83.66%                    64.04%
Great Lakes            Chicago                             4/11/2020                    84.75%              79.72%                    67.58%
Great Lakes            Chicago                             4/18/2020                    89.36%              81.37%                    40.14%
Great Lakes            Chicago                             4/25/2020                    92.37%              79.40%                    42.65%
Great Lakes            Chicago                              5/2/2020                    86.07%              83.20%                    60.77%
Great Lakes            Chicago                              5/9/2020                    86.83%              82.93%                    72.61%
Great Lakes            Chicago                             5/16/2020                    87.20%              80.22%                    56.72%
Great Lakes            Chicago                             5/23/2020                    84.29%              83.40%                    64.85%
Great Lakes            Chicago                             5/30/2020                    71.25%              73.40%                    47.63%
Great Lakes            Chicago                              6/6/2020                    85.85%              83.43%                    59.40%
Great Lakes            Chicago                             6/13/2020                    88.85%              86.46%                    66.77%
Great Lakes            Chicago                             6/20/2020                    85.94%              83.08%                    67.32%
Great Lakes            Chicago                             6/27/2020                    87.19%              86.33%                    71.80%
Great Lakes            Chicago                              7/1/2020                    87.13%              84.26%                    63.37%
Great Lakes            Chicago                              7/4/2020                    84.73%              81.39%                    71.36%
Great Lakes            Chicago                             7/11/2020                    79.26%              79.11%                    61.34%
Great Lakes            Chicago                             7/18/2020                    79.42%              77.63%                    49.82%
Great Lakes            Chicago                             7/25/2020                    71.19%              58.38%                    42.95%
Great Lakes            Chicago                              8/1/2020                    74.60%              73.63%                    47.04%
Great Lakes            Chicago                              8/8/2020                    75.38%              77.78%                    50.42%
Great Lakes            Chicago                             8/15/2020                    78.39%              73.02%                    53.71%
Great Lakes            Chicago                             8/22/2020                    81.78%              83.33%                    61.35%
Great Lakes            Chicago                             8/29/2020                    81.52%              82.78%                    62.50%
Great Lakes            Chicago                              9/5/2020                    81.96%              81.26%                    64.24%
Great Lakes            Chicago                             9/12/2020                    72.30%              79.06%                    61.26%
Great Lakes            Chicago                             9/19/2020                    70.66%              81.66%                    57.22%
Great Lakes            Chicago                             9/26/2020                    69.91%              81.98%                    49.49%
Great Lakes            Chicago                             10/3/2020                    82.33%              87.34%                    66.24%
Great Lakes            Chicago                            10/10/2020                    84.25%              86.97%                    70.90%
Great Lakes            Chicago                            10/17/2020                    79.23%              85.56%                    60.36%
Great Lakes            Chicago                            10/24/2020                    80.62%              84.08%                    51.78%
Great Lakes            Chicago                            10/31/2020                    76.28%              73.12%                    54.08%
Great Lakes            Chicago                             11/7/2020                    69.25%              64.13%                    68.12%
Great Lakes            Chicago                            11/14/2020                    75.93%              72.60%                    44.00%
Great Lakes            Chicago                            11/21/2020                    74.00%              76.70%                    45.22%
Great Lakes            Chicago                            11/28/2020                    70.84%              78.93%                    30.91%
Great Lakes            Chicago                             12/5/2020                    71.59%              79.69%                    43.68%
Great Lakes            Detroit                              1/4/2020                    92.22%              93.64%                    88.38%
Great Lakes            Detroit                             1/11/2020                    91.63%              90.66%                    85.10%
Great Lakes            Detroit                             1/18/2020                    92.97%              90.04%                    88.06%
Great Lakes            Detroit                             1/25/2020                    91.28%              90.63%                    91.26%
Great Lakes            Detroit                              2/1/2020                    91.43%              91.20%                    89.96%
Great Lakes            Detroit                              2/8/2020                    91.68%              92.12%                    91.34%


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Commission (PRC) at the end of the quarter.                          26
                   Case 1:20-cv-06516-VM Document 104-1 Filed 12/18/20 Page 27 of 68
                             USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                             District - By Week

        Area                   District                  Week               First-Class Mail   USPS Marketing Mail           Periodicals
Great Lakes            Detroit                             2/15/2020                    93.73%              92.28%                    91.97%
Great Lakes            Detroit                             2/22/2020                    92.33%              92.98%                    91.12%
Great Lakes            Detroit                             2/29/2020                    91.71%              83.99%                    87.72%
Great Lakes            Detroit                              3/7/2020                    92.05%              90.75%                    91.02%
Great Lakes            Detroit                             3/14/2020                    91.65%              89.92%                    88.83%
Great Lakes            Detroit                             3/21/2020                    91.17%              86.86%                    89.44%
Great Lakes            Detroit                             3/28/2020                    83.07%              77.57%                    77.39%
Great Lakes            Detroit                              4/1/2020                    73.04%              37.14%                    45.35%
Great Lakes            Detroit                              4/4/2020                    67.94%              26.09%                    38.38%
Great Lakes            Detroit                             4/11/2020                    58.80%              27.00%                    38.36%
Great Lakes            Detroit                             4/18/2020                    70.98%              23.65%                    29.72%
Great Lakes            Detroit                             4/25/2020                    67.70%              38.99%                    24.99%
Great Lakes            Detroit                              5/2/2020                    69.79%              44.16%                    18.56%
Great Lakes            Detroit                              5/9/2020                    69.61%              49.14%                    45.26%
Great Lakes            Detroit                             5/16/2020                    77.64%              77.32%                    28.62%
Great Lakes            Detroit                             5/23/2020                    87.33%              80.48%                    53.20%
Great Lakes            Detroit                             5/30/2020                    88.20%              88.55%                    61.03%
Great Lakes            Detroit                              6/6/2020                    86.12%              88.19%                    73.45%
Great Lakes            Detroit                             6/13/2020                    86.00%              85.23%                    63.60%
Great Lakes            Detroit                             6/20/2020                    85.49%              85.76%                    64.03%
Great Lakes            Detroit                             6/27/2020                    84.11%              85.98%                    66.96%
Great Lakes            Detroit                              7/1/2020                    86.81%              76.33%                    36.04%
Great Lakes            Detroit                              7/4/2020                    81.17%              75.79%                    51.19%
Great Lakes            Detroit                             7/11/2020                    70.87%              70.80%                    55.22%
Great Lakes            Detroit                             7/18/2020                    67.97%              65.41%                    41.09%
Great Lakes            Detroit                             7/25/2020                    63.14%              56.96%                    33.38%
Great Lakes            Detroit                              8/1/2020                    61.01%              50.85%                    47.43%
Great Lakes            Detroit                              8/8/2020                    63.16%              52.44%                    55.72%
Great Lakes            Detroit                             8/15/2020                    72.31%              62.94%                    65.56%
Great Lakes            Detroit                             8/22/2020                    76.51%              72.90%                    69.58%
Great Lakes            Detroit                             8/29/2020                    81.22%              74.97%                    75.35%
Great Lakes            Detroit                              9/5/2020                    83.13%              84.16%                    75.89%
Great Lakes            Detroit                             9/12/2020                    82.94%              83.67%                    72.57%
Great Lakes            Detroit                             9/19/2020                    79.27%              83.57%                    66.38%
Great Lakes            Detroit                             9/26/2020                    72.20%              69.85%                    64.99%
Great Lakes            Detroit                             10/3/2020                    70.94%              67.73%                    65.04%
Great Lakes            Detroit                            10/10/2020                    71.55%              64.18%                    70.19%
Great Lakes            Detroit                            10/17/2020                    63.48%              72.64%                    71.99%
Great Lakes            Detroit                            10/24/2020                    64.77%              71.80%                    65.00%
Great Lakes            Detroit                            10/31/2020                    72.07%              62.03%                    58.28%
Great Lakes            Detroit                             11/7/2020                    78.26%              82.46%                    64.94%
Great Lakes            Detroit                            11/14/2020                    80.55%              82.43%                    66.59%
Great Lakes            Detroit                            11/21/2020                    77.53%              71.58%                    61.46%
Great Lakes            Detroit                            11/28/2020                    71.52%              74.20%                    51.29%
Great Lakes            Detroit                             12/5/2020                    60.61%              66.37%                    37.36%
Great Lakes            Gateway                              1/4/2020                    91.97%              82.01%                    81.16%
Great Lakes            Gateway                             1/11/2020                    91.12%              88.55%                    85.85%
Great Lakes            Gateway                             1/18/2020                    92.37%              91.27%                    85.33%
Great Lakes            Gateway                             1/25/2020                    90.78%              90.81%                    84.72%
Great Lakes            Gateway                              2/1/2020                    91.04%              84.02%                    80.12%
Great Lakes            Gateway                              2/8/2020                    92.36%              92.22%                    85.16%
Great Lakes            Gateway                             2/15/2020                    94.15%              93.69%                    89.84%
Great Lakes            Gateway                             2/22/2020                    92.43%              92.78%                    81.77%
Great Lakes            Gateway                             2/29/2020                    93.32%              92.72%                    79.17%
Great Lakes            Gateway                              3/7/2020                    92.03%              90.79%                    86.71%
Great Lakes            Gateway                             3/14/2020                    92.61%              91.88%                    84.68%
Great Lakes            Gateway                             3/21/2020                    91.55%              92.93%                    84.33%


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Commission (PRC) at the end of the quarter.                          27
                   Case 1:20-cv-06516-VM Document 104-1 Filed 12/18/20 Page 28 of 68
                             USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                             District - By Week

        Area                   District                  Week               First-Class Mail   USPS Marketing Mail           Periodicals
Great Lakes            Gateway                             3/28/2020                    92.53%              86.27%                    84.33%
Great Lakes            Gateway                              4/1/2020                    93.77%              90.85%                    74.84%
Great Lakes            Gateway                              4/4/2020                    92.85%              93.91%                    83.34%
Great Lakes            Gateway                             4/11/2020                    92.65%              94.47%                    82.11%
Great Lakes            Gateway                             4/18/2020                    92.87%              90.44%                    81.81%
Great Lakes            Gateway                             4/25/2020                    92.14%              89.18%                    80.23%
Great Lakes            Gateway                              5/2/2020                    92.45%              90.17%                    76.24%
Great Lakes            Gateway                              5/9/2020                    92.49%              91.72%                    83.46%
Great Lakes            Gateway                             5/16/2020                    93.54%              93.26%                    79.99%
Great Lakes            Gateway                             5/23/2020                    93.25%              90.44%                    80.23%
Great Lakes            Gateway                             5/30/2020                    91.75%              85.16%                    77.33%
Great Lakes            Gateway                              6/6/2020                    92.26%              91.75%                    78.93%
Great Lakes            Gateway                             6/13/2020                    92.99%              91.59%                    77.79%
Great Lakes            Gateway                             6/20/2020                    92.13%              93.44%                    81.52%
Great Lakes            Gateway                             6/27/2020                    92.03%              94.53%                    80.75%
Great Lakes            Gateway                              7/1/2020                    93.03%              85.32%                    60.79%
Great Lakes            Gateway                              7/4/2020                    90.01%              86.45%                    78.07%
Great Lakes            Gateway                             7/11/2020                    83.75%              74.66%                    80.78%
Great Lakes            Gateway                             7/18/2020                    83.30%              65.85%                    79.14%
Great Lakes            Gateway                             7/25/2020                    84.03%              63.90%                    64.49%
Great Lakes            Gateway                              8/1/2020                    84.89%              65.85%                    62.47%
Great Lakes            Gateway                              8/8/2020                    85.83%              80.95%                    70.95%
Great Lakes            Gateway                             8/15/2020                    88.35%              87.20%                    71.82%
Great Lakes            Gateway                             8/22/2020                    91.09%              90.00%                    74.25%
Great Lakes            Gateway                             8/29/2020                    90.22%              89.94%                    82.56%
Great Lakes            Gateway                              9/5/2020                    91.14%              90.18%                    76.51%
Great Lakes            Gateway                             9/12/2020                    87.79%              82.60%                    76.54%
Great Lakes            Gateway                             9/19/2020                    77.13%              87.27%                    74.98%
Great Lakes            Gateway                             9/26/2020                    84.96%              88.05%                    74.86%
Great Lakes            Gateway                             10/3/2020                    87.19%              87.85%                    69.13%
Great Lakes            Gateway                            10/10/2020                    87.88%              89.85%                    72.51%
Great Lakes            Gateway                            10/17/2020                    83.04%              90.45%                    67.82%
Great Lakes            Gateway                            10/24/2020                    84.40%              89.61%                    75.93%
Great Lakes            Gateway                            10/31/2020                    85.34%              80.66%                    59.85%
Great Lakes            Gateway                             11/7/2020                    86.51%              85.80%                    78.83%
Great Lakes            Gateway                            11/14/2020                    87.32%              84.89%                    49.29%
Great Lakes            Gateway                            11/21/2020                    83.00%              78.31%                    50.40%
Great Lakes            Gateway                            11/28/2020                    79.86%              80.37%                    49.16%
Great Lakes            Gateway                             12/5/2020                    78.19%              79.11%                    26.95%
Great Lakes            Greater Indiana                      1/4/2020                    89.78%              91.85%                    83.74%
Great Lakes            Greater Indiana                     1/11/2020                    91.39%              88.85%                    82.66%
Great Lakes            Greater Indiana                     1/18/2020                    93.26%              89.06%                    84.02%
Great Lakes            Greater Indiana                     1/25/2020                    91.35%              89.91%                    83.23%
Great Lakes            Greater Indiana                      2/1/2020                    91.91%              90.16%                    86.42%
Great Lakes            Greater Indiana                      2/8/2020                    93.41%              88.63%                    85.20%
Great Lakes            Greater Indiana                     2/15/2020                    94.74%              89.06%                    87.86%
Great Lakes            Greater Indiana                     2/22/2020                    92.95%              89.89%                    87.44%
Great Lakes            Greater Indiana                     2/29/2020                    93.29%              87.27%                    75.82%
Great Lakes            Greater Indiana                      3/7/2020                    93.53%              88.65%                    81.29%
Great Lakes            Greater Indiana                     3/14/2020                    93.34%              88.80%                    73.04%
Great Lakes            Greater Indiana                     3/21/2020                    93.86%              88.92%                    72.94%
Great Lakes            Greater Indiana                     3/28/2020                    93.78%              93.16%                    80.75%
Great Lakes            Greater Indiana                      4/1/2020                    94.11%              88.90%                    83.33%
Great Lakes            Greater Indiana                      4/4/2020                    94.03%              88.57%                    85.24%
Great Lakes            Greater Indiana                     4/11/2020                    92.03%              90.00%                    80.27%
Great Lakes            Greater Indiana                     4/18/2020                    93.57%              90.38%                    80.08%
Great Lakes            Greater Indiana                     4/25/2020                    93.64%              90.33%                    73.06%


Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                          28
                   Case 1:20-cv-06516-VM Document 104-1 Filed 12/18/20 Page 29 of 68
                             USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                             District - By Week

        Area                   District                  Week               First-Class Mail   USPS Marketing Mail           Periodicals
Great Lakes            Greater Indiana                      5/2/2020                    93.53%              86.15%                    73.87%
Great Lakes            Greater Indiana                      5/9/2020                    92.74%              88.16%                    77.32%
Great Lakes            Greater Indiana                     5/16/2020                    93.02%              89.90%                    78.44%
Great Lakes            Greater Indiana                     5/23/2020                    93.05%              87.94%                    73.36%
Great Lakes            Greater Indiana                     5/30/2020                    93.01%              89.90%                    76.26%
Great Lakes            Greater Indiana                      6/6/2020                    93.03%              84.24%                    70.10%
Great Lakes            Greater Indiana                     6/13/2020                    93.73%              86.36%                    43.90%
Great Lakes            Greater Indiana                     6/20/2020                    92.94%              86.70%                    68.64%
Great Lakes            Greater Indiana                     6/27/2020                    92.64%              91.82%                    78.97%
Great Lakes            Greater Indiana                      7/1/2020                    91.45%              87.97%                    79.56%
Great Lakes            Greater Indiana                      7/4/2020                    90.32%              87.85%                    53.63%
Great Lakes            Greater Indiana                     7/11/2020                    88.04%              83.13%                    66.64%
Great Lakes            Greater Indiana                     7/18/2020                    86.41%              81.00%                    51.21%
Great Lakes            Greater Indiana                     7/25/2020                    86.59%              83.19%                    57.47%
Great Lakes            Greater Indiana                      8/1/2020                    86.31%              81.34%                    58.62%
Great Lakes            Greater Indiana                      8/8/2020                    87.23%              79.09%                    63.12%
Great Lakes            Greater Indiana                     8/15/2020                    88.85%              85.46%                    68.77%
Great Lakes            Greater Indiana                     8/22/2020                    91.41%              88.92%                    76.46%
Great Lakes            Greater Indiana                     8/29/2020                    90.50%              89.33%                    76.98%
Great Lakes            Greater Indiana                      9/5/2020                    89.86%              88.11%                    80.39%
Great Lakes            Greater Indiana                     9/12/2020                    89.51%              86.89%                    77.48%
Great Lakes            Greater Indiana                     9/19/2020                    86.10%              89.54%                    76.31%
Great Lakes            Greater Indiana                     9/26/2020                    88.26%              88.16%                    67.41%
Great Lakes            Greater Indiana                     10/3/2020                    89.42%              90.29%                    76.01%
Great Lakes            Greater Indiana                    10/10/2020                    88.88%              89.79%                    83.18%
Great Lakes            Greater Indiana                    10/17/2020                    88.32%              90.13%                    62.90%
Great Lakes            Greater Indiana                    10/24/2020                    88.91%              90.83%                    74.68%
Great Lakes            Greater Indiana                    10/31/2020                    89.93%              91.06%                    80.89%
Great Lakes            Greater Indiana                     11/7/2020                    89.54%              87.70%                    78.46%
Great Lakes            Greater Indiana                    11/14/2020                    89.65%              83.62%                    67.39%
Great Lakes            Greater Indiana                    11/21/2020                    84.28%              74.95%                    72.40%
Great Lakes            Greater Indiana                    11/28/2020                    77.45%              76.54%                    60.49%
Great Lakes            Greater Indiana                     12/5/2020                    78.11%              71.97%                    59.38%
Great Lakes            Greater Michigan                     1/4/2020                    93.11%              94.88%                    90.63%
Great Lakes            Greater Michigan                    1/11/2020                    93.09%              93.65%                    92.67%
Great Lakes            Greater Michigan                    1/18/2020                    93.19%              92.50%                    89.59%
Great Lakes            Greater Michigan                    1/25/2020                    93.34%              93.34%                    89.56%
Great Lakes            Greater Michigan                     2/1/2020                    93.24%              93.86%                    90.01%
Great Lakes            Greater Michigan                     2/8/2020                    93.18%              94.67%                    91.88%
Great Lakes            Greater Michigan                    2/15/2020                    94.40%              94.85%                    92.51%
Great Lakes            Greater Michigan                    2/22/2020                    93.85%              94.55%                    91.91%
Great Lakes            Greater Michigan                    2/29/2020                    93.65%              93.30%                    92.66%
Great Lakes            Greater Michigan                     3/7/2020                    93.99%              94.42%                    90.25%
Great Lakes            Greater Michigan                    3/14/2020                    93.34%              94.46%                    90.65%
Great Lakes            Greater Michigan                    3/21/2020                    93.74%              94.09%                    91.79%
Great Lakes            Greater Michigan                    3/28/2020                    93.38%              95.77%                    91.08%
Great Lakes            Greater Michigan                     4/1/2020                    92.79%              87.65%                    86.55%
Great Lakes            Greater Michigan                     4/4/2020                    88.95%              86.36%                    87.99%
Great Lakes            Greater Michigan                    4/11/2020                    85.04%              85.89%                    87.43%
Great Lakes            Greater Michigan                    4/18/2020                    90.59%              79.65%                    80.95%
Great Lakes            Greater Michigan                    4/25/2020                    90.49%              82.09%                    74.62%
Great Lakes            Greater Michigan                     5/2/2020                    89.04%              82.73%                    62.29%
Great Lakes            Greater Michigan                     5/9/2020                    88.89%              84.39%                    73.13%
Great Lakes            Greater Michigan                    5/16/2020                    90.69%              91.35%                    71.29%
Great Lakes            Greater Michigan                    5/23/2020                    92.60%              91.45%                    75.56%
Great Lakes            Greater Michigan                    5/30/2020                    91.77%              95.30%                    86.57%
Great Lakes            Greater Michigan                     6/6/2020                    91.62%              90.20%                    84.27%


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Commission (PRC) at the end of the quarter.                          29
                   Case 1:20-cv-06516-VM Document 104-1 Filed 12/18/20 Page 30 of 68
                             USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                             District - By Week

        Area                   District                  Week               First-Class Mail   USPS Marketing Mail           Periodicals
Great Lakes            Greater Michigan                    6/13/2020                    92.45%              89.69%                    80.98%
Great Lakes            Greater Michigan                    6/20/2020                    91.81%              92.04%                    85.13%
Great Lakes            Greater Michigan                    6/27/2020                    91.11%              93.11%                    85.39%
Great Lakes            Greater Michigan                     7/1/2020                    91.73%              90.99%                    86.98%
Great Lakes            Greater Michigan                     7/4/2020                    90.96%              90.19%                    79.16%
Great Lakes            Greater Michigan                    7/11/2020                    86.85%              83.32%                    86.98%
Great Lakes            Greater Michigan                    7/18/2020                    83.19%              80.54%                    71.59%
Great Lakes            Greater Michigan                    7/25/2020                    83.58%              82.40%                    60.84%
Great Lakes            Greater Michigan                     8/1/2020                    81.44%              60.27%                    71.27%
Great Lakes            Greater Michigan                     8/8/2020                    80.28%              58.00%                    68.48%
Great Lakes            Greater Michigan                    8/15/2020                    86.94%              77.89%                    69.41%
Great Lakes            Greater Michigan                    8/22/2020                    89.28%              86.46%                    79.76%
Great Lakes            Greater Michigan                    8/29/2020                    90.08%              89.27%                    87.02%
Great Lakes            Greater Michigan                     9/5/2020                    89.26%              86.88%                    80.56%
Great Lakes            Greater Michigan                    9/12/2020                    89.00%              92.00%                    82.82%
Great Lakes            Greater Michigan                    9/19/2020                    86.12%              91.72%                    83.15%
Great Lakes            Greater Michigan                    9/26/2020                    86.56%              88.99%                    85.35%
Great Lakes            Greater Michigan                    10/3/2020                    86.08%              90.00%                    80.17%
Great Lakes            Greater Michigan                   10/10/2020                    84.52%              87.58%                    85.15%
Great Lakes            Greater Michigan                   10/17/2020                    82.39%              90.43%                    80.51%
Great Lakes            Greater Michigan                   10/24/2020                    78.87%              87.62%                    84.07%
Great Lakes            Greater Michigan                   10/31/2020                    84.03%              87.95%                    81.38%
Great Lakes            Greater Michigan                    11/7/2020                    88.42%              91.49%                    80.80%
Great Lakes            Greater Michigan                   11/14/2020                    87.77%              91.18%                    78.04%
Great Lakes            Greater Michigan                   11/21/2020                    86.57%              87.31%                    76.85%
Great Lakes            Greater Michigan                   11/28/2020                    81.41%              77.84%                    65.50%
Great Lakes            Greater Michigan                    12/5/2020                    78.20%              83.41%                    34.28%
Great Lakes            Lakeland                             1/4/2020                    90.65%              92.10%                    88.96%
Great Lakes            Lakeland                            1/11/2020                    91.13%              90.36%                    92.20%
Great Lakes            Lakeland                            1/18/2020                    92.20%              89.84%                    89.48%
Great Lakes            Lakeland                            1/25/2020                    90.11%              90.47%                    88.12%
Great Lakes            Lakeland                             2/1/2020                    89.93%              91.40%                    91.02%
Great Lakes            Lakeland                             2/8/2020                    91.95%              92.52%                    88.08%
Great Lakes            Lakeland                            2/15/2020                    92.84%              90.91%                    91.23%
Great Lakes            Lakeland                            2/22/2020                    92.75%              93.70%                    87.96%
Great Lakes            Lakeland                            2/29/2020                    92.89%              93.34%                    89.89%
Great Lakes            Lakeland                             3/7/2020                    92.39%              93.27%                    90.48%
Great Lakes            Lakeland                            3/14/2020                    91.17%              93.62%                    85.81%
Great Lakes            Lakeland                            3/21/2020                    91.13%              90.37%                    89.03%
Great Lakes            Lakeland                            3/28/2020                    90.40%              88.76%                    86.37%
Great Lakes            Lakeland                             4/1/2020                    89.46%              87.49%                    85.51%
Great Lakes            Lakeland                             4/4/2020                    90.78%              87.71%                    82.15%
Great Lakes            Lakeland                            4/11/2020                    88.66%              81.46%                    70.88%
Great Lakes            Lakeland                            4/18/2020                    90.21%              89.28%                    73.94%
Great Lakes            Lakeland                            4/25/2020                    90.47%              88.40%                    77.70%
Great Lakes            Lakeland                             5/2/2020                    89.82%              85.99%                    72.80%
Great Lakes            Lakeland                             5/9/2020                    90.49%              84.51%                    73.22%
Great Lakes            Lakeland                            5/16/2020                    91.00%              88.48%                    70.82%
Great Lakes            Lakeland                            5/23/2020                    92.59%              88.84%                    80.51%
Great Lakes            Lakeland                            5/30/2020                    90.54%              89.71%                    82.66%
Great Lakes            Lakeland                             6/6/2020                    90.34%              85.79%                    75.46%
Great Lakes            Lakeland                            6/13/2020                    90.97%              90.49%                    85.96%
Great Lakes            Lakeland                            6/20/2020                    88.22%              92.35%                    81.67%
Great Lakes            Lakeland                            6/27/2020                    89.91%              92.48%                    75.52%
Great Lakes            Lakeland                             7/1/2020                    91.20%              89.60%                    85.33%
Great Lakes            Lakeland                             7/4/2020                    88.86%              84.67%                    82.78%
Great Lakes            Lakeland                            7/11/2020                    82.92%              81.59%                    75.71%


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Commission (PRC) at the end of the quarter.                          30
                   Case 1:20-cv-06516-VM Document 104-1 Filed 12/18/20 Page 31 of 68
                             USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                             District - By Week

        Area                   District                  Week               First-Class Mail   USPS Marketing Mail           Periodicals
Great Lakes            Lakeland                            7/18/2020                    83.70%              85.09%                    69.81%
Great Lakes            Lakeland                            7/25/2020                    83.88%              82.24%                    61.69%
Great Lakes            Lakeland                             8/1/2020                    80.00%              77.42%                    67.14%
Great Lakes            Lakeland                             8/8/2020                    78.90%              77.12%                    70.35%
Great Lakes            Lakeland                            8/15/2020                    84.52%              85.94%                    80.00%
Great Lakes            Lakeland                            8/22/2020                    84.95%              89.06%                    78.40%
Great Lakes            Lakeland                            8/29/2020                    88.23%              87.64%                    81.10%
Great Lakes            Lakeland                             9/5/2020                    88.03%              85.99%                    76.19%
Great Lakes            Lakeland                            9/12/2020                    84.76%              86.89%                    70.43%
Great Lakes            Lakeland                            9/19/2020                    77.11%              88.84%                    77.08%
Great Lakes            Lakeland                            9/26/2020                    83.52%              87.89%                    79.44%
Great Lakes            Lakeland                            10/3/2020                    84.25%              89.13%                    76.77%
Great Lakes            Lakeland                           10/10/2020                    84.61%              88.33%                    80.20%
Great Lakes            Lakeland                           10/17/2020                    81.98%              92.56%                    77.79%
Great Lakes            Lakeland                           10/24/2020                    80.88%              91.31%                    73.84%
Great Lakes            Lakeland                           10/31/2020                    85.87%              92.93%                    84.22%
Great Lakes            Lakeland                            11/7/2020                    83.96%              91.39%                    87.50%
Great Lakes            Lakeland                           11/14/2020                    85.93%              92.61%                    78.50%
Great Lakes            Lakeland                           11/21/2020                    84.46%              87.21%                    69.81%
Great Lakes            Lakeland                           11/28/2020                    81.42%              84.19%                    63.20%
Great Lakes            Lakeland                            12/5/2020                    75.09%              81.92%                    63.25%
Northeast              Albany                               1/4/2020                    93.41%              92.95%                    87.74%
Northeast              Albany                              1/11/2020                    93.71%              91.81%                    87.83%
Northeast              Albany                              1/18/2020                    94.42%              90.85%                    89.56%
Northeast              Albany                              1/25/2020                    93.72%              93.75%                    89.48%
Northeast              Albany                               2/1/2020                    92.07%              86.12%                    88.36%
Northeast              Albany                               2/8/2020                    93.64%              93.18%                    89.73%
Northeast              Albany                              2/15/2020                    95.17%              93.03%                    90.71%
Northeast              Albany                              2/22/2020                    94.37%              92.94%                    85.35%
Northeast              Albany                              2/29/2020                    94.87%              87.95%                    87.24%
Northeast              Albany                               3/7/2020                    93.57%              93.81%                    88.25%
Northeast              Albany                              3/14/2020                    93.36%              93.40%                    88.68%
Northeast              Albany                              3/21/2020                    93.47%              92.42%                    84.56%
Northeast              Albany                              3/28/2020                    93.85%              95.52%                    86.54%
Northeast              Albany                               4/1/2020                    93.59%              94.53%                    88.93%
Northeast              Albany                               4/4/2020                    93.93%              87.78%                    87.48%
Northeast              Albany                              4/11/2020                    92.20%              94.60%                    91.59%
Northeast              Albany                              4/18/2020                    91.80%              94.41%                    83.08%
Northeast              Albany                              4/25/2020                    91.33%              91.27%                    75.97%
Northeast              Albany                               5/2/2020                    90.98%              84.57%                    89.02%
Northeast              Albany                               5/9/2020                    91.09%              91.86%                    65.16%
Northeast              Albany                              5/16/2020                    92.47%              92.64%                    75.13%
Northeast              Albany                              5/23/2020                    93.52%              90.14%                    83.08%
Northeast              Albany                              5/30/2020                    91.19%              93.91%                    81.10%
Northeast              Albany                               6/6/2020                    91.31%              84.67%                    80.63%
Northeast              Albany                              6/13/2020                    93.65%              93.01%                    84.23%
Northeast              Albany                              6/20/2020                    93.14%              93.83%                    80.13%
Northeast              Albany                              6/27/2020                    92.44%              93.38%                    84.83%
Northeast              Albany                               7/1/2020                    94.07%              91.96%                    86.97%
Northeast              Albany                               7/4/2020                    91.97%              89.01%                    84.76%
Northeast              Albany                              7/11/2020                    88.38%              74.46%                    77.75%
Northeast              Albany                              7/18/2020                    87.54%              76.75%                    65.78%
Northeast              Albany                              7/25/2020                    89.71%              86.74%                    74.49%
Northeast              Albany                               8/1/2020                    86.63%              82.27%                    82.94%
Northeast              Albany                               8/8/2020                    86.53%              90.50%                    75.74%
Northeast              Albany                              8/15/2020                    88.22%              92.20%                    80.31%
Northeast              Albany                              8/22/2020                    91.31%              91.94%                    81.68%


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Commission (PRC) at the end of the quarter.                          31
                   Case 1:20-cv-06516-VM Document 104-1 Filed 12/18/20 Page 32 of 68
                             USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                             District - By Week

        Area                   District                  Week               First-Class Mail   USPS Marketing Mail           Periodicals
Northeast              Albany                              8/29/2020                    91.23%              91.60%                    81.32%
Northeast              Albany                               9/5/2020                    92.38%              84.74%                    82.95%
Northeast              Albany                              9/12/2020                    87.63%              83.00%                    70.52%
Northeast              Albany                              9/19/2020                    88.32%              85.90%                    76.91%
Northeast              Albany                              9/26/2020                    89.55%              93.51%                    80.12%
Northeast              Albany                              10/3/2020                    89.80%              82.96%                    81.44%
Northeast              Albany                             10/10/2020                    88.07%              88.59%                    81.97%
Northeast              Albany                             10/17/2020                    87.28%              95.38%                    78.68%
Northeast              Albany                             10/24/2020                    88.38%              92.79%                    76.51%
Northeast              Albany                             10/31/2020                    90.56%              88.35%                    79.00%
Northeast              Albany                              11/7/2020                    91.22%              93.84%                    84.30%
Northeast              Albany                             11/14/2020                    91.22%              93.95%                    80.37%
Northeast              Albany                             11/21/2020                    87.77%              88.04%                    74.64%
Northeast              Albany                             11/28/2020                    85.29%              85.56%                    73.48%
Northeast              Albany                              12/5/2020                    83.47%              72.47%                    63.85%
Northeast              Caribbean                            1/4/2020                    87.65%              97.63%                    82.40%
Northeast              Caribbean                           1/11/2020                    90.93%              90.31%                    62.87%
Northeast              Caribbean                           1/18/2020                    89.66%              65.36%                    79.52%
Northeast              Caribbean                           1/25/2020                    71.71%              93.86%                    75.50%
Northeast              Caribbean                            2/1/2020                    93.19%              88.61%                    85.71%
Northeast              Caribbean                            2/8/2020                    93.53%              92.77%                    91.81%
Northeast              Caribbean                           2/15/2020                    94.93%              67.91%                    59.00%
Northeast              Caribbean                           2/22/2020                    94.16%              81.92%                    69.95%
Northeast              Caribbean                           2/29/2020                    94.13%              82.09%                    90.11%
Northeast              Caribbean                            3/7/2020                    91.91%              93.88%                    91.43%
Northeast              Caribbean                           3/14/2020                    93.97%              94.27%                    86.23%
Northeast              Caribbean                           3/21/2020                    91.02%              88.54%                    82.54%
Northeast              Caribbean                           3/28/2020                    91.42%              82.04%                    90.49%
Northeast              Caribbean                            4/1/2020                    92.55%              82.42%                    97.58%
Northeast              Caribbean                            4/4/2020                    93.18%              97.65%                    79.81%
Northeast              Caribbean                           4/11/2020                    87.11%              93.60%                    88.17%
Northeast              Caribbean                           4/18/2020                    92.78%              96.11%                    85.08%
Northeast              Caribbean                           4/25/2020                    91.45%              83.70%                    87.55%
Northeast              Caribbean                            5/2/2020                    91.92%              91.57%                    70.52%
Northeast              Caribbean                            5/9/2020                    91.85%              92.99%                    51.76%
Northeast              Caribbean                           5/16/2020                    93.81%              90.31%                    58.41%
Northeast              Caribbean                           5/23/2020                    92.10%              87.63%                    72.33%
Northeast              Caribbean                           5/30/2020                    86.25%              58.14%                    94.63%
Northeast              Caribbean                            6/6/2020                    89.96%              90.62%                    81.93%
Northeast              Caribbean                           6/13/2020                    90.29%              75.63%                    84.19%
Northeast              Caribbean                           6/20/2020                    91.66%              76.03%                    18.83%
Northeast              Caribbean                           6/27/2020                    88.36%              71.64%                    76.96%
Northeast              Caribbean                            7/1/2020                    91.54%              81.98%                    77.16%
Northeast              Caribbean                            7/4/2020                    90.27%              84.13%                    95.61%
Northeast              Caribbean                           7/11/2020                    88.11%              84.86%                    89.12%
Northeast              Caribbean                           7/18/2020                    81.58%              89.79%                    79.22%
Northeast              Caribbean                           7/25/2020                    75.51%              91.68%                    55.01%
Northeast              Caribbean                            8/1/2020                    79.66%              75.86%                    86.39%
Northeast              Caribbean                            8/8/2020                    85.13%              84.99%                    86.73%
Northeast              Caribbean                           8/15/2020                    86.00%              83.63%                    72.81%
Northeast              Caribbean                           8/22/2020                    89.24%              87.91%                    75.85%
Northeast              Caribbean                           8/29/2020                    93.32%              87.24%                    70.77%
Northeast              Caribbean                            9/5/2020                    89.82%              88.17%                    73.44%
Northeast              Caribbean                           9/12/2020                    87.06%              94.83%                    95.21%
Northeast              Caribbean                           9/19/2020                    90.92%              91.47%                    96.70%
Northeast              Caribbean                           9/26/2020                    92.15%              88.17%                    93.61%
Northeast              Caribbean                           10/3/2020                    93.61%              88.43%                    94.88%


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Commission (PRC) at the end of the quarter.                          32
                   Case 1:20-cv-06516-VM Document 104-1 Filed 12/18/20 Page 33 of 68
                             USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                             District - By Week

        Area                   District                  Week               First-Class Mail   USPS Marketing Mail           Periodicals
Northeast              Caribbean                          10/10/2020                    94.70%              76.66%                    98.88%
Northeast              Caribbean                          10/17/2020                    91.38%              91.43%                    91.37%
Northeast              Caribbean                          10/24/2020                    91.84%              76.75%                    88.40%
Northeast              Caribbean                          10/31/2020                    90.32%              92.70%                    52.29%
Northeast              Caribbean                           11/7/2020                    92.39%              91.92%                    97.80%
Northeast              Caribbean                          11/14/2020                    93.31%              82.58%                    93.46%
Northeast              Caribbean                          11/21/2020                    89.94%              84.05%                    91.80%
Northeast              Caribbean                          11/28/2020                    87.64%              96.97%                    94.33%
Northeast              Caribbean                           12/5/2020                    91.43%              94.67%                    82.95%
Northeast              Connecticut Valley                   1/4/2020                    92.46%              91.18%                    84.36%
Northeast              Connecticut Valley                  1/11/2020                    92.44%              87.71%                    79.78%
Northeast              Connecticut Valley                  1/18/2020                    93.74%              90.23%                    81.22%
Northeast              Connecticut Valley                  1/25/2020                    92.77%              91.39%                    81.60%
Northeast              Connecticut Valley                   2/1/2020                    92.55%              90.52%                    84.07%
Northeast              Connecticut Valley                   2/8/2020                    93.22%              92.44%                    83.54%
Northeast              Connecticut Valley                  2/15/2020                    94.39%              92.42%                    85.21%
Northeast              Connecticut Valley                  2/22/2020                    93.69%              91.38%                    75.28%
Northeast              Connecticut Valley                  2/29/2020                    93.05%              93.00%                    80.46%
Northeast              Connecticut Valley                   3/7/2020                    92.84%              91.18%                    79.39%
Northeast              Connecticut Valley                  3/14/2020                    91.80%              88.08%                    72.54%
Northeast              Connecticut Valley                  3/21/2020                    93.10%              91.94%                    76.63%
Northeast              Connecticut Valley                  3/28/2020                    91.85%              92.28%                    77.38%
Northeast              Connecticut Valley                   4/1/2020                    91.16%              89.72%                    75.20%
Northeast              Connecticut Valley                   4/4/2020                    91.53%              87.06%                    64.29%
Northeast              Connecticut Valley                  4/11/2020                    86.67%              76.93%                    45.70%
Northeast              Connecticut Valley                  4/18/2020                    89.55%              84.38%                    32.11%
Northeast              Connecticut Valley                  4/25/2020                    89.32%              82.61%                    37.14%
Northeast              Connecticut Valley                   5/2/2020                    89.61%              77.66%                    32.75%
Northeast              Connecticut Valley                   5/9/2020                    88.49%              81.58%                    28.04%
Northeast              Connecticut Valley                  5/16/2020                    90.49%              86.70%                    51.21%
Northeast              Connecticut Valley                  5/23/2020                    91.55%              87.42%                    54.02%
Northeast              Connecticut Valley                  5/30/2020                    89.85%              89.28%                    60.10%
Northeast              Connecticut Valley                   6/6/2020                    90.48%              85.55%                    43.43%
Northeast              Connecticut Valley                  6/13/2020                    91.74%              88.89%                    64.63%
Northeast              Connecticut Valley                  6/20/2020                    90.72%              88.19%                    68.96%
Northeast              Connecticut Valley                  6/27/2020                    91.18%              84.50%                    74.46%
Northeast              Connecticut Valley                   7/1/2020                    91.01%              91.72%                    74.05%
Northeast              Connecticut Valley                   7/4/2020                    91.77%              90.17%                    70.87%
Northeast              Connecticut Valley                  7/11/2020                    87.46%              87.90%                    68.07%
Northeast              Connecticut Valley                  7/18/2020                    85.52%              85.40%                    59.72%
Northeast              Connecticut Valley                  7/25/2020                    86.73%              88.14%                    62.89%
Northeast              Connecticut Valley                   8/1/2020                    82.33%              74.75%                    65.70%
Northeast              Connecticut Valley                   8/8/2020                    76.70%              55.77%                    61.48%
Northeast              Connecticut Valley                  8/15/2020                    87.69%              85.77%                    67.18%
Northeast              Connecticut Valley                  8/22/2020                    89.78%              89.80%                    76.07%
Northeast              Connecticut Valley                  8/29/2020                    90.81%              92.01%                    79.41%
Northeast              Connecticut Valley                   9/5/2020                    90.89%              92.09%                    80.60%
Northeast              Connecticut Valley                  9/12/2020                    88.34%              87.25%                    76.78%
Northeast              Connecticut Valley                  9/19/2020                    85.82%              91.94%                    81.11%
Northeast              Connecticut Valley                  9/26/2020                    88.28%              93.63%                    80.90%
Northeast              Connecticut Valley                  10/3/2020                    88.69%              91.86%                    79.99%
Northeast              Connecticut Valley                 10/10/2020                    87.43%              90.12%                    77.64%
Northeast              Connecticut Valley                 10/17/2020                    86.43%              93.33%                    82.42%
Northeast              Connecticut Valley                 10/24/2020                    87.03%              90.39%                    78.73%
Northeast              Connecticut Valley                 10/31/2020                    88.19%              91.29%                    72.30%
Northeast              Connecticut Valley                  11/7/2020                    90.03%              91.63%                    76.55%
Northeast              Connecticut Valley                 11/14/2020                    90.01%              89.15%                    69.56%


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Commission (PRC) at the end of the quarter.                          33
                   Case 1:20-cv-06516-VM Document 104-1 Filed 12/18/20 Page 34 of 68
                             USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                             District - By Week

        Area                    District                 Week               First-Class Mail   USPS Marketing Mail           Periodicals
Northeast              Connecticut Valley                 11/21/2020                    86.20%              88.92%                    64.15%
Northeast              Connecticut Valley                 11/28/2020                    82.91%              86.43%                    46.71%
Northeast              Connecticut Valley                  12/5/2020                    82.28%              79.37%                    36.78%
Northeast              Greater Boston                       1/4/2020                    92.23%              89.30%                    89.80%
Northeast              Greater Boston                      1/11/2020                    92.36%              86.77%                    83.92%
Northeast              Greater Boston                      1/18/2020                    92.69%              88.65%                    85.56%
Northeast              Greater Boston                      1/25/2020                    91.09%              90.82%                    88.01%
Northeast              Greater Boston                       2/1/2020                    91.34%              89.21%                    86.52%
Northeast              Greater Boston                       2/8/2020                    90.65%              87.45%                    87.16%
Northeast              Greater Boston                      2/15/2020                    93.65%              91.25%                    89.26%
Northeast              Greater Boston                      2/22/2020                    92.55%              90.32%                    83.45%
Northeast              Greater Boston                      2/29/2020                    92.54%              91.93%                    85.56%
Northeast              Greater Boston                       3/7/2020                    92.42%              90.56%                    88.71%
Northeast              Greater Boston                      3/14/2020                    92.74%              90.93%                    84.17%
Northeast              Greater Boston                      3/21/2020                    92.86%              91.68%                    81.79%
Northeast              Greater Boston                      3/28/2020                    91.96%              92.16%                    80.52%
Northeast              Greater Boston                       4/1/2020                    92.67%              87.35%                    83.77%
Northeast              Greater Boston                       4/4/2020                    90.33%              72.79%                    67.33%
Northeast              Greater Boston                      4/11/2020                    87.24%              80.63%                    49.33%
Northeast              Greater Boston                      4/18/2020                    90.34%              82.29%                    47.42%
Northeast              Greater Boston                      4/25/2020                    90.34%              82.58%                    44.47%
Northeast              Greater Boston                       5/2/2020                    90.03%              85.45%                    52.37%
Northeast              Greater Boston                       5/9/2020                    89.87%              82.43%                    48.47%
Northeast              Greater Boston                      5/16/2020                    90.46%              81.64%                    62.75%
Northeast              Greater Boston                      5/23/2020                    89.95%              82.73%                    47.09%
Northeast              Greater Boston                      5/30/2020                    89.33%              83.56%                    64.93%
Northeast              Greater Boston                       6/6/2020                    89.52%              78.90%                    35.56%
Northeast              Greater Boston                      6/13/2020                    91.50%              80.47%                    46.99%
Northeast              Greater Boston                      6/20/2020                    90.56%              84.94%                    57.13%
Northeast              Greater Boston                      6/27/2020                    90.02%              87.88%                    65.87%
Northeast              Greater Boston                       7/1/2020                    90.45%              91.12%                    74.48%
Northeast              Greater Boston                       7/4/2020                    90.64%              85.73%                    75.91%
Northeast              Greater Boston                      7/11/2020                    85.60%              81.61%                    53.64%
Northeast              Greater Boston                      7/18/2020                    84.16%              84.18%                    71.67%
Northeast              Greater Boston                      7/25/2020                    86.45%              86.80%                    73.07%
Northeast              Greater Boston                       8/1/2020                    86.42%              82.65%                    69.11%
Northeast              Greater Boston                       8/8/2020                    84.98%              88.46%                    78.16%
Northeast              Greater Boston                      8/15/2020                    88.70%              91.12%                    71.35%
Northeast              Greater Boston                      8/22/2020                    89.40%              87.15%                    69.85%
Northeast              Greater Boston                      8/29/2020                    90.20%              88.64%                    71.98%
Northeast              Greater Boston                       9/5/2020                    90.66%              88.31%                    80.80%
Northeast              Greater Boston                      9/12/2020                    88.68%              82.97%                    74.15%
Northeast              Greater Boston                      9/19/2020                    83.58%              85.18%                    80.11%
Northeast              Greater Boston                      9/26/2020                    89.69%              91.78%                    78.72%
Northeast              Greater Boston                      10/3/2020                    89.53%              89.36%                    77.63%
Northeast              Greater Boston                     10/10/2020                    88.70%              86.99%                    72.33%
Northeast              Greater Boston                     10/17/2020                    86.58%              89.80%                    75.12%
Northeast              Greater Boston                     10/24/2020                    87.89%              86.29%                    62.23%
Northeast              Greater Boston                     10/31/2020                    90.12%              86.11%                    65.71%
Northeast              Greater Boston                      11/7/2020                    89.87%              90.94%                    75.41%
Northeast              Greater Boston                     11/14/2020                    89.72%              87.73%                    70.20%
Northeast              Greater Boston                     11/21/2020                    88.30%              81.04%                    50.73%
Northeast              Greater Boston                     11/28/2020                    83.04%              85.50%                    49.15%
Northeast              Greater Boston                      12/5/2020                    76.77%              79.79%                    47.35%
Northeast              Long Island                          1/4/2020                    90.16%              91.16%                    88.65%
Northeast              Long Island                         1/11/2020                    88.56%              89.42%                    82.62%
Northeast              Long Island                         1/18/2020                    91.39%              90.35%                    86.97%


Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                          34
                   Case 1:20-cv-06516-VM Document 104-1 Filed 12/18/20 Page 35 of 68
                             USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                             District - By Week

        Area                    District                 Week               First-Class Mail   USPS Marketing Mail           Periodicals
Northeast              Long Island                         1/25/2020                    88.25%              91.53%                    89.23%
Northeast              Long Island                          2/1/2020                    90.77%              90.13%                    88.64%
Northeast              Long Island                          2/8/2020                    90.11%              92.20%                    86.88%
Northeast              Long Island                         2/15/2020                    92.40%              93.49%                    90.05%
Northeast              Long Island                         2/22/2020                    91.31%              95.29%                    85.67%
Northeast              Long Island                         2/29/2020                    92.15%              92.72%                    88.70%
Northeast              Long Island                          3/7/2020                    89.86%              91.83%                    83.93%
Northeast              Long Island                         3/14/2020                    90.31%              92.14%                    90.71%
Northeast              Long Island                         3/21/2020                    89.04%              93.26%                    90.25%
Northeast              Long Island                         3/28/2020                    90.14%              93.69%                    82.01%
Northeast              Long Island                          4/1/2020                    90.84%              74.32%                    75.61%
Northeast              Long Island                          4/4/2020                    84.77%              62.40%                    39.98%
Northeast              Long Island                         4/11/2020                    79.18%              58.75%                    25.15%
Northeast              Long Island                         4/18/2020                    82.86%              49.05%                    38.40%
Northeast              Long Island                         4/25/2020                    82.33%              51.29%                    28.52%
Northeast              Long Island                          5/2/2020                    75.80%              65.70%                    30.96%
Northeast              Long Island                          5/9/2020                    79.72%              68.45%                    29.11%
Northeast              Long Island                         5/16/2020                    85.58%              76.42%                    33.62%
Northeast              Long Island                         5/23/2020                    86.62%              84.12%                    46.75%
Northeast              Long Island                         5/30/2020                    83.70%              85.64%                    59.77%
Northeast              Long Island                          6/6/2020                    83.59%              90.23%                    57.00%
Northeast              Long Island                         6/13/2020                    87.49%              90.80%                    78.55%
Northeast              Long Island                         6/20/2020                    87.34%              91.42%                    69.94%
Northeast              Long Island                         6/27/2020                    87.11%              89.77%                    81.57%
Northeast              Long Island                          7/1/2020                    88.84%              88.03%                    72.17%
Northeast              Long Island                          7/4/2020                    85.64%              85.28%                    74.22%
Northeast              Long Island                         7/11/2020                    76.25%              85.21%                    76.38%
Northeast              Long Island                         7/18/2020                    76.83%              86.89%                    75.35%
Northeast              Long Island                         7/25/2020                    82.98%              86.79%                    70.15%
Northeast              Long Island                          8/1/2020                    82.71%              83.38%                    57.31%
Northeast              Long Island                          8/8/2020                    75.89%              88.68%                    70.43%
Northeast              Long Island                         8/15/2020                    80.09%              89.12%                    75.62%
Northeast              Long Island                         8/22/2020                    84.19%              91.73%                    81.95%
Northeast              Long Island                         8/29/2020                    87.19%              90.98%                    79.12%
Northeast              Long Island                          9/5/2020                    88.21%              89.24%                    85.34%
Northeast              Long Island                         9/12/2020                    87.80%              91.47%                    78.77%
Northeast              Long Island                         9/19/2020                    85.03%              93.47%                    82.74%
Northeast              Long Island                         9/26/2020                    86.85%              94.23%                    84.15%
Northeast              Long Island                         10/3/2020                    84.85%              93.04%                    81.32%
Northeast              Long Island                        10/10/2020                    84.48%              92.44%                    73.29%
Northeast              Long Island                        10/17/2020                    82.67%              92.28%                    75.48%
Northeast              Long Island                        10/24/2020                    83.64%              92.73%                    76.19%
Northeast              Long Island                        10/31/2020                    85.20%              90.97%                    82.83%
Northeast              Long Island                         11/7/2020                    84.52%              94.42%                    87.36%
Northeast              Long Island                        11/14/2020                    89.27%              91.76%                    66.68%
Northeast              Long Island                        11/21/2020                    85.99%              93.19%                    84.89%
Northeast              Long Island                        11/28/2020                    83.83%              93.46%                    79.94%
Northeast              Long Island                         12/5/2020                    73.88%              88.30%                    81.94%
Northeast              New York                             1/4/2020                    83.90%              89.38%                    80.38%
Northeast              New York                            1/11/2020                    87.42%              86.00%                    74.97%
Northeast              New York                            1/18/2020                    89.11%              82.78%                    74.34%
Northeast              New York                            1/25/2020                    88.11%              88.55%                    76.33%
Northeast              New York                             2/1/2020                    87.20%              88.68%                    79.91%
Northeast              New York                             2/8/2020                    87.11%              91.37%                    82.68%
Northeast              New York                            2/15/2020                    89.18%              89.58%                    83.14%
Northeast              New York                            2/22/2020                    88.10%              82.19%                    76.82%
Northeast              New York                            2/29/2020                    89.09%              86.73%                    79.71%


Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                          35
                   Case 1:20-cv-06516-VM Document 104-1 Filed 12/18/20 Page 36 of 68
                             USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                             District - By Week

        Area                  District                   Week               First-Class Mail   USPS Marketing Mail           Periodicals
Northeast              New York                             3/7/2020                    87.05%              87.47%                    77.56%
Northeast              New York                            3/14/2020                    84.64%              77.75%                    81.21%
Northeast              New York                            3/21/2020                    77.13%              67.92%                    61.23%
Northeast              New York                            3/28/2020                    79.72%              80.61%                    46.85%
Northeast              New York                             4/1/2020                    75.78%              65.20%                    35.10%
Northeast              New York                             4/4/2020                    56.73%              16.30%                    38.08%
Northeast              New York                            4/11/2020                    42.99%              12.72%                    35.44%
Northeast              New York                            4/18/2020                    38.99%              14.52%                    30.25%
Northeast              New York                            4/25/2020                    38.06%              10.83%                    34.82%
Northeast              New York                             5/2/2020                    36.47%              18.43%                    35.56%
Northeast              New York                             5/9/2020                    55.06%              54.45%                    52.78%
Northeast              New York                            5/16/2020                    82.93%              84.68%                    66.38%
Northeast              New York                            5/23/2020                    83.57%              88.52%                    70.60%
Northeast              New York                            5/30/2020                    81.45%              89.08%                    57.08%
Northeast              New York                             6/6/2020                    81.53%              90.62%                    67.97%
Northeast              New York                            6/13/2020                    83.66%              92.38%                    70.30%
Northeast              New York                            6/20/2020                    82.57%              90.92%                    70.34%
Northeast              New York                            6/27/2020                    83.12%              91.34%                    71.67%
Northeast              New York                             7/1/2020                    85.63%              90.78%                    72.04%
Northeast              New York                             7/4/2020                    85.41%              85.82%                    75.34%
Northeast              New York                            7/11/2020                    80.05%              88.65%                    78.34%
Northeast              New York                            7/18/2020                    79.02%              88.09%                    78.15%
Northeast              New York                            7/25/2020                    82.94%              86.85%                    67.57%
Northeast              New York                             8/1/2020                    81.72%              87.17%                    69.98%
Northeast              New York                             8/8/2020                    78.04%              88.02%                    73.55%
Northeast              New York                            8/15/2020                    82.20%              89.65%                    75.33%
Northeast              New York                            8/22/2020                    83.84%              89.50%                    81.68%
Northeast              New York                            8/29/2020                    85.88%              91.35%                    82.20%
Northeast              New York                             9/5/2020                    87.75%              89.25%                    89.42%
Northeast              New York                            9/12/2020                    84.60%              92.69%                    84.78%
Northeast              New York                            9/19/2020                    85.49%              91.62%                    81.33%
Northeast              New York                            9/26/2020                    85.80%              94.32%                    85.26%
Northeast              New York                            10/3/2020                    85.06%              92.56%                    85.12%
Northeast              New York                           10/10/2020                    87.53%              90.31%                    84.01%
Northeast              New York                           10/17/2020                    83.03%              93.79%                    83.30%
Northeast              New York                           10/24/2020                    83.53%              93.42%                    83.46%
Northeast              New York                           10/31/2020                    84.89%              94.64%                    84.08%
Northeast              New York                            11/7/2020                    86.56%              93.80%                    84.73%
Northeast              New York                           11/14/2020                    86.90%              93.46%                    80.78%
Northeast              New York                           11/21/2020                    84.85%              93.59%                    72.63%
Northeast              New York                           11/28/2020                    82.68%              94.43%                    73.18%
Northeast              New York                            12/5/2020                    75.39%              92.46%                    80.75%
Northeast              Northern New England                 1/4/2020                    91.62%              91.09%                    80.42%
Northeast              Northern New England                1/11/2020                    91.28%              90.82%                    79.80%
Northeast              Northern New England                1/18/2020                    92.83%              91.02%                    83.79%
Northeast              Northern New England                1/25/2020                    91.18%              93.40%                    82.35%
Northeast              Northern New England                 2/1/2020                    91.59%              92.68%                    84.06%
Northeast              Northern New England                 2/8/2020                    91.34%              93.23%                    81.94%
Northeast              Northern New England                2/15/2020                    93.22%              92.36%                    86.73%
Northeast              Northern New England                2/22/2020                    92.15%              93.40%                    84.46%
Northeast              Northern New England                2/29/2020                    93.21%              94.46%                    80.84%
Northeast              Northern New England                 3/7/2020                    90.11%              91.76%                    85.38%
Northeast              Northern New England                3/14/2020                    92.85%              92.40%                    82.29%
Northeast              Northern New England                3/21/2020                    92.38%              94.60%                    82.91%
Northeast              Northern New England                3/28/2020                    92.04%              87.35%                    70.55%
Northeast              Northern New England                 4/1/2020                    92.78%              93.82%                    85.10%
Northeast              Northern New England                 4/4/2020                    91.09%              93.45%                    64.14%


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Commission (PRC) at the end of the quarter.                          36
                   Case 1:20-cv-06516-VM Document 104-1 Filed 12/18/20 Page 37 of 68
                             USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                             District - By Week

        Area                  District                   Week               First-Class Mail   USPS Marketing Mail           Periodicals
Northeast              Northern New England                4/11/2020                    86.61%              89.45%                    60.55%
Northeast              Northern New England                4/18/2020                    91.44%              88.90%                    72.42%
Northeast              Northern New England                4/25/2020                    89.92%              84.16%                    44.47%
Northeast              Northern New England                 5/2/2020                    87.37%              87.45%                    62.58%
Northeast              Northern New England                 5/9/2020                    86.96%              89.86%                    65.10%
Northeast              Northern New England                5/16/2020                    89.10%              87.85%                    59.33%
Northeast              Northern New England                5/23/2020                    88.30%              88.51%                    66.15%
Northeast              Northern New England                5/30/2020                    87.50%              91.12%                    62.39%
Northeast              Northern New England                 6/6/2020                    86.63%              88.96%                    61.33%
Northeast              Northern New England                6/13/2020                    90.16%              90.66%                    67.56%
Northeast              Northern New England                6/20/2020                    88.53%              90.37%                    56.49%
Northeast              Northern New England                6/27/2020                    89.21%              83.45%                    65.02%
Northeast              Northern New England                 7/1/2020                    90.96%              94.25%                    37.16%
Northeast              Northern New England                 7/4/2020                    90.85%              89.59%                    59.52%
Northeast              Northern New England                7/11/2020                    81.99%              87.48%                    58.20%
Northeast              Northern New England                7/18/2020                    85.04%              89.08%                    61.31%
Northeast              Northern New England                7/25/2020                    87.56%              90.90%                    48.73%
Northeast              Northern New England                 8/1/2020                    85.34%              88.04%                    59.24%
Northeast              Northern New England                 8/8/2020                    84.28%              91.16%                    49.25%
Northeast              Northern New England                8/15/2020                    86.38%              93.00%                    59.41%
Northeast              Northern New England                8/22/2020                    89.09%              94.70%                    56.88%
Northeast              Northern New England                8/29/2020                    90.24%              94.02%                    66.61%
Northeast              Northern New England                 9/5/2020                    90.17%              87.31%                    74.26%
Northeast              Northern New England                9/12/2020                    87.92%              88.86%                    44.10%
Northeast              Northern New England                9/19/2020                    84.75%              93.03%                    64.91%
Northeast              Northern New England                9/26/2020                    87.44%              93.14%                    69.14%
Northeast              Northern New England                10/3/2020                    86.65%              88.30%                    68.64%
Northeast              Northern New England               10/10/2020                    87.72%              85.72%                    73.56%
Northeast              Northern New England               10/17/2020                    84.92%              93.15%                    61.64%
Northeast              Northern New England               10/24/2020                    85.79%              89.83%                    60.70%
Northeast              Northern New England               10/31/2020                    88.07%              89.02%                    63.97%
Northeast              Northern New England                11/7/2020                    87.82%              92.59%                    77.26%
Northeast              Northern New England               11/14/2020                    88.86%              90.27%                    62.46%
Northeast              Northern New England               11/21/2020                    86.94%              89.42%                    58.45%
Northeast              Northern New England               11/28/2020                    81.48%              88.61%                    47.46%
Northeast              Northern New England                12/5/2020                    77.00%              70.35%                    25.12%
Northeast              Northern New Jersey                  1/4/2020                    92.49%              87.20%                    76.98%
Northeast              Northern New Jersey                 1/11/2020                    92.44%              87.24%                    79.15%
Northeast              Northern New Jersey                 1/18/2020                    93.33%              91.00%                    85.70%
Northeast              Northern New Jersey                 1/25/2020                    93.34%              92.86%                    83.08%
Northeast              Northern New Jersey                  2/1/2020                    93.11%              92.00%                    86.10%
Northeast              Northern New Jersey                  2/8/2020                    93.50%              92.81%                    89.32%
Northeast              Northern New Jersey                 2/15/2020                    94.50%              94.66%                    85.18%
Northeast              Northern New Jersey                 2/22/2020                    93.56%              94.12%                    85.27%
Northeast              Northern New Jersey                 2/29/2020                    93.99%              93.00%                    83.11%
Northeast              Northern New Jersey                  3/7/2020                    93.62%              92.75%                    81.41%
Northeast              Northern New Jersey                 3/14/2020                    92.93%              91.79%                    81.27%
Northeast              Northern New Jersey                 3/21/2020                    93.44%              91.84%                    78.27%
Northeast              Northern New Jersey                 3/28/2020                    92.97%              86.34%                    79.29%
Northeast              Northern New Jersey                  4/1/2020                    92.16%              87.03%                    67.65%
Northeast              Northern New Jersey                  4/4/2020                    90.27%              82.98%                    81.44%
Northeast              Northern New Jersey                 4/11/2020                    88.47%              78.18%                    56.85%
Northeast              Northern New Jersey                 4/18/2020                    90.05%              72.94%                    30.67%
Northeast              Northern New Jersey                 4/25/2020                    87.66%              68.38%                    16.80%
Northeast              Northern New Jersey                  5/2/2020                    86.36%              59.71%                    11.24%
Northeast              Northern New Jersey                  5/9/2020                    87.25%              76.18%                    15.89%
Northeast              Northern New Jersey                 5/16/2020                    88.68%              77.00%                    31.48%


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Commission (PRC) at the end of the quarter.                          37
                   Case 1:20-cv-06516-VM Document 104-1 Filed 12/18/20 Page 38 of 68
                             USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                             District - By Week

        Area                   District                  Week               First-Class Mail   USPS Marketing Mail           Periodicals
Northeast              Northern New Jersey                 5/23/2020                    90.86%              82.46%                    37.80%
Northeast              Northern New Jersey                 5/30/2020                    88.22%              89.52%                    56.10%
Northeast              Northern New Jersey                  6/6/2020                    89.34%              90.66%                    62.52%
Northeast              Northern New Jersey                 6/13/2020                    89.91%              90.39%                    67.18%
Northeast              Northern New Jersey                 6/20/2020                    90.82%              89.32%                    71.39%
Northeast              Northern New Jersey                 6/27/2020                    89.81%              83.17%                    75.95%
Northeast              Northern New Jersey                  7/1/2020                    91.98%              91.31%                    76.68%
Northeast              Northern New Jersey                  7/4/2020                    90.29%              86.65%                    67.75%
Northeast              Northern New Jersey                 7/11/2020                    84.33%              87.64%                    70.58%
Northeast              Northern New Jersey                 7/18/2020                    80.74%              84.01%                    64.18%
Northeast              Northern New Jersey                 7/25/2020                    87.12%              85.07%                    70.92%
Northeast              Northern New Jersey                  8/1/2020                    86.09%              78.79%                    66.26%
Northeast              Northern New Jersey                  8/8/2020                    83.97%              83.10%                    61.77%
Northeast              Northern New Jersey                 8/15/2020                    85.27%              86.61%                    69.68%
Northeast              Northern New Jersey                 8/22/2020                    88.20%              89.16%                    72.55%
Northeast              Northern New Jersey                 8/29/2020                    89.99%              89.08%                    69.43%
Northeast              Northern New Jersey                  9/5/2020                    91.00%              89.21%                    80.21%
Northeast              Northern New Jersey                 9/12/2020                    88.72%              89.64%                    76.87%
Northeast              Northern New Jersey                 9/19/2020                    84.48%              91.54%                    77.01%
Northeast              Northern New Jersey                 9/26/2020                    88.98%              89.42%                    83.32%
Northeast              Northern New Jersey                 10/3/2020                    89.24%              90.86%                    82.36%
Northeast              Northern New Jersey                10/10/2020                    89.27%              88.29%                    76.17%
Northeast              Northern New Jersey                10/17/2020                    84.93%              89.39%                    67.58%
Northeast              Northern New Jersey                10/24/2020                    85.82%              90.41%                    75.21%
Northeast              Northern New Jersey                10/31/2020                    87.87%              91.09%                    79.66%
Northeast              Northern New Jersey                 11/7/2020                    88.27%              93.37%                    85.68%
Northeast              Northern New Jersey                11/14/2020                    90.78%              89.67%                    72.05%
Northeast              Northern New Jersey                11/21/2020                    86.55%              91.64%                    83.72%
Northeast              Northern New Jersey                11/28/2020                    83.51%              91.50%                    75.08%
Northeast              Northern New Jersey                 12/5/2020                    79.08%              89.80%                    76.75%
Northeast              Triboro                              1/4/2020                    87.43%              88.87%                    81.86%
Northeast              Triboro                             1/11/2020                    86.14%              85.62%                    77.24%
Northeast              Triboro                             1/18/2020                    86.10%              83.78%                    70.99%
Northeast              Triboro                             1/25/2020                    82.22%              87.18%                    77.53%
Northeast              Triboro                              2/1/2020                    86.97%              87.49%                    79.92%
Northeast              Triboro                              2/8/2020                    88.39%              89.18%                    82.97%
Northeast              Triboro                             2/15/2020                    89.52%              89.03%                    75.78%
Northeast              Triboro                             2/22/2020                    88.50%              90.71%                    74.27%
Northeast              Triboro                             2/29/2020                    89.61%              87.98%                    78.95%
Northeast              Triboro                              3/7/2020                    89.49%              88.48%                    74.14%
Northeast              Triboro                             3/14/2020                    82.93%              81.36%                    79.07%
Northeast              Triboro                             3/21/2020                    85.66%              86.12%                    75.87%
Northeast              Triboro                             3/28/2020                    83.19%              82.97%                    50.98%
Northeast              Triboro                              4/1/2020                    84.22%              82.42%                    65.77%
Northeast              Triboro                              4/4/2020                    78.92%              76.28%                    58.38%
Northeast              Triboro                             4/11/2020                    69.95%              77.67%                    44.82%
Northeast              Triboro                             4/18/2020                    69.55%              73.43%                    53.99%
Northeast              Triboro                             4/25/2020                    75.00%              67.48%                    45.06%
Northeast              Triboro                              5/2/2020                    67.97%              67.40%                    39.92%
Northeast              Triboro                              5/9/2020                    74.43%              73.24%                    50.28%
Northeast              Triboro                             5/16/2020                    80.06%              81.51%                    52.74%
Northeast              Triboro                             5/23/2020                    80.13%              79.48%                    46.03%
Northeast              Triboro                             5/30/2020                    84.35%              85.31%                    53.33%
Northeast              Triboro                              6/6/2020                    83.58%              87.56%                    50.65%
Northeast              Triboro                             6/13/2020                    85.60%              85.80%                    61.99%
Northeast              Triboro                             6/20/2020                    84.18%              88.45%                    62.41%
Northeast              Triboro                             6/27/2020                    85.01%              89.20%                    69.06%


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Commission (PRC) at the end of the quarter.                          38
                   Case 1:20-cv-06516-VM Document 104-1 Filed 12/18/20 Page 39 of 68
                             USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                             District - By Week

        Area                   District                  Week               First-Class Mail   USPS Marketing Mail           Periodicals
Northeast              Triboro                              7/1/2020                    88.64%              87.91%                    53.10%
Northeast              Triboro                              7/4/2020                    86.51%              84.99%                    53.23%
Northeast              Triboro                             7/11/2020                    83.35%              83.20%                    61.71%
Northeast              Triboro                             7/18/2020                    77.09%              79.51%                    57.12%
Northeast              Triboro                             7/25/2020                    80.82%              79.57%                    49.31%
Northeast              Triboro                              8/1/2020                    80.82%              79.92%                    52.49%
Northeast              Triboro                              8/8/2020                    81.16%              80.63%                    50.32%
Northeast              Triboro                             8/15/2020                    82.04%              83.24%                    60.43%
Northeast              Triboro                             8/22/2020                    85.29%              81.84%                    64.45%
Northeast              Triboro                             8/29/2020                    85.27%              85.94%                    52.45%
Northeast              Triboro                              9/5/2020                    87.00%              86.99%                    68.78%
Northeast              Triboro                             9/12/2020                    85.33%              83.72%                    69.03%
Northeast              Triboro                             9/19/2020                    85.18%              87.20%                    70.01%
Northeast              Triboro                             9/26/2020                    86.32%              87.53%                    61.15%
Northeast              Triboro                             10/3/2020                    86.82%              88.46%                    66.84%
Northeast              Triboro                            10/10/2020                    87.14%              84.79%                    65.73%
Northeast              Triboro                            10/17/2020                    82.81%              87.41%                    68.47%
Northeast              Triboro                            10/24/2020                    85.13%              88.67%                    69.56%
Northeast              Triboro                            10/31/2020                    86.85%              84.91%                    64.49%
Northeast              Triboro                             11/7/2020                    87.07%              90.33%                    75.75%
Northeast              Triboro                            11/14/2020                    88.37%              89.68%                    74.71%
Northeast              Triboro                            11/21/2020                    85.41%              85.41%                    70.32%
Northeast              Triboro                            11/28/2020                    82.48%              89.42%                    62.24%
Northeast              Triboro                             12/5/2020                    71.72%              87.29%                    64.99%
Northeast              Westchester                          1/4/2020                    90.05%              89.06%                    75.26%
Northeast              Westchester                         1/11/2020                    90.55%              87.11%                    77.75%
Northeast              Westchester                         1/18/2020                    91.89%              89.96%                    80.35%
Northeast              Westchester                         1/25/2020                    91.48%              92.17%                    85.92%
Northeast              Westchester                          2/1/2020                    91.51%              92.20%                    87.24%
Northeast              Westchester                          2/8/2020                    92.43%              91.60%                    86.27%
Northeast              Westchester                         2/15/2020                    93.37%              92.61%                    87.99%
Northeast              Westchester                         2/22/2020                    93.23%              93.19%                    83.39%
Northeast              Westchester                         2/29/2020                    93.14%              92.61%                    77.88%
Northeast              Westchester                          3/7/2020                    91.88%              88.74%                    78.34%
Northeast              Westchester                         3/14/2020                    77.92%              60.49%                    61.81%
Northeast              Westchester                         3/21/2020                    89.60%              84.65%                    68.49%
Northeast              Westchester                         3/28/2020                    91.49%              78.88%                    65.56%
Northeast              Westchester                          4/1/2020                    90.72%              75.47%                    58.96%
Northeast              Westchester                          4/4/2020                    84.97%              42.80%                    44.35%
Northeast              Westchester                         4/11/2020                    79.26%              42.07%                    39.29%
Northeast              Westchester                         4/18/2020                    84.90%              73.71%                    52.28%
Northeast              Westchester                         4/25/2020                    84.12%              73.76%                    45.82%
Northeast              Westchester                          5/2/2020                    83.59%              72.09%                    42.58%
Northeast              Westchester                          5/9/2020                    86.60%              85.48%                    54.53%
Northeast              Westchester                         5/16/2020                    89.21%              86.99%                    61.23%
Northeast              Westchester                         5/23/2020                    90.54%              87.04%                    69.01%
Northeast              Westchester                         5/30/2020                    88.36%              85.86%                    68.91%
Northeast              Westchester                          6/6/2020                    87.32%              87.87%                    69.61%
Northeast              Westchester                         6/13/2020                    89.31%              89.08%                    72.94%
Northeast              Westchester                         6/20/2020                    90.16%              88.00%                    73.90%
Northeast              Westchester                         6/27/2020                    91.07%              82.32%                    80.26%
Northeast              Westchester                          7/1/2020                    92.68%              89.36%                    76.43%
Northeast              Westchester                          7/4/2020                    89.91%              87.88%                    75.07%
Northeast              Westchester                         7/11/2020                    83.80%              82.18%                    69.28%
Northeast              Westchester                         7/18/2020                    81.79%              83.91%                    68.70%
Northeast              Westchester                         7/25/2020                    84.87%              82.04%                    64.74%
Northeast              Westchester                          8/1/2020                    84.60%              82.17%                    59.21%


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Commission (PRC) at the end of the quarter.                          39
                   Case 1:20-cv-06516-VM Document 104-1 Filed 12/18/20 Page 40 of 68
                             USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                             District - By Week

        Area                   District                  Week               First-Class Mail   USPS Marketing Mail           Periodicals
Northeast              Westchester                          8/8/2020                    77.94%              81.94%                    53.34%
Northeast              Westchester                         8/15/2020                    84.42%              88.08%                    64.05%
Northeast              Westchester                         8/22/2020                    86.52%              88.31%                    59.89%
Northeast              Westchester                         8/29/2020                    89.26%              89.10%                    67.68%
Northeast              Westchester                          9/5/2020                    88.65%              89.21%                    62.51%
Northeast              Westchester                         9/12/2020                    82.96%              80.48%                    60.08%
Northeast              Westchester                         9/19/2020                    85.80%              84.31%                    66.05%
Northeast              Westchester                         9/26/2020                    86.75%              88.49%                    71.63%
Northeast              Westchester                         10/3/2020                    85.22%              89.25%                    67.10%
Northeast              Westchester                        10/10/2020                    85.09%              85.09%                    68.01%
Northeast              Westchester                        10/17/2020                    83.30%              87.21%                    69.85%
Northeast              Westchester                        10/24/2020                    84.37%              85.99%                    70.96%
Northeast              Westchester                        10/31/2020                    88.34%              85.61%                    53.05%
Northeast              Westchester                         11/7/2020                    87.89%              86.61%                    66.89%
Northeast              Westchester                        11/14/2020                    88.76%              81.79%                    51.25%
Northeast              Westchester                        11/21/2020                    87.26%              84.55%                    65.17%
Northeast              Westchester                        11/28/2020                    83.06%              89.31%                    62.45%
Northeast              Westchester                         12/5/2020                    75.94%              69.67%                    41.28%
Pacific                Bay-Valley                           1/4/2020                    93.90%              93.37%                    77.21%
Pacific                Bay-Valley                          1/11/2020                    93.36%              92.87%                    90.28%
Pacific                Bay-Valley                          1/18/2020                    95.00%              93.79%                    87.41%
Pacific                Bay-Valley                          1/25/2020                    93.54%              92.15%                    89.12%
Pacific                Bay-Valley                           2/1/2020                    91.25%              91.03%                    86.93%
Pacific                Bay-Valley                           2/8/2020                    91.88%              93.21%                    88.80%
Pacific                Bay-Valley                          2/15/2020                    94.71%              95.04%                    90.63%
Pacific                Bay-Valley                          2/22/2020                    94.16%              95.81%                    84.50%
Pacific                Bay-Valley                          2/29/2020                    93.54%              92.26%                    83.13%
Pacific                Bay-Valley                           3/7/2020                    93.77%              94.16%                    92.07%
Pacific                Bay-Valley                          3/14/2020                    93.41%              94.09%                    90.21%
Pacific                Bay-Valley                          3/21/2020                    94.29%              94.52%                    88.49%
Pacific                Bay-Valley                          3/28/2020                    94.38%              95.62%                    88.92%
Pacific                Bay-Valley                           4/1/2020                    94.29%              86.97%                    89.47%
Pacific                Bay-Valley                           4/4/2020                    94.01%              94.26%                    89.42%
Pacific                Bay-Valley                          4/11/2020                    91.83%              94.21%                    86.87%
Pacific                Bay-Valley                          4/18/2020                    93.18%              93.03%                    89.55%
Pacific                Bay-Valley                          4/25/2020                    93.47%              92.97%                    88.03%
Pacific                Bay-Valley                           5/2/2020                    91.66%              92.91%                    85.79%
Pacific                Bay-Valley                           5/9/2020                    91.08%              92.84%                    87.25%
Pacific                Bay-Valley                          5/16/2020                    91.13%              92.84%                    83.53%
Pacific                Bay-Valley                          5/23/2020                    93.76%              91.93%                    85.17%
Pacific                Bay-Valley                          5/30/2020                    91.78%              91.52%                    84.59%
Pacific                Bay-Valley                           6/6/2020                    92.05%              91.95%                    77.48%
Pacific                Bay-Valley                          6/13/2020                    92.98%              91.50%                    86.73%
Pacific                Bay-Valley                          6/20/2020                    92.14%              91.57%                    85.70%
Pacific                Bay-Valley                          6/27/2020                    93.66%              93.29%                    87.82%
Pacific                Bay-Valley                           7/1/2020                    91.32%              83.51%                    87.84%
Pacific                Bay-Valley                           7/4/2020                    92.43%              89.12%                    75.14%
Pacific                Bay-Valley                          7/11/2020                    88.96%              85.41%                    84.08%
Pacific                Bay-Valley                          7/18/2020                    87.97%              80.11%                    83.63%
Pacific                Bay-Valley                          7/25/2020                    89.30%              80.13%                    82.25%
Pacific                Bay-Valley                           8/1/2020                    86.94%              81.56%                    71.42%
Pacific                Bay-Valley                           8/8/2020                    85.64%              85.76%                    69.03%
Pacific                Bay-Valley                          8/15/2020                    88.41%              88.00%                    81.54%
Pacific                Bay-Valley                          8/22/2020                    90.13%              89.05%                    83.41%
Pacific                Bay-Valley                          8/29/2020                    91.03%              87.55%                    80.86%
Pacific                Bay-Valley                           9/5/2020                    92.54%              90.82%                    83.73%
Pacific                Bay-Valley                          9/12/2020                    89.99%              89.89%                    84.73%


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Commission (PRC) at the end of the quarter.                          40
                   Case 1:20-cv-06516-VM Document 104-1 Filed 12/18/20 Page 41 of 68
                             USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                             District - By Week

          Area                 District                  Week               First-Class Mail   USPS Marketing Mail           Periodicals
Pacific                Bay-Valley                          9/19/2020                    90.98%              93.25%                    87.75%
Pacific                Bay-Valley                          9/26/2020                    92.04%              92.38%                    84.85%
Pacific                Bay-Valley                          10/3/2020                    91.64%              88.30%                    75.47%
Pacific                Bay-Valley                         10/10/2020                    91.89%              88.29%                    79.51%
Pacific                Bay-Valley                         10/17/2020                    87.74%              92.51%                    83.14%
Pacific                Bay-Valley                         10/24/2020                    90.02%              93.31%                    81.88%
Pacific                Bay-Valley                         10/31/2020                    92.61%              92.93%                    87.41%
Pacific                Bay-Valley                          11/7/2020                    92.88%              94.25%                    84.34%
Pacific                Bay-Valley                         11/14/2020                    93.19%              92.58%                    90.23%
Pacific                Bay-Valley                         11/21/2020                    92.00%              93.36%                    89.29%
Pacific                Bay-Valley                         11/28/2020                    83.97%              92.18%                    79.70%
Pacific                Bay-Valley                          12/5/2020                    81.43%              87.90%                    80.03%
Pacific                Honolulu                             1/4/2020                    93.07%              92.72%                    86.73%
Pacific                Honolulu                            1/11/2020                    90.63%              84.49%                    82.84%
Pacific                Honolulu                            1/18/2020                    92.54%              92.30%                    77.32%
Pacific                Honolulu                            1/25/2020                    87.06%              92.21%                    86.58%
Pacific                Honolulu                             2/1/2020                    87.71%              92.38%                    89.04%
Pacific                Honolulu                             2/8/2020                    91.43%              77.79%                    94.08%
Pacific                Honolulu                            2/15/2020                    92.83%              92.11%                    91.78%
Pacific                Honolulu                            2/22/2020                    92.69%              94.76%                    91.41%
Pacific                Honolulu                            2/29/2020                    91.72%              94.27%                    79.76%
Pacific                Honolulu                             3/7/2020                    89.39%              92.61%                    80.10%
Pacific                Honolulu                            3/14/2020                    89.73%              92.10%                    83.49%
Pacific                Honolulu                            3/21/2020                    91.28%              79.98%                    89.66%
Pacific                Honolulu                            3/28/2020                    90.23%              95.11%                    86.13%
Pacific                Honolulu                             4/1/2020                    89.50%              96.79%                    69.65%
Pacific                Honolulu                             4/4/2020                    90.97%              94.84%                    81.81%
Pacific                Honolulu                            4/11/2020                    89.77%              95.95%                    68.64%
Pacific                Honolulu                            4/18/2020                    87.56%              95.54%                    89.71%
Pacific                Honolulu                            4/25/2020                    88.64%              91.92%                    76.59%
Pacific                Honolulu                             5/2/2020                    90.16%              91.63%                    92.36%
Pacific                Honolulu                             5/9/2020                    86.95%              80.68%                    74.72%
Pacific                Honolulu                            5/16/2020                    88.24%              79.46%                    88.67%
Pacific                Honolulu                            5/23/2020                    87.01%              79.68%                    61.89%
Pacific                Honolulu                            5/30/2020                    83.36%              92.13%                    58.82%
Pacific                Honolulu                             6/6/2020                    81.82%              91.58%                    82.62%
Pacific                Honolulu                            6/13/2020                    79.01%              82.27%                    79.77%
Pacific                Honolulu                            6/20/2020                    68.85%              95.12%                    68.25%
Pacific                Honolulu                            6/27/2020                    75.58%              95.76%                    88.17%
Pacific                Honolulu                             7/1/2020                    71.15%              95.73%                    88.77%
Pacific                Honolulu                             7/4/2020                    83.19%              94.80%                    83.07%
Pacific                Honolulu                            7/11/2020                    80.41%              84.11%                    54.73%
Pacific                Honolulu                            7/18/2020                    70.53%              84.36%                    44.36%
Pacific                Honolulu                            7/25/2020                    57.47%              74.16%                    39.74%
Pacific                Honolulu                             8/1/2020                    55.23%              61.85%                    60.96%
Pacific                Honolulu                             8/8/2020                    63.81%              72.37%                    76.66%
Pacific                Honolulu                            8/15/2020                    84.01%              93.28%                    84.97%
Pacific                Honolulu                            8/22/2020                    88.67%              96.10%                    78.17%
Pacific                Honolulu                            8/29/2020                    88.54%              97.23%                    93.54%
Pacific                Honolulu                             9/5/2020                    90.41%              94.57%                    84.19%
Pacific                Honolulu                            9/12/2020                    87.26%              89.59%                    89.53%
Pacific                Honolulu                            9/19/2020                    85.06%              81.75%                    90.67%
Pacific                Honolulu                            9/26/2020                    83.88%              95.86%                    73.04%
Pacific                Honolulu                            10/3/2020                    88.06%              93.47%                    89.72%
Pacific                Honolulu                           10/10/2020                    85.27%              94.98%                    83.00%
Pacific                Honolulu                           10/17/2020                    87.45%              94.56%                    69.75%
Pacific                Honolulu                           10/24/2020                    87.95%              95.45%                    92.23%


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Commission (PRC) at the end of the quarter.                          41
                   Case 1:20-cv-06516-VM Document 104-1 Filed 12/18/20 Page 42 of 68
                             USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                             District - By Week

          Area                 District                  Week               First-Class Mail   USPS Marketing Mail           Periodicals
Pacific                Honolulu                           10/31/2020                    89.22%              93.34%                    76.42%
Pacific                Honolulu                            11/7/2020                    83.34%              93.48%                    80.85%
Pacific                Honolulu                           11/14/2020                    86.07%              75.43%                    81.81%
Pacific                Honolulu                           11/21/2020                    82.27%              91.11%                    80.49%
Pacific                Honolulu                           11/28/2020                    81.95%              95.65%                    78.90%
Pacific                Honolulu                            12/5/2020                    87.85%              85.05%                    82.66%
Pacific                Los Angeles                          1/4/2020                    94.09%              92.59%                    84.55%
Pacific                Los Angeles                         1/11/2020                    92.59%              90.44%                    83.85%
Pacific                Los Angeles                         1/18/2020                    92.90%              89.13%                    88.15%
Pacific                Los Angeles                         1/25/2020                    93.37%              89.71%                    86.56%
Pacific                Los Angeles                          2/1/2020                    90.05%              76.98%                    81.80%
Pacific                Los Angeles                          2/8/2020                    91.05%              89.55%                    87.50%
Pacific                Los Angeles                         2/15/2020                    93.66%              91.80%                    87.51%
Pacific                Los Angeles                         2/22/2020                    94.15%              93.70%                    86.62%
Pacific                Los Angeles                         2/29/2020                    93.85%              87.37%                    78.31%
Pacific                Los Angeles                          3/7/2020                    92.76%              88.70%                    78.53%
Pacific                Los Angeles                         3/14/2020                    92.62%              89.91%                    84.01%
Pacific                Los Angeles                         3/21/2020                    92.69%              93.88%                    77.10%
Pacific                Los Angeles                         3/28/2020                    93.95%              94.57%                    84.09%
Pacific                Los Angeles                          4/1/2020                    92.91%              90.95%                    86.86%
Pacific                Los Angeles                          4/4/2020                    93.01%              90.99%                    89.00%
Pacific                Los Angeles                         4/11/2020                    91.74%              89.62%                    82.14%
Pacific                Los Angeles                         4/18/2020                    92.26%              90.74%                    81.41%
Pacific                Los Angeles                         4/25/2020                    87.49%              90.88%                    72.33%
Pacific                Los Angeles                          5/2/2020                    92.10%              91.83%                    75.56%
Pacific                Los Angeles                          5/9/2020                    91.29%              91.44%                    60.81%
Pacific                Los Angeles                         5/16/2020                    92.33%              92.08%                    72.34%
Pacific                Los Angeles                         5/23/2020                    91.52%              91.59%                    71.93%
Pacific                Los Angeles                         5/30/2020                    88.98%              85.57%                    52.95%
Pacific                Los Angeles                          6/6/2020                    88.32%              87.32%                    65.16%
Pacific                Los Angeles                         6/13/2020                    90.77%              86.95%                    67.54%
Pacific                Los Angeles                         6/20/2020                    87.71%              86.37%                    67.08%
Pacific                Los Angeles                         6/27/2020                    87.86%              83.60%                    69.35%
Pacific                Los Angeles                          7/1/2020                    89.32%              85.52%                    74.05%
Pacific                Los Angeles                          7/4/2020                    88.88%              82.65%                    66.61%
Pacific                Los Angeles                         7/11/2020                    82.68%              75.74%                    56.56%
Pacific                Los Angeles                         7/18/2020                    77.93%              74.79%                    46.45%
Pacific                Los Angeles                         7/25/2020                    77.29%              74.37%                    48.90%
Pacific                Los Angeles                          8/1/2020                    73.51%              72.38%                    36.82%
Pacific                Los Angeles                          8/8/2020                    78.03%              77.82%                    53.56%
Pacific                Los Angeles                         8/15/2020                    83.39%              84.37%                    51.97%
Pacific                Los Angeles                         8/22/2020                    86.23%              87.04%                    55.65%
Pacific                Los Angeles                         8/29/2020                    88.66%              87.06%                    65.00%
Pacific                Los Angeles                          9/5/2020                    89.17%              90.87%                    78.82%
Pacific                Los Angeles                         9/12/2020                    91.52%              90.34%                    80.36%
Pacific                Los Angeles                         9/19/2020                    90.24%              93.30%                    79.58%
Pacific                Los Angeles                         9/26/2020                    89.30%              93.43%                    75.07%
Pacific                Los Angeles                         10/3/2020                    89.40%              93.10%                    78.07%
Pacific                Los Angeles                        10/10/2020                    89.44%              91.36%                    75.77%
Pacific                Los Angeles                        10/17/2020                    88.16%              95.05%                    69.74%
Pacific                Los Angeles                        10/24/2020                    88.21%              94.22%                    77.51%
Pacific                Los Angeles                        10/31/2020                    89.43%              92.03%                    76.93%
Pacific                Los Angeles                         11/7/2020                    91.64%              94.35%                    79.38%
Pacific                Los Angeles                        11/14/2020                    92.53%              95.35%                    75.63%
Pacific                Los Angeles                        11/21/2020                    89.26%              95.01%                    81.34%
Pacific                Los Angeles                        11/28/2020                    86.11%              92.61%                    75.36%
Pacific                Los Angeles                         12/5/2020                    83.76%              91.37%                    76.44%


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Commission (PRC) at the end of the quarter.                          42
                   Case 1:20-cv-06516-VM Document 104-1 Filed 12/18/20 Page 43 of 68
                             USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                             District - By Week

          Area                 District                  Week               First-Class Mail   USPS Marketing Mail           Periodicals
Pacific                Sacramento                           1/4/2020                    93.62%              93.13%                    87.90%
Pacific                Sacramento                          1/11/2020                    91.42%              92.65%                    85.09%
Pacific                Sacramento                          1/18/2020                    93.72%              91.91%                    91.15%
Pacific                Sacramento                          1/25/2020                    91.54%              93.23%                    88.72%
Pacific                Sacramento                           2/1/2020                    91.03%              92.40%                    91.44%
Pacific                Sacramento                           2/8/2020                    91.41%              92.67%                    91.27%
Pacific                Sacramento                          2/15/2020                    94.23%              93.65%                    90.51%
Pacific                Sacramento                          2/22/2020                    94.00%              95.82%                    88.51%
Pacific                Sacramento                          2/29/2020                    94.17%              94.92%                    88.57%
Pacific                Sacramento                           3/7/2020                    93.75%              93.48%                    88.43%
Pacific                Sacramento                          3/14/2020                    92.72%              92.49%                    88.46%
Pacific                Sacramento                          3/21/2020                    93.32%              94.65%                    88.01%
Pacific                Sacramento                          3/28/2020                    93.38%              93.99%                    85.50%
Pacific                Sacramento                           4/1/2020                    93.56%              86.14%                    91.73%
Pacific                Sacramento                           4/4/2020                    91.60%              93.05%                    87.05%
Pacific                Sacramento                          4/11/2020                    90.57%              93.45%                    74.89%
Pacific                Sacramento                          4/18/2020                    91.93%              93.12%                    81.49%
Pacific                Sacramento                          4/25/2020                    91.15%              89.23%                    80.96%
Pacific                Sacramento                           5/2/2020                    89.50%              91.71%                    75.85%
Pacific                Sacramento                           5/9/2020                    86.56%              90.06%                    62.22%
Pacific                Sacramento                          5/16/2020                    88.04%              89.43%                    72.06%
Pacific                Sacramento                          5/23/2020                    92.08%              88.97%                    73.05%
Pacific                Sacramento                          5/30/2020                    90.02%              89.61%                    77.27%
Pacific                Sacramento                           6/6/2020                    91.01%              90.88%                    73.57%
Pacific                Sacramento                          6/13/2020                    92.05%              91.04%                    82.94%
Pacific                Sacramento                          6/20/2020                    89.45%              87.93%                    73.70%
Pacific                Sacramento                          6/27/2020                    92.15%              87.23%                    65.73%
Pacific                Sacramento                           7/1/2020                    91.59%              84.81%                    78.89%
Pacific                Sacramento                           7/4/2020                    91.22%              83.92%                    67.20%
Pacific                Sacramento                          7/11/2020                    85.19%              81.01%                    49.06%
Pacific                Sacramento                          7/18/2020                    80.48%              68.41%                    63.88%
Pacific                Sacramento                          7/25/2020                    85.65%              82.26%                    58.98%
Pacific                Sacramento                           8/1/2020                    80.86%              77.50%                    50.19%
Pacific                Sacramento                           8/8/2020                    81.19%              82.76%                    48.97%
Pacific                Sacramento                          8/15/2020                    86.70%              87.08%                    66.65%
Pacific                Sacramento                          8/22/2020                    88.15%              91.78%                    75.12%
Pacific                Sacramento                          8/29/2020                    90.08%              91.65%                    80.42%
Pacific                Sacramento                           9/5/2020                    90.49%              91.07%                    83.66%
Pacific                Sacramento                          9/12/2020                    89.26%              90.43%                    72.98%
Pacific                Sacramento                          9/19/2020                    91.02%              90.83%                    86.23%
Pacific                Sacramento                          9/26/2020                    90.23%              92.53%                    80.13%
Pacific                Sacramento                          10/3/2020                    89.16%              92.71%                    83.12%
Pacific                Sacramento                         10/10/2020                    90.05%              90.61%                    77.07%
Pacific                Sacramento                         10/17/2020                    87.10%              92.13%                    85.48%
Pacific                Sacramento                         10/24/2020                    89.06%              93.50%                    85.18%
Pacific                Sacramento                         10/31/2020                    88.99%              92.09%                    85.57%
Pacific                Sacramento                          11/7/2020                    88.63%              93.18%                    88.20%
Pacific                Sacramento                         11/14/2020                    91.54%              92.98%                    88.74%
Pacific                Sacramento                         11/21/2020                    89.26%              91.36%                    88.94%
Pacific                Sacramento                         11/28/2020                    82.30%              91.85%                    80.73%
Pacific                Sacramento                          12/5/2020                    79.90%              90.64%                    82.92%
Pacific                San Diego                            1/4/2020                    93.25%              94.24%                    82.44%
Pacific                San Diego                           1/11/2020                    92.52%              93.18%                    77.70%
Pacific                San Diego                           1/18/2020                    94.64%              93.96%                    91.94%
Pacific                San Diego                           1/25/2020                    92.02%              93.32%                    90.09%
Pacific                San Diego                            2/1/2020                    90.91%              91.52%                    83.93%
Pacific                San Diego                            2/8/2020                    92.25%              92.27%                    82.65%


Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                          43
                   Case 1:20-cv-06516-VM Document 104-1 Filed 12/18/20 Page 44 of 68
                             USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                             District - By Week

          Area                 District                  Week               First-Class Mail   USPS Marketing Mail           Periodicals
Pacific                San Diego                           2/15/2020                    94.76%              92.91%                    92.84%
Pacific                San Diego                           2/22/2020                    93.04%              94.97%                    85.55%
Pacific                San Diego                           2/29/2020                    91.78%              93.41%                    82.33%
Pacific                San Diego                            3/7/2020                    92.55%              94.42%                    86.37%
Pacific                San Diego                           3/14/2020                    90.87%              94.00%                    87.29%
Pacific                San Diego                           3/21/2020                    93.97%              94.23%                    89.24%
Pacific                San Diego                           3/28/2020                    93.42%              95.45%                    83.80%
Pacific                San Diego                            4/1/2020                    94.11%              90.63%                    83.49%
Pacific                San Diego                            4/4/2020                    92.59%              95.11%                    86.64%
Pacific                San Diego                           4/11/2020                    90.91%              93.90%                    84.40%
Pacific                San Diego                           4/18/2020                    92.43%              90.27%                    84.76%
Pacific                San Diego                           4/25/2020                    86.96%              92.76%                    83.45%
Pacific                San Diego                            5/2/2020                    91.07%              92.36%                    81.23%
Pacific                San Diego                            5/9/2020                    89.58%              91.84%                    77.56%
Pacific                San Diego                           5/16/2020                    91.32%              92.81%                    80.04%
Pacific                San Diego                           5/23/2020                    92.39%              92.36%                    76.90%
Pacific                San Diego                           5/30/2020                    89.99%              93.32%                    81.87%
Pacific                San Diego                            6/6/2020                    90.60%              92.39%                    79.96%
Pacific                San Diego                           6/13/2020                    91.57%              91.63%                    83.90%
Pacific                San Diego                           6/20/2020                    90.64%              91.91%                    81.98%
Pacific                San Diego                           6/27/2020                    90.13%              92.65%                    82.38%
Pacific                San Diego                            7/1/2020                    93.13%              88.61%                    85.29%
Pacific                San Diego                            7/4/2020                    93.15%              90.76%                    81.03%
Pacific                San Diego                           7/11/2020                    87.83%              89.55%                    69.80%
Pacific                San Diego                           7/18/2020                    84.24%              90.52%                    83.15%
Pacific                San Diego                           7/25/2020                    86.45%              88.67%                    72.57%
Pacific                San Diego                            8/1/2020                    81.65%              89.06%                    73.16%
Pacific                San Diego                            8/8/2020                    81.49%              86.86%                    67.20%
Pacific                San Diego                           8/15/2020                    85.37%              90.83%                    67.40%
Pacific                San Diego                           8/22/2020                    88.36%              92.19%                    79.43%
Pacific                San Diego                           8/29/2020                    89.43%              90.72%                    79.42%
Pacific                San Diego                            9/5/2020                    93.12%              91.78%                    84.37%
Pacific                San Diego                           9/12/2020                    92.07%              92.53%                    82.23%
Pacific                San Diego                           9/19/2020                    90.29%              93.45%                    86.87%
Pacific                San Diego                           9/26/2020                    91.28%              93.51%                    86.52%
Pacific                San Diego                           10/3/2020                    90.44%              93.37%                    83.17%
Pacific                San Diego                          10/10/2020                    91.84%              92.14%                    77.77%
Pacific                San Diego                          10/17/2020                    88.08%              92.51%                    71.16%
Pacific                San Diego                          10/24/2020                    89.48%              94.62%                    77.10%
Pacific                San Diego                          10/31/2020                    91.26%              94.28%                    84.77%
Pacific                San Diego                           11/7/2020                    91.36%              95.21%                    89.31%
Pacific                San Diego                          11/14/2020                    92.45%              94.79%                    89.31%
Pacific                San Diego                          11/21/2020                    89.42%              94.36%                    85.76%
Pacific                San Diego                          11/28/2020                    85.83%              92.47%                    77.38%
Pacific                San Diego                           12/5/2020                    75.18%              89.83%                    70.20%
Pacific                San Francisco                        1/4/2020                    93.33%              91.61%                    87.61%
Pacific                San Francisco                       1/11/2020                    92.76%              92.17%                    90.17%
Pacific                San Francisco                       1/18/2020                    93.44%              93.20%                    90.84%
Pacific                San Francisco                       1/25/2020                    92.95%              92.33%                    92.73%
Pacific                San Francisco                        2/1/2020                    91.71%              90.46%                    89.28%
Pacific                San Francisco                        2/8/2020                    92.52%              94.10%                    90.52%
Pacific                San Francisco                       2/15/2020                    94.57%              94.41%                    90.36%
Pacific                San Francisco                       2/22/2020                    94.55%              94.72%                    89.58%
Pacific                San Francisco                       2/29/2020                    94.65%              93.54%                    86.53%
Pacific                San Francisco                        3/7/2020                    94.18%              94.49%                    90.94%
Pacific                San Francisco                       3/14/2020                    93.36%              93.71%                    91.56%
Pacific                San Francisco                       3/21/2020                    93.19%              94.15%                    91.28%


Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                          44
                   Case 1:20-cv-06516-VM Document 104-1 Filed 12/18/20 Page 45 of 68
                             USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                             District - By Week

          Area                 District                  Week               First-Class Mail   USPS Marketing Mail           Periodicals
Pacific                San Francisco                       3/28/2020                    92.93%              95.44%                    87.37%
Pacific                San Francisco                        4/1/2020                    93.78%              87.92%                    90.62%
Pacific                San Francisco                        4/4/2020                    93.34%              93.84%                    92.87%
Pacific                San Francisco                       4/11/2020                    92.84%              94.52%                    89.53%
Pacific                San Francisco                       4/18/2020                    93.49%              93.27%                    90.48%
Pacific                San Francisco                       4/25/2020                    93.97%              92.89%                    87.67%
Pacific                San Francisco                        5/2/2020                    92.87%              93.47%                    91.09%
Pacific                San Francisco                        5/9/2020                    92.85%              92.17%                    83.94%
Pacific                San Francisco                       5/16/2020                    91.96%              93.44%                    88.98%
Pacific                San Francisco                       5/23/2020                    94.17%              91.32%                    84.18%
Pacific                San Francisco                       5/30/2020                    93.18%              91.13%                    88.58%
Pacific                San Francisco                        6/6/2020                    94.00%              91.99%                    89.23%
Pacific                San Francisco                       6/13/2020                    93.13%              91.80%                    88.26%
Pacific                San Francisco                       6/20/2020                    92.63%              93.49%                    89.61%
Pacific                San Francisco                       6/27/2020                    93.68%              95.18%                    88.10%
Pacific                San Francisco                        7/1/2020                    94.46%              83.27%                    88.10%
Pacific                San Francisco                        7/4/2020                    93.80%              90.09%                    88.24%
Pacific                San Francisco                       7/11/2020                    91.70%              89.14%                    89.87%
Pacific                San Francisco                       7/18/2020                    90.31%              86.48%                    82.72%
Pacific                San Francisco                       7/25/2020                    90.41%              87.37%                    72.21%
Pacific                San Francisco                        8/1/2020                    87.88%              86.84%                    69.82%
Pacific                San Francisco                        8/8/2020                    87.96%              87.64%                    73.76%
Pacific                San Francisco                       8/15/2020                    89.80%              89.96%                    83.55%
Pacific                San Francisco                       8/22/2020                    92.60%              89.69%                    86.03%
Pacific                San Francisco                       8/29/2020                    92.79%              90.43%                    84.52%
Pacific                San Francisco                        9/5/2020                    93.11%              90.59%                    88.49%
Pacific                San Francisco                       9/12/2020                    92.34%              87.58%                    87.36%
Pacific                San Francisco                       9/19/2020                    92.04%              94.14%                    91.13%
Pacific                San Francisco                       9/26/2020                    91.82%              92.35%                    78.04%
Pacific                San Francisco                       10/3/2020                    92.15%              92.10%                    90.20%
Pacific                San Francisco                      10/10/2020                    90.59%              92.17%                    82.10%
Pacific                San Francisco                      10/17/2020                    87.94%              94.47%                    84.39%
Pacific                San Francisco                      10/24/2020                    90.70%              94.86%                    88.76%
Pacific                San Francisco                      10/31/2020                    92.48%              93.51%                    90.17%
Pacific                San Francisco                       11/7/2020                    92.80%              93.18%                    90.16%
Pacific                San Francisco                      11/14/2020                    93.18%              93.39%                    93.20%
Pacific                San Francisco                      11/21/2020                    92.35%              94.41%                    89.26%
Pacific                San Francisco                      11/28/2020                    88.83%              92.73%                    80.74%
Pacific                San Francisco                       12/5/2020                    87.55%              93.31%                    89.17%
Pacific                Santa Ana                            1/4/2020                    93.70%              92.86%                    82.94%
Pacific                Santa Ana                           1/11/2020                    93.69%              90.83%                    87.39%
Pacific                Santa Ana                           1/18/2020                    94.32%              92.47%                    92.27%
Pacific                Santa Ana                           1/25/2020                    91.48%              86.48%                    88.47%
Pacific                Santa Ana                            2/1/2020                    88.98%              84.99%                    87.16%
Pacific                Santa Ana                            2/8/2020                    89.87%              89.76%                    84.90%
Pacific                Santa Ana                           2/15/2020                    94.43%              93.12%                    90.63%
Pacific                Santa Ana                           2/22/2020                    92.70%              94.63%                    90.44%
Pacific                Santa Ana                           2/29/2020                    93.66%              93.81%                    83.59%
Pacific                Santa Ana                            3/7/2020                    94.09%              94.84%                    85.11%
Pacific                Santa Ana                           3/14/2020                    92.61%              94.75%                    88.02%
Pacific                Santa Ana                           3/21/2020                    94.44%              94.86%                    86.95%
Pacific                Santa Ana                           3/28/2020                    93.38%              95.63%                    85.71%
Pacific                Santa Ana                            4/1/2020                    94.86%              91.86%                    83.69%
Pacific                Santa Ana                            4/4/2020                    93.72%              95.28%                    85.61%
Pacific                Santa Ana                           4/11/2020                    93.52%              95.09%                    81.44%
Pacific                Santa Ana                           4/18/2020                    93.31%              90.36%                    85.17%
Pacific                Santa Ana                           4/25/2020                    91.16%              92.87%                    81.75%


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Commission (PRC) at the end of the quarter.                          45
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                             USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                             District - By Week

          Area                  District                 Week               First-Class Mail   USPS Marketing Mail           Periodicals
Pacific                Santa Ana                            5/2/2020                    93.02%              94.36%                    79.22%
Pacific                Santa Ana                            5/9/2020                    91.51%              94.22%                    76.33%
Pacific                Santa Ana                           5/16/2020                    93.43%              95.72%                    77.63%
Pacific                Santa Ana                           5/23/2020                    91.15%              93.75%                    80.88%
Pacific                Santa Ana                           5/30/2020                    90.83%              93.40%                    76.33%
Pacific                Santa Ana                            6/6/2020                    92.07%              93.42%                    82.91%
Pacific                Santa Ana                           6/13/2020                    93.21%              92.92%                    79.90%
Pacific                Santa Ana                           6/20/2020                    92.66%              92.23%                    86.24%
Pacific                Santa Ana                           6/27/2020                    89.92%              93.19%                    81.16%
Pacific                Santa Ana                            7/1/2020                    92.23%              90.55%                    76.01%
Pacific                Santa Ana                            7/4/2020                    90.93%              89.39%                    73.93%
Pacific                Santa Ana                           7/11/2020                    86.26%              88.35%                    73.54%
Pacific                Santa Ana                           7/18/2020                    81.35%              85.05%                    81.55%
Pacific                Santa Ana                           7/25/2020                    84.05%              89.71%                    71.37%
Pacific                Santa Ana                            8/1/2020                    81.67%              90.56%                    71.21%
Pacific                Santa Ana                            8/8/2020                    80.95%              90.23%                    75.26%
Pacific                Santa Ana                           8/15/2020                    85.13%              92.03%                    74.78%
Pacific                Santa Ana                           8/22/2020                    88.96%              92.71%                    76.28%
Pacific                Santa Ana                           8/29/2020                    89.83%              93.86%                    81.46%
Pacific                Santa Ana                            9/5/2020                    91.16%              92.60%                    75.20%
Pacific                Santa Ana                           9/12/2020                    91.40%              93.20%                    80.99%
Pacific                Santa Ana                           9/19/2020                    90.40%              95.09%                    88.63%
Pacific                Santa Ana                           9/26/2020                    91.63%              94.80%                    72.07%
Pacific                Santa Ana                           10/3/2020                    89.25%              96.92%                    88.23%
Pacific                Santa Ana                          10/10/2020                    91.99%              95.17%                    84.59%
Pacific                Santa Ana                          10/17/2020                    86.46%              96.73%                    82.37%
Pacific                Santa Ana                          10/24/2020                    86.48%              95.72%                    75.52%
Pacific                Santa Ana                          10/31/2020                    90.40%              94.67%                    86.92%
Pacific                Santa Ana                           11/7/2020                    91.56%              94.87%                    86.84%
Pacific                Santa Ana                          11/14/2020                    92.40%              95.95%                    86.34%
Pacific                Santa Ana                          11/21/2020                    90.06%              95.93%                    79.93%
Pacific                Santa Ana                          11/28/2020                    84.94%              94.36%                    79.59%
Pacific                Santa Ana                           12/5/2020                    82.01%              92.44%                    81.30%
Pacific                Sierra Coastal                       1/4/2020                    93.28%              94.49%                    78.92%
Pacific                Sierra Coastal                      1/11/2020                    93.38%              94.77%                    85.21%
Pacific                Sierra Coastal                      1/18/2020                    94.22%              93.43%                    92.18%
Pacific                Sierra Coastal                      1/25/2020                    92.52%              95.08%                    89.65%
Pacific                Sierra Coastal                       2/1/2020                    92.37%              94.17%                    88.18%
Pacific                Sierra Coastal                       2/8/2020                    92.98%              94.90%                    86.90%
Pacific                Sierra Coastal                      2/15/2020                    94.86%              94.95%                    91.62%
Pacific                Sierra Coastal                      2/22/2020                    94.20%              95.78%                    92.61%
Pacific                Sierra Coastal                      2/29/2020                    94.26%              95.05%                    86.10%
Pacific                Sierra Coastal                       3/7/2020                    94.66%              95.15%                    87.02%
Pacific                Sierra Coastal                      3/14/2020                    94.03%              95.28%                    87.58%
Pacific                Sierra Coastal                      3/21/2020                    94.52%              95.28%                    89.11%
Pacific                Sierra Coastal                      3/28/2020                    94.17%              95.09%                    87.61%
Pacific                Sierra Coastal                       4/1/2020                    94.39%              92.45%                    86.12%
Pacific                Sierra Coastal                       4/4/2020                    93.64%              95.32%                    85.40%
Pacific                Sierra Coastal                      4/11/2020                    93.01%              95.15%                    83.11%
Pacific                Sierra Coastal                      4/18/2020                    93.51%              91.53%                    84.66%
Pacific                Sierra Coastal                      4/25/2020                    90.36%              93.20%                    78.17%
Pacific                Sierra Coastal                       5/2/2020                    93.03%              94.10%                    84.85%
Pacific                Sierra Coastal                       5/9/2020                    91.67%              93.52%                    73.90%
Pacific                Sierra Coastal                      5/16/2020                    92.94%              94.36%                    81.19%
Pacific                Sierra Coastal                      5/23/2020                    92.93%              93.32%                    81.54%
Pacific                Sierra Coastal                      5/30/2020                    91.09%              92.81%                    78.72%
Pacific                Sierra Coastal                       6/6/2020                    90.55%              92.90%                    68.95%


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Commission (PRC) at the end of the quarter.                          46
                   Case 1:20-cv-06516-VM Document 104-1 Filed 12/18/20 Page 47 of 68
                             USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                             District - By Week

        Area                    District                 Week               First-Class Mail   USPS Marketing Mail           Periodicals
Pacific                Sierra Coastal                      6/13/2020                    92.51%              93.06%                    87.61%
Pacific                Sierra Coastal                      6/20/2020                    90.36%              92.81%                    82.49%
Pacific                Sierra Coastal                      6/27/2020                    92.28%              94.54%                    79.93%
Pacific                Sierra Coastal                       7/1/2020                    93.38%              91.71%                    82.33%
Pacific                Sierra Coastal                       7/4/2020                    91.96%              91.19%                    75.45%
Pacific                Sierra Coastal                      7/11/2020                    87.50%              90.71%                    74.67%
Pacific                Sierra Coastal                      7/18/2020                    86.83%              90.75%                    76.05%
Pacific                Sierra Coastal                      7/25/2020                    85.94%              92.02%                    70.45%
Pacific                Sierra Coastal                       8/1/2020                    84.16%              91.15%                    77.31%
Pacific                Sierra Coastal                       8/8/2020                    83.32%              89.96%                    78.27%
Pacific                Sierra Coastal                      8/15/2020                    89.36%              93.13%                    81.32%
Pacific                Sierra Coastal                      8/22/2020                    90.24%              93.00%                    77.07%
Pacific                Sierra Coastal                      8/29/2020                    91.87%              92.09%                    83.72%
Pacific                Sierra Coastal                       9/5/2020                    91.92%              90.62%                    70.95%
Pacific                Sierra Coastal                      9/12/2020                    91.19%              94.06%                    79.59%
Pacific                Sierra Coastal                      9/19/2020                    91.78%              94.55%                    86.90%
Pacific                Sierra Coastal                      9/26/2020                    92.06%              94.23%                    90.15%
Pacific                Sierra Coastal                      10/3/2020                    90.77%              95.95%                    83.90%
Pacific                Sierra Coastal                     10/10/2020                    92.13%              94.19%                    83.54%
Pacific                Sierra Coastal                     10/17/2020                    87.21%              95.04%                    85.54%
Pacific                Sierra Coastal                     10/24/2020                    89.47%              95.20%                    80.41%
Pacific                Sierra Coastal                     10/31/2020                    88.36%              93.92%                    87.93%
Pacific                Sierra Coastal                      11/7/2020                    91.79%              95.15%                    86.75%
Pacific                Sierra Coastal                     11/14/2020                    92.62%              95.28%                    88.49%
Pacific                Sierra Coastal                     11/21/2020                    90.75%              95.05%                    87.79%
Pacific                Sierra Coastal                     11/28/2020                    86.16%              93.78%                    86.10%
Pacific                Sierra Coastal                      12/5/2020                    86.33%              94.48%                    86.24%
Southern               Alabama                              1/4/2020                    93.75%              93.69%                    84.57%
Southern               Alabama                             1/11/2020                    93.38%              91.55%                    86.76%
Southern               Alabama                             1/18/2020                    94.51%              92.36%                    88.71%
Southern               Alabama                             1/25/2020                    93.62%              93.22%                    89.00%
Southern               Alabama                              2/1/2020                    92.53%              93.33%                    86.17%
Southern               Alabama                              2/8/2020                    93.17%              94.79%                    88.67%
Southern               Alabama                             2/15/2020                    94.89%              94.89%                    89.58%
Southern               Alabama                             2/22/2020                    93.29%              94.70%                    87.22%
Southern               Alabama                             2/29/2020                    93.63%              93.57%                    89.60%
Southern               Alabama                              3/7/2020                    93.60%              94.38%                    88.10%
Southern               Alabama                             3/14/2020                    93.32%              94.19%                    88.98%
Southern               Alabama                             3/21/2020                    94.72%              93.86%                    80.66%
Southern               Alabama                             3/28/2020                    94.16%              94.27%                    82.73%
Southern               Alabama                              4/1/2020                    94.12%              93.69%                    87.68%
Southern               Alabama                              4/4/2020                    93.73%              93.93%                    88.96%
Southern               Alabama                             4/11/2020                    91.43%              92.54%                    76.13%
Southern               Alabama                             4/18/2020                    93.46%              93.44%                    84.55%
Southern               Alabama                             4/25/2020                    93.01%              92.54%                    81.66%
Southern               Alabama                              5/2/2020                    92.22%              91.39%                    79.59%
Southern               Alabama                              5/9/2020                    91.93%              84.63%                    65.69%
Southern               Alabama                             5/16/2020                    92.88%              86.15%                    76.73%
Southern               Alabama                             5/23/2020                    93.38%              89.63%                    71.94%
Southern               Alabama                             5/30/2020                    92.45%              89.43%                    73.48%
Southern               Alabama                              6/6/2020                    91.60%              87.84%                    71.85%
Southern               Alabama                             6/13/2020                    92.00%              84.46%                    67.63%
Southern               Alabama                             6/20/2020                    91.45%              83.79%                    72.57%
Southern               Alabama                             6/27/2020                    90.63%              87.18%                    81.73%
Southern               Alabama                              7/1/2020                    92.38%              92.23%                    75.82%
Southern               Alabama                              7/4/2020                    91.04%              87.89%                    82.05%
Southern               Alabama                             7/11/2020                    88.21%              86.64%                    68.64%


Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                          47
                   Case 1:20-cv-06516-VM Document 104-1 Filed 12/18/20 Page 48 of 68
                             USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                             District - By Week

        Area                   District                  Week               First-Class Mail   USPS Marketing Mail           Periodicals
Southern               Alabama                             7/18/2020                    87.64%              89.16%                    76.37%
Southern               Alabama                             7/25/2020                    87.53%              89.43%                    76.08%
Southern               Alabama                              8/1/2020                    86.30%              86.57%                    71.17%
Southern               Alabama                              8/8/2020                    84.59%              87.02%                    65.25%
Southern               Alabama                             8/15/2020                    88.60%              89.90%                    74.73%
Southern               Alabama                             8/22/2020                    89.06%              92.54%                    73.39%
Southern               Alabama                             8/29/2020                    86.46%              90.38%                    82.04%
Southern               Alabama                              9/5/2020                    83.93%              88.56%                    81.85%
Southern               Alabama                             9/12/2020                    82.33%              77.23%                    73.08%
Southern               Alabama                             9/19/2020                    75.32%              74.63%                    68.70%
Southern               Alabama                             9/26/2020                    80.02%              73.05%                    70.89%
Southern               Alabama                             10/3/2020                    79.65%              82.62%                    72.62%
Southern               Alabama                            10/10/2020                    78.78%              69.01%                    77.03%
Southern               Alabama                            10/17/2020                    75.26%              81.73%                    65.19%
Southern               Alabama                            10/24/2020                    80.33%              79.01%                    72.08%
Southern               Alabama                            10/31/2020                    83.85%              79.37%                    75.52%
Southern               Alabama                             11/7/2020                    85.69%              86.23%                    77.50%
Southern               Alabama                            11/14/2020                    86.15%              86.17%                    72.04%
Southern               Alabama                            11/21/2020                    82.23%              79.20%                    76.98%
Southern               Alabama                            11/28/2020                    71.04%              73.10%                    52.82%
Southern               Alabama                             12/5/2020                    67.25%              56.72%                    46.02%
Southern               Arkansas                             1/4/2020                    91.55%              89.90%                    87.59%
Southern               Arkansas                            1/11/2020                    92.74%              89.59%                    87.04%
Southern               Arkansas                            1/18/2020                    94.56%              90.61%                    90.27%
Southern               Arkansas                            1/25/2020                    92.24%              93.07%                    92.97%
Southern               Arkansas                             2/1/2020                    93.01%              92.40%                    87.56%
Southern               Arkansas                             2/8/2020                    93.07%              95.32%                    89.30%
Southern               Arkansas                            2/15/2020                    94.50%              94.07%                    89.58%
Southern               Arkansas                            2/22/2020                    92.22%              92.05%                    89.54%
Southern               Arkansas                            2/29/2020                    93.54%              95.07%                    87.01%
Southern               Arkansas                             3/7/2020                    93.10%              93.96%                    89.16%
Southern               Arkansas                            3/14/2020                    92.96%              93.41%                    86.17%
Southern               Arkansas                            3/21/2020                    94.32%              94.56%                    88.80%
Southern               Arkansas                            3/28/2020                    94.80%              95.20%                    78.26%
Southern               Arkansas                             4/1/2020                    93.72%              94.05%                    82.08%
Southern               Arkansas                             4/4/2020                    94.09%              95.62%                    88.79%
Southern               Arkansas                            4/11/2020                    93.12%              92.59%                    65.36%
Southern               Arkansas                            4/18/2020                    94.59%              95.45%                    86.69%
Southern               Arkansas                            4/25/2020                    93.60%              94.51%                    88.32%
Southern               Arkansas                             5/2/2020                    93.89%              93.68%                    84.01%
Southern               Arkansas                             5/9/2020                    92.97%              91.49%                    76.24%
Southern               Arkansas                            5/16/2020                    93.73%              89.72%                    86.17%
Southern               Arkansas                            5/23/2020                    93.35%              84.60%                    85.80%
Southern               Arkansas                            5/30/2020                    92.83%              86.92%                    77.15%
Southern               Arkansas                             6/6/2020                    92.56%              89.28%                    75.57%
Southern               Arkansas                            6/13/2020                    94.02%              92.12%                    80.36%
Southern               Arkansas                            6/20/2020                    92.43%              91.13%                    85.79%
Southern               Arkansas                            6/27/2020                    92.87%              93.78%                    84.29%
Southern               Arkansas                             7/1/2020                    92.70%              91.67%                    81.16%
Southern               Arkansas                             7/4/2020                    92.70%              86.56%                    79.11%
Southern               Arkansas                            7/11/2020                    88.97%              86.19%                    74.91%
Southern               Arkansas                            7/18/2020                    88.35%              85.90%                    75.58%
Southern               Arkansas                            7/25/2020                    88.27%              85.71%                    72.34%
Southern               Arkansas                             8/1/2020                    88.02%              86.15%                    67.47%
Southern               Arkansas                             8/8/2020                    87.38%              87.37%                    67.41%
Southern               Arkansas                            8/15/2020                    88.08%              87.05%                    73.27%
Southern               Arkansas                            8/22/2020                    91.11%              86.80%                    79.33%


Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                          48
                   Case 1:20-cv-06516-VM Document 104-1 Filed 12/18/20 Page 49 of 68
                             USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                             District - By Week

        Area                   District                  Week               First-Class Mail   USPS Marketing Mail           Periodicals
Southern               Arkansas                            8/29/2020                    90.53%              89.11%                    79.91%
Southern               Arkansas                             9/5/2020                    92.01%              84.13%                    68.86%
Southern               Arkansas                            9/12/2020                    88.64%              87.35%                    79.12%
Southern               Arkansas                            9/19/2020                    89.37%              89.33%                    82.11%
Southern               Arkansas                            9/26/2020                    89.98%              91.11%                    83.25%
Southern               Arkansas                            10/3/2020                    90.37%              94.01%                    78.89%
Southern               Arkansas                           10/10/2020                    89.88%              93.35%                    81.37%
Southern               Arkansas                           10/17/2020                    87.20%              92.26%                    76.02%
Southern               Arkansas                           10/24/2020                    88.43%              91.38%                    84.63%
Southern               Arkansas                           10/31/2020                    88.78%              92.24%                    78.62%
Southern               Arkansas                            11/7/2020                    90.01%              92.06%                    72.76%
Southern               Arkansas                           11/14/2020                    90.18%              93.07%                    83.52%
Southern               Arkansas                           11/21/2020                    88.28%              84.19%                    42.25%
Southern               Arkansas                           11/28/2020                    83.69%              76.26%                    72.87%
Southern               Arkansas                            12/5/2020                    82.95%              83.39%                    69.05%
Southern               Dallas                               1/4/2020                    91.80%              89.63%                    80.93%
Southern               Dallas                              1/11/2020                    88.60%              80.52%                    75.81%
Southern               Dallas                              1/18/2020                    92.90%              84.18%                    73.88%
Southern               Dallas                              1/25/2020                    91.13%              87.50%                    87.23%
Southern               Dallas                               2/1/2020                    91.06%              86.77%                    82.54%
Southern               Dallas                               2/8/2020                    92.35%              90.02%                    84.40%
Southern               Dallas                              2/15/2020                    94.38%              91.37%                    85.41%
Southern               Dallas                              2/22/2020                    92.89%              92.08%                    86.19%
Southern               Dallas                              2/29/2020                    92.71%              89.90%                    82.76%
Southern               Dallas                               3/7/2020                    92.34%              91.46%                    84.51%
Southern               Dallas                              3/14/2020                    92.40%              89.80%                    82.97%
Southern               Dallas                              3/21/2020                    93.76%              91.99%                    84.92%
Southern               Dallas                              3/28/2020                    92.77%              93.87%                    79.93%
Southern               Dallas                               4/1/2020                    90.88%              86.37%                    87.17%
Southern               Dallas                               4/4/2020                    90.00%              90.63%                    72.75%
Southern               Dallas                              4/11/2020                    88.97%              92.32%                    76.81%
Southern               Dallas                              4/18/2020                    91.06%              94.36%                    89.63%
Southern               Dallas                              4/25/2020                    91.36%              92.20%                    90.89%
Southern               Dallas                               5/2/2020                    90.29%              91.64%                    83.95%
Southern               Dallas                               5/9/2020                    90.76%              90.57%                    56.56%
Southern               Dallas                              5/16/2020                    92.10%              92.92%                    83.32%
Southern               Dallas                              5/23/2020                    93.24%              90.60%                    81.61%
Southern               Dallas                              5/30/2020                    91.27%              92.85%                    81.91%
Southern               Dallas                               6/6/2020                    90.32%              91.76%                    81.31%
Southern               Dallas                              6/13/2020                    91.86%              92.72%                    82.65%
Southern               Dallas                              6/20/2020                    90.56%              92.41%                    78.23%
Southern               Dallas                              6/27/2020                    91.04%              94.91%                    79.53%
Southern               Dallas                               7/1/2020                    92.35%              88.97%                    83.92%
Southern               Dallas                               7/4/2020                    89.25%              87.40%                    73.83%
Southern               Dallas                              7/11/2020                    84.17%              69.00%                    66.23%
Southern               Dallas                              7/18/2020                    78.86%              64.08%                    55.72%
Southern               Dallas                              7/25/2020                    82.80%              83.44%                    57.69%
Southern               Dallas                               8/1/2020                    84.51%              84.69%                    62.74%
Southern               Dallas                               8/8/2020                    80.59%              85.33%                    52.44%
Southern               Dallas                              8/15/2020                    85.63%              86.65%                    58.72%
Southern               Dallas                              8/22/2020                    89.11%              92.15%                    67.86%
Southern               Dallas                              8/29/2020                    88.07%              92.21%                    83.01%
Southern               Dallas                               9/5/2020                    91.51%              90.49%                    80.27%
Southern               Dallas                              9/12/2020                    86.97%              86.26%                    69.59%
Southern               Dallas                              9/19/2020                    86.21%              91.13%                    75.13%
Southern               Dallas                              9/26/2020                    88.38%              92.86%                    84.08%
Southern               Dallas                              10/3/2020                    87.14%              91.86%                    77.44%


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Commission (PRC) at the end of the quarter.                          49
                   Case 1:20-cv-06516-VM Document 104-1 Filed 12/18/20 Page 50 of 68
                             USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                             District - By Week

        Area                   District                  Week               First-Class Mail   USPS Marketing Mail           Periodicals
Southern               Dallas                             10/10/2020                    85.64%              92.19%                    76.62%
Southern               Dallas                             10/17/2020                    83.87%              90.61%                    73.19%
Southern               Dallas                             10/24/2020                    83.46%              89.55%                    81.66%
Southern               Dallas                             10/31/2020                    87.14%              89.13%                    69.19%
Southern               Dallas                              11/7/2020                    86.58%              91.48%                    78.43%
Southern               Dallas                             11/14/2020                    88.40%              92.20%                    72.24%
Southern               Dallas                             11/21/2020                    83.93%              87.73%                    68.84%
Southern               Dallas                             11/28/2020                    78.90%              87.11%                    51.28%
Southern               Dallas                              12/5/2020                    69.70%              82.29%                    37.58%
Southern               Ft Worth                             1/4/2020                    91.70%              93.16%                    85.46%
Southern               Ft Worth                            1/11/2020                    92.02%              91.74%                    88.31%
Southern               Ft Worth                            1/18/2020                    93.46%              89.11%                    79.39%
Southern               Ft Worth                            1/25/2020                    90.94%              92.26%                    89.70%
Southern               Ft Worth                             2/1/2020                    88.78%              90.13%                    81.37%
Southern               Ft Worth                             2/8/2020                    91.51%              92.21%                    87.42%
Southern               Ft Worth                            2/15/2020                    94.10%              91.94%                    84.52%
Southern               Ft Worth                            2/22/2020                    92.46%              91.69%                    79.75%
Southern               Ft Worth                            2/29/2020                    92.97%              93.61%                    82.20%
Southern               Ft Worth                             3/7/2020                    92.36%              91.64%                    75.62%
Southern               Ft Worth                            3/14/2020                    90.47%              86.51%                    80.77%
Southern               Ft Worth                            3/21/2020                    93.25%              93.15%                    85.54%
Southern               Ft Worth                            3/28/2020                    92.02%              94.45%                    89.48%
Southern               Ft Worth                             4/1/2020                    93.42%              89.98%                    79.26%
Southern               Ft Worth                             4/4/2020                    92.19%              95.93%                    87.42%
Southern               Ft Worth                            4/11/2020                    91.27%              93.73%                    83.87%
Southern               Ft Worth                            4/18/2020                    92.83%              95.76%                    84.42%
Southern               Ft Worth                            4/25/2020                    92.24%              89.29%                    82.38%
Southern               Ft Worth                             5/2/2020                    90.05%              86.08%                    62.41%
Southern               Ft Worth                             5/9/2020                    89.74%              85.79%                    62.08%
Southern               Ft Worth                            5/16/2020                    90.70%              83.03%                    61.40%
Southern               Ft Worth                            5/23/2020                    92.71%              88.79%                    70.03%
Southern               Ft Worth                            5/30/2020                    91.21%              94.75%                    82.97%
Southern               Ft Worth                             6/6/2020                    89.29%              92.35%                    82.61%
Southern               Ft Worth                            6/13/2020                    90.19%              91.59%                    78.94%
Southern               Ft Worth                            6/20/2020                    89.92%              90.99%                    78.85%
Southern               Ft Worth                            6/27/2020                    88.94%              91.68%                    71.56%
Southern               Ft Worth                             7/1/2020                    91.63%              91.47%                    76.97%
Southern               Ft Worth                             7/4/2020                    89.71%              89.18%                    71.24%
Southern               Ft Worth                            7/11/2020                    84.01%              81.22%                    66.65%
Southern               Ft Worth                            7/18/2020                    80.50%              73.87%                    58.57%
Southern               Ft Worth                            7/25/2020                    82.53%              80.50%                    69.62%
Southern               Ft Worth                             8/1/2020                    81.48%              83.04%                    72.51%
Southern               Ft Worth                             8/8/2020                    84.09%              82.33%                    61.84%
Southern               Ft Worth                            8/15/2020                    86.04%              84.53%                    58.56%
Southern               Ft Worth                            8/22/2020                    88.49%              87.40%                    73.43%
Southern               Ft Worth                            8/29/2020                    87.79%              88.57%                    78.75%
Southern               Ft Worth                             9/5/2020                    89.06%              87.26%                    82.03%
Southern               Ft Worth                            9/12/2020                    85.54%              87.25%                    85.55%
Southern               Ft Worth                            9/19/2020                    88.67%              92.22%                    85.54%
Southern               Ft Worth                            9/26/2020                    89.41%              93.08%                    85.29%
Southern               Ft Worth                            10/3/2020                    89.97%              93.50%                    85.53%
Southern               Ft Worth                           10/10/2020                    88.70%              93.45%                    87.32%
Southern               Ft Worth                           10/17/2020                    83.72%              88.31%                    77.41%
Southern               Ft Worth                           10/24/2020                    84.66%              89.36%                    88.20%
Southern               Ft Worth                           10/31/2020                    89.41%              92.81%                    81.95%
Southern               Ft Worth                            11/7/2020                    88.26%              94.19%                    84.30%
Southern               Ft Worth                           11/14/2020                    91.13%              94.72%                    85.08%


Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                          50
                   Case 1:20-cv-06516-VM Document 104-1 Filed 12/18/20 Page 51 of 68
                             USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                             District - By Week

        Area                    District                 Week               First-Class Mail   USPS Marketing Mail           Periodicals
Southern               Ft Worth                           11/21/2020                    87.85%              94.08%                    85.20%
Southern               Ft Worth                           11/28/2020                    84.32%              91.95%                    64.96%
Southern               Ft Worth                            12/5/2020                    74.87%              85.46%                    74.20%
Southern               Gulf Atlantic                        1/4/2020                    92.29%              92.87%                    87.45%
Southern               Gulf Atlantic                       1/11/2020                    91.84%              90.51%                    87.60%
Southern               Gulf Atlantic                       1/18/2020                    94.00%              88.89%                    90.35%
Southern               Gulf Atlantic                       1/25/2020                    91.66%              88.33%                    86.35%
Southern               Gulf Atlantic                        2/1/2020                    92.47%              91.38%                    85.68%
Southern               Gulf Atlantic                        2/8/2020                    93.11%              90.65%                    84.77%
Southern               Gulf Atlantic                       2/15/2020                    93.92%              89.41%                    90.74%
Southern               Gulf Atlantic                       2/22/2020                    92.23%              93.08%                    89.50%
Southern               Gulf Atlantic                       2/29/2020                    93.88%              91.54%                    84.11%
Southern               Gulf Atlantic                        3/7/2020                    92.23%              90.86%                    87.92%
Southern               Gulf Atlantic                       3/14/2020                    91.97%              88.02%                    83.22%
Southern               Gulf Atlantic                       3/21/2020                    93.71%              93.31%                    90.18%
Southern               Gulf Atlantic                       3/28/2020                    93.96%              95.83%                    88.01%
Southern               Gulf Atlantic                        4/1/2020                    94.63%              92.56%                    89.21%
Southern               Gulf Atlantic                        4/4/2020                    92.24%              95.10%                    88.67%
Southern               Gulf Atlantic                       4/11/2020                    92.69%              94.38%                    80.85%
Southern               Gulf Atlantic                       4/18/2020                    93.70%              92.24%                    85.27%
Southern               Gulf Atlantic                       4/25/2020                    92.14%              92.56%                    81.49%
Southern               Gulf Atlantic                        5/2/2020                    92.86%              93.63%                    76.68%
Southern               Gulf Atlantic                        5/9/2020                    92.12%              92.07%                    77.30%
Southern               Gulf Atlantic                       5/16/2020                    93.08%              93.36%                    85.07%
Southern               Gulf Atlantic                       5/23/2020                    93.64%              91.32%                    84.21%
Southern               Gulf Atlantic                       5/30/2020                    91.71%              91.52%                    78.98%
Southern               Gulf Atlantic                        6/6/2020                    91.89%              90.85%                    83.14%
Southern               Gulf Atlantic                       6/13/2020                    92.80%              90.94%                    72.93%
Southern               Gulf Atlantic                       6/20/2020                    91.54%              92.28%                    86.49%
Southern               Gulf Atlantic                       6/27/2020                    91.48%              93.93%                    83.10%
Southern               Gulf Atlantic                        7/1/2020                    93.72%              91.42%                    83.06%
Southern               Gulf Atlantic                        7/4/2020                    92.00%              90.01%                    83.03%
Southern               Gulf Atlantic                       7/11/2020                    86.72%              83.12%                    80.75%
Southern               Gulf Atlantic                       7/18/2020                    83.76%              80.64%                    70.55%
Southern               Gulf Atlantic                       7/25/2020                    88.26%              86.90%                    67.29%
Southern               Gulf Atlantic                        8/1/2020                    86.26%              81.72%                    61.06%
Southern               Gulf Atlantic                        8/8/2020                    85.15%              87.27%                    71.49%
Southern               Gulf Atlantic                       8/15/2020                    88.83%              89.12%                    76.32%
Southern               Gulf Atlantic                       8/22/2020                    88.89%              90.23%                    73.64%
Southern               Gulf Atlantic                       8/29/2020                    89.51%              90.02%                    80.57%
Southern               Gulf Atlantic                        9/5/2020                    89.11%              88.26%                    82.17%
Southern               Gulf Atlantic                       9/12/2020                    87.14%              88.43%                    77.92%
Southern               Gulf Atlantic                       9/19/2020                    80.56%              87.07%                    80.19%
Southern               Gulf Atlantic                       9/26/2020                    82.56%              86.75%                    72.99%
Southern               Gulf Atlantic                       10/3/2020                    83.34%              86.26%                    74.88%
Southern               Gulf Atlantic                      10/10/2020                    82.69%              83.10%                    78.64%
Southern               Gulf Atlantic                      10/17/2020                    76.16%              83.37%                    75.74%
Southern               Gulf Atlantic                      10/24/2020                    77.38%              77.47%                    73.30%
Southern               Gulf Atlantic                      10/31/2020                    81.74%              77.59%                    75.44%
Southern               Gulf Atlantic                       11/7/2020                    83.73%              80.23%                    74.24%
Southern               Gulf Atlantic                      11/14/2020                    86.57%              90.48%                    80.03%
Southern               Gulf Atlantic                      11/21/2020                    84.37%              92.03%                    79.55%
Southern               Gulf Atlantic                      11/28/2020                    78.34%              87.64%                    73.16%
Southern               Gulf Atlantic                       12/5/2020                    76.46%              89.55%                    62.82%
Southern               Houston                              1/4/2020                    91.35%              89.75%                    87.43%
Southern               Houston                             1/11/2020                    88.08%              83.91%                    83.10%
Southern               Houston                             1/18/2020                    91.91%              87.72%                    84.32%


Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                          51
                   Case 1:20-cv-06516-VM Document 104-1 Filed 12/18/20 Page 52 of 68
                             USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                             District - By Week

        Area                   District                  Week               First-Class Mail   USPS Marketing Mail           Periodicals
Southern               Houston                             1/25/2020                    89.89%              90.04%                    89.37%
Southern               Houston                              2/1/2020                    87.92%              88.21%                    86.36%
Southern               Houston                              2/8/2020                    89.27%              91.75%                    87.50%
Southern               Houston                             2/15/2020                    91.76%              92.40%                    86.10%
Southern               Houston                             2/22/2020                    90.66%              93.32%                    86.15%
Southern               Houston                             2/29/2020                    92.12%              92.51%                    86.23%
Southern               Houston                              3/7/2020                    90.47%              92.03%                    87.02%
Southern               Houston                             3/14/2020                    86.45%              88.57%                    86.36%
Southern               Houston                             3/21/2020                    90.93%              93.37%                    88.29%
Southern               Houston                             3/28/2020                    91.73%              95.64%                    91.87%
Southern               Houston                              4/1/2020                    93.78%              94.37%                    81.34%
Southern               Houston                              4/4/2020                    92.27%              95.36%                    86.81%
Southern               Houston                             4/11/2020                    88.96%              95.05%                    84.69%
Southern               Houston                             4/18/2020                    91.17%              95.17%                    86.59%
Southern               Houston                             4/25/2020                    91.09%              93.15%                    77.29%
Southern               Houston                              5/2/2020                    90.37%              90.69%                    73.94%
Southern               Houston                              5/9/2020                    87.69%              88.46%                    62.20%
Southern               Houston                             5/16/2020                    89.91%              93.30%                    78.23%
Southern               Houston                             5/23/2020                    91.81%              91.80%                    83.26%
Southern               Houston                             5/30/2020                    90.26%              94.29%                    87.47%
Southern               Houston                              6/6/2020                    90.71%              92.75%                    86.25%
Southern               Houston                             6/13/2020                    91.07%              90.85%                    84.42%
Southern               Houston                             6/20/2020                    90.53%              92.73%                    84.79%
Southern               Houston                             6/27/2020                    91.04%              92.73%                    83.93%
Southern               Houston                              7/1/2020                    91.95%              91.38%                    91.69%
Southern               Houston                              7/4/2020                    91.44%              86.45%                    78.27%
Southern               Houston                             7/11/2020                    83.98%              86.02%                    81.47%
Southern               Houston                             7/18/2020                    80.81%              86.92%                    73.68%
Southern               Houston                             7/25/2020                    82.02%              82.90%                    75.26%
Southern               Houston                              8/1/2020                    81.80%              83.58%                    76.67%
Southern               Houston                              8/8/2020                    78.45%              85.23%                    71.59%
Southern               Houston                             8/15/2020                    84.55%              87.57%                    66.58%
Southern               Houston                             8/22/2020                    88.39%              91.73%                    78.41%
Southern               Houston                             8/29/2020                    86.00%              92.03%                    87.85%
Southern               Houston                              9/5/2020                    90.19%              89.18%                    79.45%
Southern               Houston                             9/12/2020                    87.46%              92.44%                    87.57%
Southern               Houston                             9/19/2020                    86.17%              92.67%                    80.10%
Southern               Houston                             9/26/2020                    86.78%              93.23%                    76.05%
Southern               Houston                             10/3/2020                    86.29%              94.46%                    82.11%
Southern               Houston                            10/10/2020                    89.33%              92.88%                    80.83%
Southern               Houston                            10/17/2020                    83.77%              92.68%                    84.95%
Southern               Houston                            10/24/2020                    83.37%              92.32%                    86.50%
Southern               Houston                            10/31/2020                    89.09%              94.03%                    87.84%
Southern               Houston                             11/7/2020                    87.23%              92.78%                    84.77%
Southern               Houston                            11/14/2020                    89.95%              94.80%                    85.01%
Southern               Houston                            11/21/2020                    87.38%              94.99%                    80.89%
Southern               Houston                            11/28/2020                    81.47%              91.00%                    84.12%
Southern               Houston                             12/5/2020                    77.07%              88.69%                    74.27%
Southern               Louisiana                            1/4/2020                    91.39%              88.65%                    81.19%
Southern               Louisiana                           1/11/2020                    91.75%              88.40%                    83.32%
Southern               Louisiana                           1/18/2020                    93.51%              84.50%                    84.26%
Southern               Louisiana                           1/25/2020                    92.13%              89.56%                    87.38%
Southern               Louisiana                            2/1/2020                    92.31%              88.31%                    85.00%
Southern               Louisiana                            2/8/2020                    91.66%              88.98%                    80.45%
Southern               Louisiana                           2/15/2020                    92.98%              88.21%                    78.41%
Southern               Louisiana                           2/22/2020                    90.00%              82.86%                    77.99%
Southern               Louisiana                           2/29/2020                    92.59%              88.41%                    83.03%


Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                          52
                   Case 1:20-cv-06516-VM Document 104-1 Filed 12/18/20 Page 53 of 68
                             USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                             District - By Week

        Area                    District                 Week               First-Class Mail   USPS Marketing Mail           Periodicals
Southern               Louisiana                            3/7/2020                    91.54%              87.60%                    79.81%
Southern               Louisiana                           3/14/2020                    92.31%              85.86%                    76.11%
Southern               Louisiana                           3/21/2020                    93.29%              91.12%                    83.57%
Southern               Louisiana                           3/28/2020                    91.42%              91.76%                    78.81%
Southern               Louisiana                            4/1/2020                    93.21%              87.94%                    63.34%
Southern               Louisiana                            4/4/2020                    94.15%              90.55%                    83.47%
Southern               Louisiana                           4/11/2020                    91.23%              91.65%                    71.48%
Southern               Louisiana                           4/18/2020                    92.67%              89.90%                    85.97%
Southern               Louisiana                           4/25/2020                    90.71%              86.28%                    70.10%
Southern               Louisiana                            5/2/2020                    91.32%              90.01%                    76.58%
Southern               Louisiana                            5/9/2020                    90.58%              86.92%                    58.99%
Southern               Louisiana                           5/16/2020                    91.70%              86.07%                    73.95%
Southern               Louisiana                           5/23/2020                    91.68%              85.03%                    78.81%
Southern               Louisiana                           5/30/2020                    91.29%              85.30%                    70.48%
Southern               Louisiana                            6/6/2020                    89.03%              82.13%                    68.03%
Southern               Louisiana                           6/13/2020                    91.20%              87.13%                    69.01%
Southern               Louisiana                           6/20/2020                    86.00%              85.97%                    66.27%
Southern               Louisiana                           6/27/2020                    85.38%              85.51%                    79.82%
Southern               Louisiana                            7/1/2020                    89.43%              82.96%                    70.07%
Southern               Louisiana                            7/4/2020                    88.04%              79.19%                    65.41%
Southern               Louisiana                           7/11/2020                    83.75%              75.80%                    58.57%
Southern               Louisiana                           7/18/2020                    81.80%              68.22%                    61.33%
Southern               Louisiana                           7/25/2020                    80.49%              70.34%                    49.94%
Southern               Louisiana                            8/1/2020                    82.08%              69.30%                    45.12%
Southern               Louisiana                            8/8/2020                    73.71%              73.13%                    42.82%
Southern               Louisiana                           8/15/2020                    79.20%              80.59%                    53.34%
Southern               Louisiana                           8/22/2020                    74.01%              82.49%                    56.21%
Southern               Louisiana                           8/29/2020                    82.18%              86.73%                    60.95%
Southern               Louisiana                            9/5/2020                    85.97%              83.06%                    73.33%
Southern               Louisiana                           9/12/2020                    83.52%              84.85%                    65.09%
Southern               Louisiana                           9/19/2020                    83.83%              85.67%                    77.52%
Southern               Louisiana                           9/26/2020                    87.72%              87.39%                    65.82%
Southern               Louisiana                           10/3/2020                    87.83%              90.58%                    64.90%
Southern               Louisiana                          10/10/2020                    83.42%              85.63%                    63.96%
Southern               Louisiana                          10/17/2020                    83.82%              84.88%                    64.71%
Southern               Louisiana                          10/24/2020                    83.86%              84.92%                    65.38%
Southern               Louisiana                          10/31/2020                    85.73%              81.34%                    60.90%
Southern               Louisiana                           11/7/2020                    86.42%              87.47%                    59.32%
Southern               Louisiana                          11/14/2020                    88.83%              89.18%                    72.50%
Southern               Louisiana                          11/21/2020                    88.41%              90.94%                    72.29%
Southern               Louisiana                          11/28/2020                    85.45%              87.18%                    68.31%
Southern               Louisiana                           12/5/2020                    83.05%              84.95%                    66.78%
Southern               Mississippi                          1/4/2020                    90.57%              91.96%                    80.94%
Southern               Mississippi                         1/11/2020                    91.83%              88.43%                    82.97%
Southern               Mississippi                         1/18/2020                    93.09%              84.44%                    93.10%
Southern               Mississippi                         1/25/2020                    91.30%              86.87%                    87.49%
Southern               Mississippi                          2/1/2020                    90.28%              90.11%                    79.62%
Southern               Mississippi                          2/8/2020                    92.62%              91.65%                    89.83%
Southern               Mississippi                         2/15/2020                    94.26%              89.74%                    88.95%
Southern               Mississippi                         2/22/2020                    92.49%              92.61%                    84.94%
Southern               Mississippi                         2/29/2020                    93.33%              93.62%                    85.93%
Southern               Mississippi                          3/7/2020                    92.41%              90.19%                    87.92%
Southern               Mississippi                         3/14/2020                    91.27%              87.37%                    89.49%
Southern               Mississippi                         3/21/2020                    93.97%              93.65%                    88.36%
Southern               Mississippi                         3/28/2020                    94.78%              94.69%                    77.39%
Southern               Mississippi                          4/1/2020                    93.77%              92.05%                    87.58%
Southern               Mississippi                          4/4/2020                    94.09%              94.81%                    86.52%


Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                          53
                   Case 1:20-cv-06516-VM Document 104-1 Filed 12/18/20 Page 54 of 68
                             USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                             District - By Week

        Area                    District                 Week               First-Class Mail   USPS Marketing Mail           Periodicals
Southern               Mississippi                         4/11/2020                    91.00%              94.42%                    88.22%
Southern               Mississippi                         4/18/2020                    94.46%              91.05%                    85.26%
Southern               Mississippi                         4/25/2020                    91.93%              92.65%                    72.38%
Southern               Mississippi                          5/2/2020                    91.83%              88.41%                    71.15%
Southern               Mississippi                          5/9/2020                    92.03%              89.01%                    84.06%
Southern               Mississippi                         5/16/2020                    91.85%              87.46%                    72.09%
Southern               Mississippi                         5/23/2020                    92.57%              85.57%                    74.66%
Southern               Mississippi                         5/30/2020                    90.68%              84.77%                    52.76%
Southern               Mississippi                          6/6/2020                    88.96%              81.65%                    56.19%
Southern               Mississippi                         6/13/2020                    90.76%              85.71%                    65.85%
Southern               Mississippi                         6/20/2020                    89.71%              91.11%                    78.81%
Southern               Mississippi                         6/27/2020                    92.15%              90.35%                    77.12%
Southern               Mississippi                          7/1/2020                    91.91%              85.89%                    31.48%
Southern               Mississippi                          7/4/2020                    90.68%              83.44%                    54.60%
Southern               Mississippi                         7/11/2020                    90.19%              83.16%                    72.67%
Southern               Mississippi                         7/18/2020                    86.62%              76.84%                    76.22%
Southern               Mississippi                         7/25/2020                    87.68%              80.16%                    74.94%
Southern               Mississippi                          8/1/2020                    86.74%              80.39%                    75.93%
Southern               Mississippi                          8/8/2020                    86.76%              88.38%                    76.60%
Southern               Mississippi                         8/15/2020                    87.26%              88.83%                    79.73%
Southern               Mississippi                         8/22/2020                    89.44%              86.29%                    73.44%
Southern               Mississippi                         8/29/2020                    89.68%              90.15%                    84.93%
Southern               Mississippi                          9/5/2020                    88.95%              80.63%                    50.80%
Southern               Mississippi                         9/12/2020                    81.86%              77.94%                    74.97%
Southern               Mississippi                         9/19/2020                    79.85%              80.35%                    82.21%
Southern               Mississippi                         9/26/2020                    80.81%              88.49%                    80.96%
Southern               Mississippi                         10/3/2020                    77.46%              87.53%                    86.90%
Southern               Mississippi                        10/10/2020                    78.09%              81.38%                    79.96%
Southern               Mississippi                        10/17/2020                    74.06%              85.69%                    72.45%
Southern               Mississippi                        10/24/2020                    77.55%              83.53%                    83.42%
Southern               Mississippi                        10/31/2020                    81.67%              84.41%                    85.29%
Southern               Mississippi                         11/7/2020                    84.10%              78.94%                    60.55%
Southern               Mississippi                        11/14/2020                    85.36%              84.25%                    83.36%
Southern               Mississippi                        11/21/2020                    81.29%              86.45%                    65.75%
Southern               Mississippi                        11/28/2020                    78.55%              78.06%                    69.51%
Southern               Mississippi                         12/5/2020                    73.66%              73.22%                    42.91%
Southern               Oklahoma                             1/4/2020                    94.49%              93.72%                    88.59%
Southern               Oklahoma                            1/11/2020                    93.33%              90.38%                    89.42%
Southern               Oklahoma                            1/18/2020                    94.86%              92.45%                    89.85%
Southern               Oklahoma                            1/25/2020                    93.54%              92.92%                    92.97%
Southern               Oklahoma                             2/1/2020                    93.10%              92.08%                    92.77%
Southern               Oklahoma                             2/8/2020                    92.77%              93.87%                    92.54%
Southern               Oklahoma                            2/15/2020                    95.39%              92.54%                    92.52%
Southern               Oklahoma                            2/22/2020                    94.19%              93.86%                    91.87%
Southern               Oklahoma                            2/29/2020                    94.71%              94.19%                    86.70%
Southern               Oklahoma                             3/7/2020                    94.62%              93.60%                    91.95%
Southern               Oklahoma                            3/14/2020                    93.89%              93.87%                    87.21%
Southern               Oklahoma                            3/21/2020                    94.97%              94.06%                    93.26%
Southern               Oklahoma                            3/28/2020                    95.28%              95.95%                    90.60%
Southern               Oklahoma                             4/1/2020                    95.83%              92.91%                    97.05%
Southern               Oklahoma                             4/4/2020                    93.99%              94.97%                    91.19%
Southern               Oklahoma                            4/11/2020                    94.48%              94.89%                    87.69%
Southern               Oklahoma                            4/18/2020                    95.02%              95.66%                    89.07%
Southern               Oklahoma                            4/25/2020                    93.90%              93.63%                    90.10%
Southern               Oklahoma                             5/2/2020                    92.67%              91.53%                    85.18%
Southern               Oklahoma                             5/9/2020                    93.42%              92.85%                    89.58%
Southern               Oklahoma                            5/16/2020                    94.14%              94.25%                    86.48%


Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                          54
                   Case 1:20-cv-06516-VM Document 104-1 Filed 12/18/20 Page 55 of 68
                             USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                             District - By Week

        Area                   District                  Week               First-Class Mail   USPS Marketing Mail           Periodicals
Southern               Oklahoma                            5/23/2020                    94.25%              91.23%                    87.49%
Southern               Oklahoma                            5/30/2020                    92.91%              93.32%                    90.57%
Southern               Oklahoma                             6/6/2020                    93.22%              92.55%                    88.75%
Southern               Oklahoma                            6/13/2020                    93.72%              94.75%                    86.45%
Southern               Oklahoma                            6/20/2020                    93.37%              94.32%                    88.47%
Southern               Oklahoma                            6/27/2020                    93.44%              95.01%                    85.53%
Southern               Oklahoma                             7/1/2020                    92.98%              92.97%                    91.41%
Southern               Oklahoma                             7/4/2020                    92.61%              92.25%                    79.47%
Southern               Oklahoma                            7/11/2020                    89.79%              87.33%                    85.92%
Southern               Oklahoma                            7/18/2020                    88.83%              84.37%                    80.93%
Southern               Oklahoma                            7/25/2020                    90.28%              87.72%                    71.68%
Southern               Oklahoma                             8/1/2020                    89.18%              84.16%                    83.80%
Southern               Oklahoma                             8/8/2020                    85.15%              87.52%                    67.68%
Southern               Oklahoma                            8/15/2020                    89.64%              91.21%                    84.36%
Southern               Oklahoma                            8/22/2020                    92.89%              94.74%                    87.26%
Southern               Oklahoma                            8/29/2020                    92.59%              93.47%                    93.22%
Southern               Oklahoma                             9/5/2020                    93.28%              89.32%                    84.93%
Southern               Oklahoma                            9/12/2020                    89.93%              89.67%                    89.38%
Southern               Oklahoma                            9/19/2020                    90.23%              92.12%                    88.90%
Southern               Oklahoma                            9/26/2020                    90.68%              93.30%                    90.89%
Southern               Oklahoma                            10/3/2020                    90.36%              94.37%                    90.10%
Southern               Oklahoma                           10/10/2020                    92.42%              93.07%                    87.33%
Southern               Oklahoma                           10/17/2020                    88.83%              94.85%                    83.65%
Southern               Oklahoma                           10/24/2020                    89.06%              94.02%                    87.27%
Southern               Oklahoma                           10/31/2020                    91.34%              94.15%                    90.34%
Southern               Oklahoma                            11/7/2020                    91.60%              94.50%                    82.63%
Southern               Oklahoma                           11/14/2020                    91.71%              95.08%                    88.35%
Southern               Oklahoma                           11/21/2020                    89.13%              93.05%                    81.78%
Southern               Oklahoma                           11/28/2020                    85.15%              93.08%                    90.84%
Southern               Oklahoma                            12/5/2020                    83.05%              81.84%                    69.23%
Southern               Rio Grande                           1/4/2020                    92.24%              92.80%                    86.08%
Southern               Rio Grande                          1/11/2020                    92.95%              90.41%                    89.65%
Southern               Rio Grande                          1/18/2020                    94.55%              90.02%                    89.66%
Southern               Rio Grande                          1/25/2020                    92.61%              93.29%                    92.43%
Southern               Rio Grande                           2/1/2020                    92.82%              92.19%                    86.99%
Southern               Rio Grande                           2/8/2020                    92.82%              94.33%                    88.52%
Southern               Rio Grande                          2/15/2020                    94.77%              92.87%                    90.09%
Southern               Rio Grande                          2/22/2020                    93.30%              94.68%                    87.18%
Southern               Rio Grande                          2/29/2020                    92.61%              93.53%                    90.54%
Southern               Rio Grande                           3/7/2020                    92.50%              93.90%                    86.71%
Southern               Rio Grande                          3/14/2020                    93.18%              93.59%                    86.81%
Southern               Rio Grande                          3/21/2020                    93.17%              94.06%                    87.05%
Southern               Rio Grande                          3/28/2020                    93.08%              96.19%                    91.16%
Southern               Rio Grande                           4/1/2020                    93.15%              93.99%                    93.87%
Southern               Rio Grande                           4/4/2020                    93.58%              95.67%                    91.16%
Southern               Rio Grande                          4/11/2020                    92.13%              94.48%                    83.47%
Southern               Rio Grande                          4/18/2020                    92.58%              94.98%                    90.58%
Southern               Rio Grande                          4/25/2020                    92.25%              94.20%                    86.65%
Southern               Rio Grande                           5/2/2020                    91.45%              92.74%                    84.17%
Southern               Rio Grande                           5/9/2020                    91.21%              93.44%                    83.51%
Southern               Rio Grande                          5/16/2020                    92.63%              94.43%                    83.60%
Southern               Rio Grande                          5/23/2020                    93.03%              91.99%                    83.35%
Southern               Rio Grande                          5/30/2020                    92.14%              93.76%                    85.73%
Southern               Rio Grande                           6/6/2020                    91.71%              92.80%                    81.71%
Southern               Rio Grande                          6/13/2020                    91.51%              91.29%                    82.13%
Southern               Rio Grande                          6/20/2020                    90.80%              91.48%                    77.38%
Southern               Rio Grande                          6/27/2020                    89.60%              90.00%                    71.83%


Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                          55
                   Case 1:20-cv-06516-VM Document 104-1 Filed 12/18/20 Page 56 of 68
                             USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                             District - By Week

        Area                   District                  Week               First-Class Mail   USPS Marketing Mail           Periodicals
Southern               Rio Grande                           7/1/2020                    92.30%              91.17%                    83.20%
Southern               Rio Grande                           7/4/2020                    92.24%              85.61%                    73.28%
Southern               Rio Grande                          7/11/2020                    82.66%              69.08%                    74.14%
Southern               Rio Grande                          7/18/2020                    85.69%              75.00%                    68.65%
Southern               Rio Grande                          7/25/2020                    85.26%              74.65%                    73.99%
Southern               Rio Grande                           8/1/2020                    86.58%              79.06%                    69.58%
Southern               Rio Grande                           8/8/2020                    85.21%              86.08%                    71.05%
Southern               Rio Grande                          8/15/2020                    88.28%              89.10%                    74.77%
Southern               Rio Grande                          8/22/2020                    89.16%              93.69%                    77.70%
Southern               Rio Grande                          8/29/2020                    89.54%              94.99%                    90.16%
Southern               Rio Grande                           9/5/2020                    90.64%              89.97%                    82.16%
Southern               Rio Grande                          9/12/2020                    89.48%              89.83%                    81.04%
Southern               Rio Grande                          9/19/2020                    88.77%              91.14%                    82.30%
Southern               Rio Grande                          9/26/2020                    88.10%              93.35%                    84.17%
Southern               Rio Grande                          10/3/2020                    89.64%              94.21%                    89.29%
Southern               Rio Grande                         10/10/2020                    90.46%              92.87%                    82.25%
Southern               Rio Grande                         10/17/2020                    85.50%              90.35%                    79.67%
Southern               Rio Grande                         10/24/2020                    88.47%              91.45%                    85.98%
Southern               Rio Grande                         10/31/2020                    90.07%              93.18%                    84.29%
Southern               Rio Grande                          11/7/2020                    90.70%              92.80%                    78.02%
Southern               Rio Grande                         11/14/2020                    90.60%              93.15%                    80.62%
Southern               Rio Grande                         11/21/2020                    88.24%              91.01%                    81.91%
Southern               Rio Grande                         11/28/2020                    84.15%              92.88%                    71.85%
Southern               Rio Grande                          12/5/2020                    80.85%              89.27%                    50.72%
Southern               South Florida                        1/4/2020                    91.89%              91.07%                    84.43%
Southern               South Florida                       1/11/2020                    91.12%              88.70%                    84.90%
Southern               South Florida                       1/18/2020                    93.19%              87.56%                    86.37%
Southern               South Florida                       1/25/2020                    91.71%              88.87%                    86.17%
Southern               South Florida                        2/1/2020                    90.94%              87.46%                    86.83%
Southern               South Florida                        2/8/2020                    90.57%              89.29%                    85.75%
Southern               South Florida                       2/15/2020                    92.49%              89.49%                    86.84%
Southern               South Florida                       2/22/2020                    92.55%              91.78%                    87.89%
Southern               South Florida                       2/29/2020                    93.24%              90.24%                    85.82%
Southern               South Florida                        3/7/2020                    92.29%              90.49%                    83.10%
Southern               South Florida                       3/14/2020                    92.66%              91.24%                    82.91%
Southern               South Florida                       3/21/2020                    92.65%              92.00%                    84.78%
Southern               South Florida                       3/28/2020                    92.42%              94.00%                    78.10%
Southern               South Florida                        4/1/2020                    92.73%              91.18%                    86.47%
Southern               South Florida                        4/4/2020                    91.43%              93.30%                    85.13%
Southern               South Florida                       4/11/2020                    90.58%              93.30%                    81.06%
Southern               South Florida                       4/18/2020                    91.84%              91.88%                    79.50%
Southern               South Florida                       4/25/2020                    91.80%              89.50%                    81.66%
Southern               South Florida                        5/2/2020                    91.79%              92.27%                    79.69%
Southern               South Florida                        5/9/2020                    88.90%              90.66%                    71.32%
Southern               South Florida                       5/16/2020                    90.98%              90.61%                    71.75%
Southern               South Florida                       5/23/2020                    92.11%              86.73%                    74.64%
Southern               South Florida                       5/30/2020                    89.44%              90.38%                    80.08%
Southern               South Florida                        6/6/2020                    90.64%              89.18%                    68.24%
Southern               South Florida                       6/13/2020                    91.65%              90.46%                    86.68%
Southern               South Florida                       6/20/2020                    89.60%              88.62%                    82.72%
Southern               South Florida                       6/27/2020                    89.11%              92.28%                    80.13%
Southern               South Florida                        7/1/2020                    91.77%              91.19%                    77.48%
Southern               South Florida                        7/4/2020                    90.57%              89.04%                    76.72%
Southern               South Florida                       7/11/2020                    85.21%              82.13%                    70.95%
Southern               South Florida                       7/18/2020                    77.95%              78.42%                    67.67%
Southern               South Florida                       7/25/2020                    84.11%              81.30%                    69.12%
Southern               South Florida                        8/1/2020                    80.16%              78.38%                    65.64%


Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                          56
                   Case 1:20-cv-06516-VM Document 104-1 Filed 12/18/20 Page 57 of 68
                             USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                             District - By Week

        Area                   District                  Week               First-Class Mail   USPS Marketing Mail           Periodicals
Southern               South Florida                        8/8/2020                    79.67%              79.57%                    71.66%
Southern               South Florida                       8/15/2020                    80.82%              79.62%                    68.76%
Southern               South Florida                       8/22/2020                    85.47%              82.99%                    73.90%
Southern               South Florida                       8/29/2020                    85.03%              85.49%                    70.73%
Southern               South Florida                        9/5/2020                    86.57%              85.43%                    79.44%
Southern               South Florida                       9/12/2020                    86.93%              86.64%                    74.96%
Southern               South Florida                       9/19/2020                    84.80%              87.57%                    78.93%
Southern               South Florida                       9/26/2020                    84.38%              89.39%                    65.28%
Southern               South Florida                       10/3/2020                    82.79%              83.81%                    64.05%
Southern               South Florida                      10/10/2020                    83.47%              75.18%                    65.18%
Southern               South Florida                      10/17/2020                    78.72%              84.01%                    70.10%
Southern               South Florida                      10/24/2020                    76.96%              84.65%                    66.25%
Southern               South Florida                      10/31/2020                    79.87%              79.29%                    65.20%
Southern               South Florida                       11/7/2020                    81.83%              82.53%                    70.04%
Southern               South Florida                      11/14/2020                    85.12%              85.79%                    70.31%
Southern               South Florida                      11/21/2020                    82.24%              90.25%                    61.84%
Southern               South Florida                      11/28/2020                    74.73%              83.51%                    60.19%
Southern               South Florida                       12/5/2020                    70.89%              83.98%                    52.97%
Southern               Suncoast                             1/4/2020                    90.93%              89.27%                    84.10%
Southern               Suncoast                            1/11/2020                    91.40%              85.89%                    84.60%
Southern               Suncoast                            1/18/2020                    93.29%              88.91%                    87.98%
Southern               Suncoast                            1/25/2020                    90.57%              89.67%                    87.50%
Southern               Suncoast                             2/1/2020                    92.54%              91.50%                    89.27%
Southern               Suncoast                             2/8/2020                    92.78%              91.89%                    90.66%
Southern               Suncoast                            2/15/2020                    94.29%              92.73%                    88.97%
Southern               Suncoast                            2/22/2020                    93.59%              92.27%                    87.65%
Southern               Suncoast                            2/29/2020                    93.67%              92.43%                    89.63%
Southern               Suncoast                             3/7/2020                    92.75%              91.19%                    85.61%
Southern               Suncoast                            3/14/2020                    92.36%              90.79%                    88.02%
Southern               Suncoast                            3/21/2020                    93.47%              92.44%                    85.52%
Southern               Suncoast                            3/28/2020                    92.96%              94.83%                    89.79%
Southern               Suncoast                             4/1/2020                    93.64%              92.50%                    83.21%
Southern               Suncoast                             4/4/2020                    92.58%              95.09%                    89.82%
Southern               Suncoast                            4/11/2020                    92.31%              94.08%                    80.63%
Southern               Suncoast                            4/18/2020                    93.00%              92.42%                    87.14%
Southern               Suncoast                            4/25/2020                    92.65%              91.88%                    85.63%
Southern               Suncoast                             5/2/2020                    91.52%              93.63%                    85.11%
Southern               Suncoast                             5/9/2020                    90.24%              90.84%                    70.29%
Southern               Suncoast                            5/16/2020                    92.46%              93.50%                    80.25%
Southern               Suncoast                            5/23/2020                    93.59%              91.61%                    83.75%
Southern               Suncoast                            5/30/2020                    90.66%              91.17%                    85.01%
Southern               Suncoast                             6/6/2020                    91.21%              90.04%                    85.03%
Southern               Suncoast                            6/13/2020                    92.97%              91.59%                    89.06%
Southern               Suncoast                            6/20/2020                    90.90%              90.30%                    82.88%
Southern               Suncoast                            6/27/2020                    90.56%              91.03%                    74.17%
Southern               Suncoast                             7/1/2020                    93.04%              89.59%                    87.07%
Southern               Suncoast                             7/4/2020                    89.54%              88.91%                    83.65%
Southern               Suncoast                            7/11/2020                    80.09%              76.97%                    79.92%
Southern               Suncoast                            7/18/2020                    75.24%              70.29%                    72.52%
Southern               Suncoast                            7/25/2020                    85.11%              76.04%                    80.74%
Southern               Suncoast                             8/1/2020                    85.30%              83.34%                    75.11%
Southern               Suncoast                             8/8/2020                    85.21%              89.39%                    80.11%
Southern               Suncoast                            8/15/2020                    89.27%              89.23%                    79.03%
Southern               Suncoast                            8/22/2020                    89.40%              89.63%                    80.15%
Southern               Suncoast                            8/29/2020                    89.70%              90.17%                    82.32%
Southern               Suncoast                             9/5/2020                    90.33%              86.76%                    88.18%
Southern               Suncoast                            9/12/2020                    88.95%              88.76%                    84.40%


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Commission (PRC) at the end of the quarter.                          57
                   Case 1:20-cv-06516-VM Document 104-1 Filed 12/18/20 Page 58 of 68
                             USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                             District - By Week

        Area                  District                   Week               First-Class Mail   USPS Marketing Mail           Periodicals
Southern               Suncoast                            9/19/2020                    86.67%              91.50%                    84.27%
Southern               Suncoast                            9/26/2020                    88.41%              91.78%                    84.78%
Southern               Suncoast                            10/3/2020                    88.13%              88.14%                    78.35%
Southern               Suncoast                           10/10/2020                    86.49%              86.81%                    74.90%
Southern               Suncoast                           10/17/2020                    81.96%              86.89%                    78.88%
Southern               Suncoast                           10/24/2020                    84.70%              87.67%                    78.51%
Southern               Suncoast                           10/31/2020                    87.47%              87.42%                    83.45%
Southern               Suncoast                            11/7/2020                    86.44%              87.62%                    84.94%
Southern               Suncoast                           11/14/2020                    86.56%              89.51%                    80.69%
Southern               Suncoast                           11/21/2020                    85.00%              90.75%                    80.74%
Southern               Suncoast                           11/28/2020                    83.14%              89.58%                    78.30%
Southern               Suncoast                            12/5/2020                    82.24%              85.47%                    68.18%
Western                Alaska                               1/4/2020                    89.12%              89.95%                    77.51%
Western                Alaska                              1/11/2020                    91.09%              91.23%                    70.03%
Western                Alaska                              1/18/2020                    92.57%              92.92%                    87.30%
Western                Alaska                              1/25/2020                    91.22%              95.96%                    94.81%
Western                Alaska                               2/1/2020                    90.77%              95.96%                    92.22%
Western                Alaska                               2/8/2020                    91.89%              81.83%                    89.98%
Western                Alaska                              2/15/2020                    93.62%              82.09%                    82.84%
Western                Alaska                              2/22/2020                    93.30%              98.05%                    87.40%
Western                Alaska                              2/29/2020                    92.97%              96.95%                    90.65%
Western                Alaska                               3/7/2020                    92.41%              82.13%                    88.96%
Western                Alaska                              3/14/2020                    92.02%              90.51%                    91.68%
Western                Alaska                              3/21/2020                    91.98%              82.23%                    93.83%
Western                Alaska                              3/28/2020                    91.79%              98.65%                    94.61%
Western                Alaska                               4/1/2020                    90.26%              97.44%                    87.95%
Western                Alaska                               4/4/2020                    92.88%              63.97%                    82.56%
Western                Alaska                              4/11/2020                    91.36%              85.17%                    89.33%
Western                Alaska                              4/18/2020                    91.79%              85.33%                    93.03%
Western                Alaska                              4/25/2020                    92.74%              93.27%                    95.57%
Western                Alaska                               5/2/2020                    92.00%              96.59%                    84.45%
Western                Alaska                               5/9/2020                    92.51%              86.77%                    94.42%
Western                Alaska                              5/16/2020                    92.31%              84.57%                    94.22%
Western                Alaska                              5/23/2020                    91.24%              83.79%                    89.05%
Western                Alaska                              5/30/2020                    91.29%              97.20%                    93.93%
Western                Alaska                               6/6/2020                    92.12%              84.72%                    88.72%
Western                Alaska                              6/13/2020                    92.14%              98.43%                    91.14%
Western                Alaska                              6/20/2020                    91.63%              93.65%                    91.63%
Western                Alaska                              6/27/2020                    91.79%              97.65%                    94.91%
Western                Alaska                               7/1/2020                    93.87%              95.72%                    83.10%
Western                Alaska                               7/4/2020                    90.82%              93.84%                    77.28%
Western                Alaska                              7/11/2020                    91.14%              84.23%                    89.93%
Western                Alaska                              7/18/2020                    88.31%              98.32%                    86.89%
Western                Alaska                              7/25/2020                    89.01%              96.55%                    86.79%
Western                Alaska                               8/1/2020                    89.67%              85.73%                    84.11%
Western                Alaska                               8/8/2020                    87.07%              85.01%                    87.66%
Western                Alaska                              8/15/2020                    86.51%              83.98%                    87.43%
Western                Alaska                              8/22/2020                    89.43%              97.04%                    88.93%
Western                Alaska                              8/29/2020                    91.46%              97.73%                    94.71%
Western                Alaska                               9/5/2020                    90.96%              98.39%                    92.76%
Western                Alaska                              9/12/2020                    90.35%              96.64%                    95.87%
Western                Alaska                              9/19/2020                    94.07%              98.26%                    87.59%
Western                Alaska                              9/26/2020                    90.97%              83.03%                    91.25%
Western                Alaska                              10/3/2020                    90.56%              97.95%                    95.51%
Western                Alaska                             10/10/2020                    87.43%              96.91%                    88.24%
Western                Alaska                             10/17/2020                    80.93%              96.85%                    75.65%
Western                Alaska                             10/24/2020                    72.43%              82.90%                    92.28%


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Commission (PRC) at the end of the quarter.                          58
                   Case 1:20-cv-06516-VM Document 104-1 Filed 12/18/20 Page 59 of 68
                             USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                             District - By Week

          Area                   District                Week               First-Class Mail   USPS Marketing Mail           Periodicals
Western                Alaska                             10/31/2020                    83.48%              88.52%                    97.22%
Western                Alaska                              11/7/2020                    89.83%              94.90%                    93.71%
Western                Alaska                             11/14/2020                    89.49%              96.54%                    91.61%
Western                Alaska                             11/21/2020                    87.52%              80.86%                    94.21%
Western                Alaska                             11/28/2020                    84.59%              97.34%                    88.14%
Western                Alaska                              12/5/2020                    84.29%              91.38%                    93.13%
Western                Arizona                              1/4/2020                    91.44%              90.90%                    87.48%
Western                Arizona                             1/11/2020                    92.39%              90.37%                    88.93%
Western                Arizona                             1/18/2020                    93.78%              91.48%                    91.61%
Western                Arizona                             1/25/2020                    92.11%              92.30%                    87.41%
Western                Arizona                              2/1/2020                    90.48%              90.42%                    88.40%
Western                Arizona                              2/8/2020                    91.36%              91.31%                    91.33%
Western                Arizona                             2/15/2020                    94.34%              90.26%                    89.94%
Western                Arizona                             2/22/2020                    91.43%              89.61%                    86.20%
Western                Arizona                             2/29/2020                    92.61%              92.07%                    87.45%
Western                Arizona                              3/7/2020                    90.79%              90.45%                    83.11%
Western                Arizona                             3/14/2020                    91.35%              89.55%                    84.60%
Western                Arizona                             3/21/2020                    92.27%              92.62%                    84.98%
Western                Arizona                             3/28/2020                    89.97%              92.09%                    87.23%
Western                Arizona                              4/1/2020                    91.24%              91.02%                    84.14%
Western                Arizona                              4/4/2020                    91.97%              93.55%                    87.65%
Western                Arizona                             4/11/2020                    91.69%              92.97%                    85.42%
Western                Arizona                             4/18/2020                    92.55%              93.66%                    87.24%
Western                Arizona                             4/25/2020                    90.97%              92.85%                    79.71%
Western                Arizona                              5/2/2020                    92.05%              91.56%                    83.51%
Western                Arizona                              5/9/2020                    90.75%              91.29%                    78.45%
Western                Arizona                             5/16/2020                    92.78%              93.19%                    82.85%
Western                Arizona                             5/23/2020                    93.18%              93.25%                    80.82%
Western                Arizona                             5/30/2020                    91.26%              93.55%                    90.11%
Western                Arizona                              6/6/2020                    91.18%              93.47%                    83.96%
Western                Arizona                             6/13/2020                    91.57%              94.29%                    87.73%
Western                Arizona                             6/20/2020                    91.43%              91.39%                    75.74%
Western                Arizona                             6/27/2020                    90.76%              92.22%                    89.36%
Western                Arizona                              7/1/2020                    92.34%              92.52%                    89.27%
Western                Arizona                              7/4/2020                    92.22%              91.81%                    78.46%
Western                Arizona                             7/11/2020                    86.72%              85.59%                    81.28%
Western                Arizona                             7/18/2020                    86.82%              84.44%                    75.31%
Western                Arizona                             7/25/2020                    87.20%              88.29%                    83.38%
Western                Arizona                              8/1/2020                    87.37%              87.46%                    82.52%
Western                Arizona                              8/8/2020                    87.64%              91.10%                    74.70%
Western                Arizona                             8/15/2020                    88.72%              92.75%                    81.88%
Western                Arizona                             8/22/2020                    89.74%              93.86%                    79.93%
Western                Arizona                             8/29/2020                    88.97%              93.29%                    85.44%
Western                Arizona                              9/5/2020                    90.12%              92.99%                    83.29%
Western                Arizona                             9/12/2020                    90.35%              91.28%                    79.85%
Western                Arizona                             9/19/2020                    88.94%              92.96%                    86.40%
Western                Arizona                             9/26/2020                    87.44%              89.79%                    78.02%
Western                Arizona                             10/3/2020                    88.29%              94.35%                    76.19%
Western                Arizona                            10/10/2020                    85.84%              77.38%                    84.38%
Western                Arizona                            10/17/2020                    82.12%              84.37%                    66.24%
Western                Arizona                            10/24/2020                    87.07%              88.91%                    68.93%
Western                Arizona                            10/31/2020                    88.22%              87.08%                    72.99%
Western                Arizona                             11/7/2020                    89.32%              89.84%                    64.73%
Western                Arizona                            11/14/2020                    91.75%              92.64%                    78.99%
Western                Arizona                            11/21/2020                    88.15%              91.73%                    79.67%
Western                Arizona                            11/28/2020                    80.96%              88.51%                    71.31%
Western                Arizona                             12/5/2020                    80.72%              82.74%                    68.28%


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Commission (PRC) at the end of the quarter.                          59
                   Case 1:20-cv-06516-VM Document 104-1 Filed 12/18/20 Page 60 of 68
                             USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                             District - By Week

          Area                  District                 Week               First-Class Mail   USPS Marketing Mail           Periodicals
Western                Central Plains                       1/4/2020                    93.81%              94.29%                    87.66%
Western                Central Plains                      1/11/2020                    92.81%              94.03%                    90.20%
Western                Central Plains                      1/18/2020                    95.13%              90.56%                    89.51%
Western                Central Plains                      1/25/2020                    90.74%              95.15%                    90.90%
Western                Central Plains                       2/1/2020                    93.46%              95.09%                    89.33%
Western                Central Plains                       2/8/2020                    94.18%              96.10%                    93.70%
Western                Central Plains                      2/15/2020                    96.17%              95.44%                    93.72%
Western                Central Plains                      2/22/2020                    95.57%              96.63%                    93.35%
Western                Central Plains                      2/29/2020                    95.07%              88.53%                    92.05%
Western                Central Plains                       3/7/2020                    93.98%              94.78%                    91.40%
Western                Central Plains                      3/14/2020                    95.16%              95.87%                    91.60%
Western                Central Plains                      3/21/2020                    94.95%              95.58%                    90.45%
Western                Central Plains                      3/28/2020                    95.70%              96.44%                    91.76%
Western                Central Plains                       4/1/2020                    94.32%              95.90%                    91.03%
Western                Central Plains                       4/4/2020                    93.73%              88.73%                    91.65%
Western                Central Plains                      4/11/2020                    93.37%              96.51%                    89.53%
Western                Central Plains                      4/18/2020                    94.35%              96.01%                    91.79%
Western                Central Plains                      4/25/2020                    90.93%              95.95%                    82.74%
Western                Central Plains                       5/2/2020                    92.00%              87.64%                    89.03%
Western                Central Plains                       5/9/2020                    92.31%              94.15%                    86.45%
Western                Central Plains                      5/16/2020                    94.04%              87.67%                    89.56%
Western                Central Plains                      5/23/2020                    95.32%              93.74%                    90.26%
Western                Central Plains                      5/30/2020                    91.89%              93.88%                    85.47%
Western                Central Plains                       6/6/2020                    93.00%              93.79%                    88.11%
Western                Central Plains                      6/13/2020                    94.40%              94.37%                    88.46%
Western                Central Plains                      6/20/2020                    94.57%              94.76%                    88.82%
Western                Central Plains                      6/27/2020                    94.18%              96.12%                    86.37%
Western                Central Plains                       7/1/2020                    93.28%              92.00%                    88.71%
Western                Central Plains                       7/4/2020                    93.40%              88.52%                    83.72%
Western                Central Plains                      7/11/2020                    88.97%              92.17%                    88.75%
Western                Central Plains                      7/18/2020                    85.62%              89.39%                    86.77%
Western                Central Plains                      7/25/2020                    87.94%              93.09%                    85.38%
Western                Central Plains                       8/1/2020                    88.67%              84.60%                    82.95%
Western                Central Plains                       8/8/2020                    87.95%              92.40%                    81.62%
Western                Central Plains                      8/15/2020                    86.90%              92.99%                    87.48%
Western                Central Plains                      8/22/2020                    87.00%              94.80%                    88.08%
Western                Central Plains                      8/29/2020                    87.52%              93.08%                    89.76%
Western                Central Plains                       9/5/2020                    88.86%              84.70%                    88.95%
Western                Central Plains                      9/12/2020                    85.36%              92.67%                    87.98%
Western                Central Plains                      9/19/2020                    90.52%              94.73%                    90.82%
Western                Central Plains                      9/26/2020                    88.88%              93.53%                    86.80%
Western                Central Plains                      10/3/2020                    90.76%              94.94%                    88.92%
Western                Central Plains                     10/10/2020                    90.54%              93.36%                    91.40%
Western                Central Plains                     10/17/2020                    86.34%              87.31%                    89.04%
Western                Central Plains                     10/24/2020                    88.42%              93.82%                    86.40%
Western                Central Plains                     10/31/2020                    91.19%              87.35%                    87.01%
Western                Central Plains                      11/7/2020                    91.56%              93.08%                    87.05%
Western                Central Plains                     11/14/2020                    92.89%              95.26%                    88.15%
Western                Central Plains                     11/21/2020                    87.92%              93.49%                    87.77%
Western                Central Plains                     11/28/2020                    84.41%              92.85%                    86.43%
Western                Central Plains                      12/5/2020                    84.05%              85.88%                    78.27%
Western                Colorado/Wyoming                     1/4/2020                    88.39%              83.93%                    77.62%
Western                Colorado/Wyoming                    1/11/2020                    87.00%              84.89%                    87.05%
Western                Colorado/Wyoming                    1/18/2020                    91.54%              87.33%                    82.45%
Western                Colorado/Wyoming                    1/25/2020                    85.95%              88.64%                    83.23%
Western                Colorado/Wyoming                     2/1/2020                    80.11%              81.16%                    88.65%
Western                Colorado/Wyoming                     2/8/2020                    84.99%              86.68%                    85.33%


Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                          60
                   Case 1:20-cv-06516-VM Document 104-1 Filed 12/18/20 Page 61 of 68
                             USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                             District - By Week

          Area                 District                  Week               First-Class Mail   USPS Marketing Mail           Periodicals
Western                Colorado/Wyoming                    2/15/2020                    89.54%              86.40%                    87.92%
Western                Colorado/Wyoming                    2/22/2020                    90.81%              92.82%                    85.16%
Western                Colorado/Wyoming                    2/29/2020                    91.51%              90.65%                    81.02%
Western                Colorado/Wyoming                     3/7/2020                    90.67%              88.18%                    82.52%
Western                Colorado/Wyoming                    3/14/2020                    88.70%              88.70%                    80.24%
Western                Colorado/Wyoming                    3/21/2020                    88.05%              89.44%                    79.99%
Western                Colorado/Wyoming                    3/28/2020                    88.28%              91.24%                    77.79%
Western                Colorado/Wyoming                     4/1/2020                    91.36%              86.70%                    79.28%
Western                Colorado/Wyoming                     4/4/2020                    86.13%              82.23%                    59.28%
Western                Colorado/Wyoming                    4/11/2020                    83.42%              77.56%                    57.01%
Western                Colorado/Wyoming                    4/18/2020                    86.07%              87.32%                    58.10%
Western                Colorado/Wyoming                    4/25/2020                    83.31%              85.48%                    64.39%
Western                Colorado/Wyoming                     5/2/2020                    87.76%              87.82%                    60.23%
Western                Colorado/Wyoming                     5/9/2020                    86.39%              89.07%                    60.95%
Western                Colorado/Wyoming                    5/16/2020                    88.50%              91.99%                    76.63%
Western                Colorado/Wyoming                    5/23/2020                    89.88%              92.58%                    76.72%
Western                Colorado/Wyoming                    5/30/2020                    89.26%              94.41%                    75.58%
Western                Colorado/Wyoming                     6/6/2020                    88.21%              82.34%                    77.75%
Western                Colorado/Wyoming                    6/13/2020                    87.71%              89.24%                    77.63%
Western                Colorado/Wyoming                    6/20/2020                    87.47%              91.28%                    74.21%
Western                Colorado/Wyoming                    6/27/2020                    86.75%              90.70%                    77.74%
Western                Colorado/Wyoming                     7/1/2020                    88.49%              89.54%                    76.57%
Western                Colorado/Wyoming                     7/4/2020                    86.01%              87.67%                    82.13%
Western                Colorado/Wyoming                    7/11/2020                    81.98%              76.38%                    64.21%
Western                Colorado/Wyoming                    7/18/2020                    82.90%              83.32%                    77.73%
Western                Colorado/Wyoming                    7/25/2020                    83.92%              86.28%                    61.84%
Western                Colorado/Wyoming                     8/1/2020                    79.31%              84.49%                    72.62%
Western                Colorado/Wyoming                     8/8/2020                    80.54%              86.69%                    69.32%
Western                Colorado/Wyoming                    8/15/2020                    80.52%              86.82%                    66.25%
Western                Colorado/Wyoming                    8/22/2020                    84.51%              92.04%                    76.80%
Western                Colorado/Wyoming                    8/29/2020                    84.02%              90.25%                    75.96%
Western                Colorado/Wyoming                     9/5/2020                    84.83%              90.42%                    76.25%
Western                Colorado/Wyoming                    9/12/2020                    82.83%              89.20%                    80.97%
Western                Colorado/Wyoming                    9/19/2020                    82.78%              89.76%                    75.40%
Western                Colorado/Wyoming                    9/26/2020                    83.20%              89.74%                    81.81%
Western                Colorado/Wyoming                    10/3/2020                    84.41%              89.30%                    75.64%
Western                Colorado/Wyoming                   10/10/2020                    77.41%              81.81%                    77.05%
Western                Colorado/Wyoming                   10/17/2020                    71.47%              64.43%                    70.85%
Western                Colorado/Wyoming                   10/24/2020                    62.54%              78.36%                    60.41%
Western                Colorado/Wyoming                   10/31/2020                    67.12%              67.16%                    54.31%
Western                Colorado/Wyoming                    11/7/2020                    70.58%              65.28%                    64.38%
Western                Colorado/Wyoming                   11/14/2020                    75.04%              75.45%                    69.92%
Western                Colorado/Wyoming                   11/21/2020                    73.32%              82.45%                    69.43%
Western                Colorado/Wyoming                   11/28/2020                    69.20%              74.10%                    65.50%
Western                Colorado/Wyoming                    12/5/2020                    67.35%              85.39%                    64.56%
Western                Dakotas                              1/4/2020                    91.47%              91.30%                    86.24%
Western                Dakotas                             1/11/2020                    91.89%              87.84%                    86.15%
Western                Dakotas                             1/18/2020                    90.67%              90.58%                    85.28%
Western                Dakotas                             1/25/2020                    90.81%              94.24%                    88.69%
Western                Dakotas                              2/1/2020                    92.19%              92.89%                    90.51%
Western                Dakotas                              2/8/2020                    92.82%              94.26%                    90.92%
Western                Dakotas                             2/15/2020                    94.58%              92.97%                    88.88%
Western                Dakotas                             2/22/2020                    93.85%              95.54%                    90.63%
Western                Dakotas                             2/29/2020                    94.45%              94.41%                    89.68%
Western                Dakotas                              3/7/2020                    93.79%              94.71%                    88.59%
Western                Dakotas                             3/14/2020                    93.80%              95.03%                    90.12%
Western                Dakotas                             3/21/2020                    94.36%              95.27%                    85.71%


Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                          61
                   Case 1:20-cv-06516-VM Document 104-1 Filed 12/18/20 Page 62 of 68
                             USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                             District - By Week

          Area                 District                  Week               First-Class Mail   USPS Marketing Mail           Periodicals
Western                Dakotas                             3/28/2020                    93.59%              94.58%                    87.04%
Western                Dakotas                              4/1/2020                    94.58%              94.49%                    85.42%
Western                Dakotas                              4/4/2020                    93.57%              96.12%                    91.21%
Western                Dakotas                             4/11/2020                    93.03%              95.55%                    87.28%
Western                Dakotas                             4/18/2020                    94.25%              94.35%                    86.95%
Western                Dakotas                             4/25/2020                    93.87%              96.01%                    86.97%
Western                Dakotas                              5/2/2020                    93.73%              94.01%                    87.87%
Western                Dakotas                              5/9/2020                    92.41%              92.18%                    87.11%
Western                Dakotas                             5/16/2020                    94.03%              95.03%                    87.75%
Western                Dakotas                             5/23/2020                    94.90%              92.86%                    85.34%
Western                Dakotas                             5/30/2020                    92.40%              94.44%                    85.75%
Western                Dakotas                              6/6/2020                    93.69%              94.85%                    89.69%
Western                Dakotas                             6/13/2020                    94.65%              94.40%                    89.55%
Western                Dakotas                             6/20/2020                    93.85%              93.73%                    89.15%
Western                Dakotas                             6/27/2020                    93.42%              93.15%                    88.22%
Western                Dakotas                              7/1/2020                    94.00%              94.50%                    87.16%
Western                Dakotas                              7/4/2020                    92.57%              88.03%                    89.44%
Western                Dakotas                             7/11/2020                    91.21%              87.45%                    87.00%
Western                Dakotas                             7/18/2020                    89.34%              90.99%                    84.63%
Western                Dakotas                             7/25/2020                    90.73%              90.70%                    78.47%
Western                Dakotas                              8/1/2020                    90.94%              90.58%                    83.54%
Western                Dakotas                              8/8/2020                    89.74%              90.36%                    79.98%
Western                Dakotas                             8/15/2020                    91.20%              91.15%                    85.07%
Western                Dakotas                             8/22/2020                    92.97%              92.88%                    80.20%
Western                Dakotas                             8/29/2020                    91.37%              92.37%                    80.67%
Western                Dakotas                              9/5/2020                    92.00%              91.19%                    78.51%
Western                Dakotas                             9/12/2020                    90.68%              92.01%                    87.96%
Western                Dakotas                             9/19/2020                    91.77%              95.38%                    86.58%
Western                Dakotas                             9/26/2020                    92.08%              95.30%                    90.76%
Western                Dakotas                             10/3/2020                    91.77%              94.29%                    84.71%
Western                Dakotas                            10/10/2020                    91.26%              93.51%                    87.99%
Western                Dakotas                            10/17/2020                    88.52%              94.02%                    80.37%
Western                Dakotas                            10/24/2020                    86.60%              94.84%                    82.23%
Western                Dakotas                            10/31/2020                    90.89%              91.20%                    84.35%
Western                Dakotas                             11/7/2020                    90.38%              91.29%                    85.41%
Western                Dakotas                            11/14/2020                    91.90%              95.43%                    89.86%
Western                Dakotas                            11/21/2020                    88.76%              89.76%                    83.23%
Western                Dakotas                            11/28/2020                    83.25%              90.88%                    80.61%
Western                Dakotas                             12/5/2020                    84.72%              86.49%                    69.17%
Western                Hawkeye                              1/4/2020                    93.25%              94.09%                    91.42%
Western                Hawkeye                             1/11/2020                    91.69%              90.45%                    91.58%
Western                Hawkeye                             1/18/2020                    90.65%              91.03%                    77.93%
Western                Hawkeye                             1/25/2020                    92.77%              93.84%                    82.88%
Western                Hawkeye                              2/1/2020                    92.51%              93.48%                    94.08%
Western                Hawkeye                              2/8/2020                    93.65%              94.28%                    91.72%
Western                Hawkeye                             2/15/2020                    93.22%              95.63%                    87.96%
Western                Hawkeye                             2/22/2020                    93.50%              95.99%                    91.21%
Western                Hawkeye                             2/29/2020                    94.35%              95.59%                    90.56%
Western                Hawkeye                              3/7/2020                    92.68%              95.99%                    90.46%
Western                Hawkeye                             3/14/2020                    93.65%              95.93%                    91.18%
Western                Hawkeye                             3/21/2020                    93.57%              95.56%                    91.33%
Western                Hawkeye                             3/28/2020                    94.03%              96.01%                    90.60%
Western                Hawkeye                              4/1/2020                    94.35%              96.65%                    92.98%
Western                Hawkeye                              4/4/2020                    94.04%              96.70%                    90.38%
Western                Hawkeye                             4/11/2020                    92.92%              96.09%                    91.56%
Western                Hawkeye                             4/18/2020                    94.64%              96.41%                    92.60%
Western                Hawkeye                             4/25/2020                    93.95%              96.95%                    87.97%


Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                          62
                   Case 1:20-cv-06516-VM Document 104-1 Filed 12/18/20 Page 63 of 68
                             USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                             District - By Week

          Area               District                    Week               First-Class Mail   USPS Marketing Mail           Periodicals
Western                Hawkeye                              5/2/2020                    93.15%              94.86%                    89.57%
Western                Hawkeye                              5/9/2020                    92.25%              94.13%                    87.58%
Western                Hawkeye                             5/16/2020                    94.00%              94.41%                    90.46%
Western                Hawkeye                             5/23/2020                    92.83%              94.62%                    90.84%
Western                Hawkeye                             5/30/2020                    93.80%              94.57%                    90.37%
Western                Hawkeye                              6/6/2020                    93.00%              94.90%                    89.93%
Western                Hawkeye                             6/13/2020                    93.97%              95.93%                    87.89%
Western                Hawkeye                             6/20/2020                    92.94%              95.28%                    92.22%
Western                Hawkeye                             6/27/2020                    92.60%              95.17%                    81.83%
Western                Hawkeye                              7/1/2020                    92.43%              94.12%                    92.86%
Western                Hawkeye                              7/4/2020                    92.28%              93.22%                    83.66%
Western                Hawkeye                             7/11/2020                    90.05%              91.75%                    90.39%
Western                Hawkeye                             7/18/2020                    88.48%              92.42%                    87.66%
Western                Hawkeye                             7/25/2020                    90.48%              92.28%                    86.21%
Western                Hawkeye                              8/1/2020                    88.41%              92.05%                    81.16%
Western                Hawkeye                              8/8/2020                    84.80%              85.56%                    73.21%
Western                Hawkeye                             8/15/2020                    89.96%              92.18%                    84.27%
Western                Hawkeye                             8/22/2020                    91.46%              94.62%                    87.97%
Western                Hawkeye                             8/29/2020                    88.46%              93.94%                    83.51%
Western                Hawkeye                              9/5/2020                    86.11%              93.57%                    86.14%
Western                Hawkeye                             9/12/2020                    89.06%              92.74%                    88.11%
Western                Hawkeye                             9/19/2020                    85.86%              94.62%                    89.70%
Western                Hawkeye                             9/26/2020                    87.93%              94.19%                    88.61%
Western                Hawkeye                             10/3/2020                    88.46%              91.63%                    82.47%
Western                Hawkeye                            10/10/2020                    88.23%              87.31%                    88.23%
Western                Hawkeye                            10/17/2020                    85.65%              93.89%                    81.27%
Western                Hawkeye                            10/24/2020                    87.43%              92.56%                    81.19%
Western                Hawkeye                            10/31/2020                    89.81%              95.67%                    88.21%
Western                Hawkeye                             11/7/2020                    87.98%              94.08%                    89.35%
Western                Hawkeye                            11/14/2020                    88.49%              95.00%                    86.75%
Western                Hawkeye                            11/21/2020                    84.66%              90.51%                    81.58%
Western                Hawkeye                            11/28/2020                    73.00%              85.61%                    78.74%
Western                Hawkeye                             12/5/2020                    77.48%              82.89%                    71.02%
Western                Mid-America                          1/4/2020                    92.87%              92.68%                    89.27%
Western                Mid-America                         1/11/2020                    91.73%              92.39%                    89.23%
Western                Mid-America                         1/18/2020                    93.52%              86.12%                    89.66%
Western                Mid-America                         1/25/2020                    92.49%              93.95%                    89.69%
Western                Mid-America                          2/1/2020                    91.50%              85.23%                    89.46%
Western                Mid-America                          2/8/2020                    92.63%              93.06%                    92.44%
Western                Mid-America                         2/15/2020                    94.05%              94.39%                    91.10%
Western                Mid-America                         2/22/2020                    93.41%              95.28%                    93.09%
Western                Mid-America                         2/29/2020                    93.35%              94.71%                    86.54%
Western                Mid-America                          3/7/2020                    92.74%              86.84%                    88.37%
Western                Mid-America                         3/14/2020                    92.51%              91.16%                    89.68%
Western                Mid-America                         3/21/2020                    93.16%              86.80%                    89.64%
Western                Mid-America                         3/28/2020                    93.77%              94.13%                    90.19%
Western                Mid-America                          4/1/2020                    93.40%              91.43%                    85.01%
Western                Mid-America                          4/4/2020                    93.59%              87.90%                    88.08%
Western                Mid-America                         4/11/2020                    91.47%              95.05%                    89.77%
Western                Mid-America                         4/18/2020                    93.14%              93.93%                    88.85%
Western                Mid-America                         4/25/2020                    92.15%              91.71%                    86.33%
Western                Mid-America                          5/2/2020                    92.13%              85.68%                    83.58%
Western                Mid-America                          5/9/2020                    91.20%              92.55%                    81.53%
Western                Mid-America                         5/16/2020                    92.48%              94.80%                    82.06%
Western                Mid-America                         5/23/2020                    93.25%              91.59%                    80.92%
Western                Mid-America                         5/30/2020                    90.14%              90.21%                    79.43%
Western                Mid-America                          6/6/2020                    91.12%              83.56%                    80.27%


Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                          63
                   Case 1:20-cv-06516-VM Document 104-1 Filed 12/18/20 Page 64 of 68
                             USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                             District - By Week

          Area                District                   Week               First-Class Mail   USPS Marketing Mail           Periodicals
Western                Mid-America                         6/13/2020                    90.75%              92.63%                    82.25%
Western                Mid-America                         6/20/2020                    91.73%              89.13%                    83.35%
Western                Mid-America                         6/27/2020                    91.34%              93.82%                    85.05%
Western                Mid-America                          7/1/2020                    91.03%              87.84%                    80.23%
Western                Mid-America                          7/4/2020                    90.57%              82.67%                    76.49%
Western                Mid-America                         7/11/2020                    85.22%              85.28%                    74.74%
Western                Mid-America                         7/18/2020                    87.49%              87.01%                    77.86%
Western                Mid-America                         7/25/2020                    87.05%              88.47%                    79.40%
Western                Mid-America                          8/1/2020                    86.23%              74.01%                    71.75%
Western                Mid-America                          8/8/2020                    83.85%              86.77%                    79.93%
Western                Mid-America                         8/15/2020                    88.83%              88.73%                    77.62%
Western                Mid-America                         8/22/2020                    90.06%              92.21%                    81.72%
Western                Mid-America                         8/29/2020                    89.23%              89.34%                    82.48%
Western                Mid-America                          9/5/2020                    90.12%              79.04%                    78.18%
Western                Mid-America                         9/12/2020                    85.96%              80.36%                    75.70%
Western                Mid-America                         9/19/2020                    85.99%              79.62%                    77.43%
Western                Mid-America                         9/26/2020                    85.80%              85.47%                    76.76%
Western                Mid-America                         10/3/2020                    84.38%              80.14%                    73.87%
Western                Mid-America                        10/10/2020                    84.63%              88.08%                    75.28%
Western                Mid-America                        10/17/2020                    83.32%              86.20%                    77.97%
Western                Mid-America                        10/24/2020                    84.57%              82.19%                    84.02%
Western                Mid-America                        10/31/2020                    85.63%              76.63%                    75.70%
Western                Mid-America                         11/7/2020                    82.06%              77.83%                    84.83%
Western                Mid-America                        11/14/2020                    85.90%              83.90%                    75.71%
Western                Mid-America                        11/21/2020                    82.43%              68.82%                    69.31%
Western                Mid-America                        11/28/2020                    80.41%              78.32%                    51.29%
Western                Mid-America                         12/5/2020                    78.71%              65.02%                    41.91%
Western                Nevada Sierra                        1/4/2020                    93.47%              93.77%                    86.48%
Western                Nevada Sierra                       1/11/2020                    93.61%              92.92%                    81.50%
Western                Nevada Sierra                       1/18/2020                    94.70%              93.38%                    85.30%
Western                Nevada Sierra                       1/25/2020                    93.02%              95.19%                    86.21%
Western                Nevada Sierra                        2/1/2020                    90.67%              93.77%                    86.95%
Western                Nevada Sierra                        2/8/2020                    91.93%              95.24%                    85.65%
Western                Nevada Sierra                       2/15/2020                    94.84%              93.73%                    89.69%
Western                Nevada Sierra                       2/22/2020                    94.59%              96.75%                    89.68%
Western                Nevada Sierra                       2/29/2020                    95.14%              95.02%                    89.43%
Western                Nevada Sierra                        3/7/2020                    92.78%              93.56%                    81.77%
Western                Nevada Sierra                       3/14/2020                    93.11%              94.91%                    88.91%
Western                Nevada Sierra                       3/21/2020                    90.78%              95.53%                    84.31%
Western                Nevada Sierra                       3/28/2020                    93.50%              96.23%                    89.14%
Western                Nevada Sierra                        4/1/2020                    94.86%              94.08%                    91.21%
Western                Nevada Sierra                        4/4/2020                    94.29%              95.48%                    85.80%
Western                Nevada Sierra                       4/11/2020                    92.61%              94.63%                    77.14%
Western                Nevada Sierra                       4/18/2020                    94.00%              94.77%                    80.78%
Western                Nevada Sierra                       4/25/2020                    93.96%              94.12%                    79.30%
Western                Nevada Sierra                        5/2/2020                    93.31%              93.23%                    78.43%
Western                Nevada Sierra                        5/9/2020                    91.40%              94.49%                    73.97%
Western                Nevada Sierra                       5/16/2020                    93.80%              95.39%                    79.77%
Western                Nevada Sierra                       5/23/2020                    93.51%              94.16%                    78.80%
Western                Nevada Sierra                       5/30/2020                    93.40%              96.04%                    88.87%
Western                Nevada Sierra                        6/6/2020                    94.16%              95.33%                    79.78%
Western                Nevada Sierra                       6/13/2020                    94.39%              94.54%                    81.39%
Western                Nevada Sierra                       6/20/2020                    93.73%              94.73%                    76.47%
Western                Nevada Sierra                       6/27/2020                    91.03%              94.94%                    82.83%
Western                Nevada Sierra                        7/1/2020                    91.15%              92.29%                    88.98%
Western                Nevada Sierra                        7/4/2020                    93.29%              87.84%                    76.95%
Western                Nevada Sierra                       7/11/2020                    91.50%              93.42%                    78.57%


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Commission (PRC) at the end of the quarter.                          64
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                             USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                             District - By Week

          Area                 District                  Week               First-Class Mail   USPS Marketing Mail           Periodicals
Western                Nevada Sierra                       7/18/2020                    89.27%              92.14%                    78.19%
Western                Nevada Sierra                       7/25/2020                    88.43%              91.85%                    71.41%
Western                Nevada Sierra                        8/1/2020                    87.59%              90.41%                    75.00%
Western                Nevada Sierra                        8/8/2020                    88.44%              91.67%                    67.10%
Western                Nevada Sierra                       8/15/2020                    89.21%              91.23%                    75.80%
Western                Nevada Sierra                       8/22/2020                    90.43%              92.61%                    78.85%
Western                Nevada Sierra                       8/29/2020                    91.09%              94.61%                    87.64%
Western                Nevada Sierra                        9/5/2020                    91.85%              91.82%                    85.06%
Western                Nevada Sierra                       9/12/2020                    90.97%              90.79%                    83.18%
Western                Nevada Sierra                       9/19/2020                    89.76%              94.74%                    86.04%
Western                Nevada Sierra                       9/26/2020                    92.23%              93.88%                    78.05%
Western                Nevada Sierra                       10/3/2020                    91.48%              94.78%                    85.18%
Western                Nevada Sierra                      10/10/2020                    90.36%              93.61%                    82.54%
Western                Nevada Sierra                      10/17/2020                    86.47%              95.19%                    85.68%
Western                Nevada Sierra                      10/24/2020                    89.08%              95.68%                    79.71%
Western                Nevada Sierra                      10/31/2020                    91.02%              94.36%                    87.23%
Western                Nevada Sierra                       11/7/2020                    91.06%              94.72%                    83.86%
Western                Nevada Sierra                      11/14/2020                    90.59%              95.05%                    79.80%
Western                Nevada Sierra                      11/21/2020                    89.11%              93.22%                    74.09%
Western                Nevada Sierra                      11/28/2020                    84.54%              94.59%                    80.17%
Western                Nevada Sierra                       12/5/2020                    85.83%              94.31%                    82.14%
Western                Northland                            1/4/2020                    89.01%              92.37%                    88.59%
Western                Northland                           1/11/2020                    86.78%              89.56%                    89.32%
Western                Northland                           1/18/2020                    90.09%              84.53%                    88.25%
Western                Northland                           1/25/2020                    88.36%              92.31%                    88.21%
Western                Northland                            2/1/2020                    89.04%              86.63%                    87.39%
Western                Northland                            2/8/2020                    90.77%              93.86%                    91.54%
Western                Northland                           2/15/2020                    92.81%              94.81%                    88.37%
Western                Northland                           2/22/2020                    91.56%              94.30%                    88.69%
Western                Northland                           2/29/2020                    92.33%              87.84%                    83.08%
Western                Northland                            3/7/2020                    90.74%              94.84%                    91.94%
Western                Northland                           3/14/2020                    89.95%              95.49%                    89.46%
Western                Northland                           3/21/2020                    91.48%              95.80%                    91.63%
Western                Northland                           3/28/2020                    90.91%              96.44%                    84.27%
Western                Northland                            4/1/2020                    93.54%              96.00%                    87.80%
Western                Northland                            4/4/2020                    90.68%              89.12%                    91.32%
Western                Northland                           4/11/2020                    90.17%              96.32%                    89.40%
Western                Northland                           4/18/2020                    91.46%              95.08%                    88.25%
Western                Northland                           4/25/2020                    93.28%              94.47%                    78.57%
Western                Northland                            5/2/2020                    90.08%              86.83%                    86.39%
Western                Northland                            5/9/2020                    91.30%              93.54%                    87.92%
Western                Northland                           5/16/2020                    91.74%              95.33%                    82.63%
Western                Northland                           5/23/2020                    92.34%              92.13%                    85.64%
Western                Northland                           5/30/2020                    86.11%              92.60%                    74.23%
Western                Northland                            6/6/2020                    88.64%              85.73%                    85.92%
Western                Northland                           6/13/2020                    92.12%              93.74%                    86.74%
Western                Northland                           6/20/2020                    90.63%              92.16%                    87.20%
Western                Northland                           6/27/2020                    87.53%              86.68%                    88.15%
Western                Northland                            7/1/2020                    89.34%              93.30%                    74.95%
Western                Northland                            7/4/2020                    91.24%              88.99%                    84.94%
Western                Northland                           7/11/2020                    84.31%              87.02%                    81.56%
Western                Northland                           7/18/2020                    75.49%              86.80%                    85.87%
Western                Northland                           7/25/2020                    82.85%              88.31%                    80.49%
Western                Northland                            8/1/2020                    80.13%              81.95%                    79.68%
Western                Northland                            8/8/2020                    79.91%              86.30%                    73.93%
Western                Northland                           8/15/2020                    84.33%              88.81%                    80.69%
Western                Northland                           8/22/2020                    84.85%              91.22%                    73.66%


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Commission (PRC) at the end of the quarter.                          65
                   Case 1:20-cv-06516-VM Document 104-1 Filed 12/18/20 Page 66 of 68
                             USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                             District - By Week

          Area                 District                  Week               First-Class Mail   USPS Marketing Mail           Periodicals
Western                Northland                           8/29/2020                    84.22%              83.29%                    69.45%
Western                Northland                            9/5/2020                    87.87%              86.32%                    82.76%
Western                Northland                           9/12/2020                    84.51%              89.28%                    85.51%
Western                Northland                           9/19/2020                    81.46%              92.81%                    81.63%
Western                Northland                           9/26/2020                    82.88%              93.49%                    81.46%
Western                Northland                           10/3/2020                    84.65%              88.68%                    80.85%
Western                Northland                          10/10/2020                    85.95%              89.04%                    84.85%
Western                Northland                          10/17/2020                    80.25%              90.13%                    81.17%
Western                Northland                          10/24/2020                    81.57%              89.69%                    84.91%
Western                Northland                          10/31/2020                    86.30%              84.93%                    81.97%
Western                Northland                           11/7/2020                    84.90%              92.48%                    85.73%
Western                Northland                          11/14/2020                    87.36%              90.73%                    81.15%
Western                Northland                          11/21/2020                    77.75%              80.12%                    75.67%
Western                Northland                          11/28/2020                    75.92%              78.27%                    71.38%
Western                Northland                           12/5/2020                    70.80%              64.62%                    63.28%
Western                Portland                             1/4/2020                    92.92%              93.23%                    90.19%
Western                Portland                            1/11/2020                    89.06%              91.07%                    81.94%
Western                Portland                            1/18/2020                    93.27%              92.87%                    89.76%
Western                Portland                            1/25/2020                    91.19%              93.75%                    94.41%
Western                Portland                             2/1/2020                    90.93%              93.74%                    90.35%
Western                Portland                             2/8/2020                    92.82%              94.51%                    94.11%
Western                Portland                            2/15/2020                    94.69%              94.54%                    94.45%
Western                Portland                            2/22/2020                    93.54%              95.20%                    90.15%
Western                Portland                            2/29/2020                    94.06%              95.15%                    91.94%
Western                Portland                             3/7/2020                    93.08%              94.51%                    92.30%
Western                Portland                            3/14/2020                    92.31%              94.39%                    89.05%
Western                Portland                            3/21/2020                    92.95%              95.45%                    88.33%
Western                Portland                            3/28/2020                    92.16%              95.10%                    85.25%
Western                Portland                             4/1/2020                    93.26%              96.35%                    87.44%
Western                Portland                             4/4/2020                    90.68%              96.56%                    93.90%
Western                Portland                            4/11/2020                    90.47%              95.75%                    87.72%
Western                Portland                            4/18/2020                    92.51%              96.12%                    87.87%
Western                Portland                            4/25/2020                    91.41%              96.28%                    88.34%
Western                Portland                             5/2/2020                    90.94%              93.98%                    87.61%
Western                Portland                             5/9/2020                    89.05%              94.33%                    82.97%
Western                Portland                            5/16/2020                    92.15%              95.23%                    85.25%
Western                Portland                            5/23/2020                    92.32%              93.81%                    88.96%
Western                Portland                            5/30/2020                    91.80%              94.39%                    87.26%
Western                Portland                             6/6/2020                    91.61%              94.70%                    89.93%
Western                Portland                            6/13/2020                    92.16%              94.91%                    86.89%
Western                Portland                            6/20/2020                    91.46%              94.10%                    89.11%
Western                Portland                            6/27/2020                    90.19%              93.83%                    78.29%
Western                Portland                             7/1/2020                    92.78%              92.23%                    94.66%
Western                Portland                             7/4/2020                    90.60%              89.07%                    86.43%
Western                Portland                            7/11/2020                    87.71%              92.49%                    82.74%
Western                Portland                            7/18/2020                    88.11%              92.76%                    83.88%
Western                Portland                            7/25/2020                    86.76%              93.16%                    74.42%
Western                Portland                             8/1/2020                    87.67%              91.62%                    82.51%
Western                Portland                             8/8/2020                    86.40%              92.49%                    80.24%
Western                Portland                            8/15/2020                    88.76%              94.38%                    76.32%
Western                Portland                            8/22/2020                    89.60%              94.12%                    82.24%
Western                Portland                            8/29/2020                    88.95%              93.75%                    86.76%
Western                Portland                             9/5/2020                    89.99%              90.39%                    85.15%
Western                Portland                            9/12/2020                    87.63%              89.29%                    81.37%
Western                Portland                            9/19/2020                    89.29%              94.95%                    82.51%
Western                Portland                            9/26/2020                    90.97%              92.83%                    82.08%
Western                Portland                            10/3/2020                    88.96%              96.01%                    82.12%


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Commission (PRC) at the end of the quarter.                          66
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                             USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                             District - By Week

          Area                  District                 Week               First-Class Mail   USPS Marketing Mail           Periodicals
Western                Portland                           10/10/2020                    89.83%              93.49%                    83.99%
Western                Portland                           10/17/2020                    83.89%              94.18%                    82.91%
Western                Portland                           10/24/2020                    88.68%              93.18%                    87.55%
Western                Portland                           10/31/2020                    89.77%              95.31%                    93.04%
Western                Portland                            11/7/2020                    90.24%              94.56%                    91.91%
Western                Portland                           11/14/2020                    91.46%              94.88%                    88.63%
Western                Portland                           11/21/2020                    89.17%              94.64%                    78.88%
Western                Portland                           11/28/2020                    84.02%              93.19%                    83.21%
Western                Portland                            12/5/2020                    84.85%              82.25%                    68.82%
Western                Salt Lake City                       1/4/2020                    91.25%              90.95%                    84.94%
Western                Salt Lake City                      1/11/2020                    92.10%              92.81%                    88.87%
Western                Salt Lake City                      1/18/2020                    92.63%              92.44%                    86.75%
Western                Salt Lake City                      1/25/2020                    91.01%              94.68%                    90.38%
Western                Salt Lake City                       2/1/2020                    91.68%              93.85%                    85.30%
Western                Salt Lake City                       2/8/2020                    91.30%              93.71%                    89.17%
Western                Salt Lake City                      2/15/2020                    93.54%              91.77%                    90.01%
Western                Salt Lake City                      2/22/2020                    93.66%              95.84%                    88.51%
Western                Salt Lake City                      2/29/2020                    93.33%              95.48%                    89.29%
Western                Salt Lake City                       3/7/2020                    91.79%              94.37%                    91.53%
Western                Salt Lake City                      3/14/2020                    90.52%              94.09%                    88.93%
Western                Salt Lake City                      3/21/2020                    89.85%              95.27%                    83.02%
Western                Salt Lake City                      3/28/2020                    92.13%              93.99%                    83.29%
Western                Salt Lake City                       4/1/2020                    90.76%              92.50%                    75.97%
Western                Salt Lake City                       4/4/2020                    92.67%              93.25%                    72.05%
Western                Salt Lake City                      4/11/2020                    85.84%              95.39%                    81.86%
Western                Salt Lake City                      4/18/2020                    90.82%              93.56%                    83.62%
Western                Salt Lake City                      4/25/2020                    91.05%              94.79%                    74.65%
Western                Salt Lake City                       5/2/2020                    89.40%              94.09%                    72.41%
Western                Salt Lake City                       5/9/2020                    88.21%              92.30%                    70.63%
Western                Salt Lake City                      5/16/2020                    92.26%              91.69%                    78.41%
Western                Salt Lake City                      5/23/2020                    92.52%              93.61%                    78.85%
Western                Salt Lake City                      5/30/2020                    90.33%              94.59%                    80.09%
Western                Salt Lake City                       6/6/2020                    90.60%              93.32%                    76.58%
Western                Salt Lake City                      6/13/2020                    91.55%              93.65%                    84.30%
Western                Salt Lake City                      6/20/2020                    90.75%              93.44%                    84.10%
Western                Salt Lake City                      6/27/2020                    89.95%              90.65%                    88.07%
Western                Salt Lake City                       7/1/2020                    91.95%              92.29%                    84.17%
Western                Salt Lake City                       7/4/2020                    88.55%              86.78%                    77.79%
Western                Salt Lake City                      7/11/2020                    86.29%              90.70%                    85.71%
Western                Salt Lake City                      7/18/2020                    86.69%              90.73%                    85.81%
Western                Salt Lake City                      7/25/2020                    87.91%              91.10%                    74.52%
Western                Salt Lake City                       8/1/2020                    86.71%              91.41%                    82.42%
Western                Salt Lake City                       8/8/2020                    85.74%              90.29%                    70.94%
Western                Salt Lake City                      8/15/2020                    88.77%              92.11%                    79.91%
Western                Salt Lake City                      8/22/2020                    89.90%              94.31%                    79.92%
Western                Salt Lake City                      8/29/2020                    90.13%              92.82%                    88.73%
Western                Salt Lake City                       9/5/2020                    90.51%              92.79%                    90.55%
Western                Salt Lake City                      9/12/2020                    88.49%              91.58%                    86.77%
Western                Salt Lake City                      9/19/2020                    89.78%              93.71%                    87.61%
Western                Salt Lake City                      9/26/2020                    91.24%              93.30%                    88.67%
Western                Salt Lake City                      10/3/2020                    90.97%              94.63%                    90.89%
Western                Salt Lake City                     10/10/2020                    89.23%              88.37%                    87.79%
Western                Salt Lake City                     10/17/2020                    86.32%              94.12%                    83.30%
Western                Salt Lake City                     10/24/2020                    87.78%              94.92%                    86.62%
Western                Salt Lake City                     10/31/2020                    88.62%              95.50%                    87.07%
Western                Salt Lake City                      11/7/2020                    87.35%              91.76%                    90.98%
Western                Salt Lake City                     11/14/2020                    90.72%              93.58%                    88.08%


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Commission (PRC) at the end of the quarter.                          67
                   Case 1:20-cv-06516-VM Document 104-1 Filed 12/18/20 Page 68 of 68
                             USPS FY20 Q2 - FY21 Q1 To-Date Service Performance For Market-Dominant Products
                                                             District - By Week

          Area                  District                 Week               First-Class Mail   USPS Marketing Mail           Periodicals
Western                Salt Lake City                     11/21/2020                    86.92%              91.62%                    80.17%
Western                Salt Lake City                     11/28/2020                    81.37%              89.52%                    72.67%
Western                Salt Lake City                      12/5/2020                    81.80%              83.27%                    77.11%
Western                Seattle                              1/4/2020                    92.83%              92.34%                    88.39%
Western                Seattle                             1/11/2020                    89.53%              90.61%                    89.47%
Western                Seattle                             1/18/2020                    93.67%              93.62%                    89.58%
Western                Seattle                             1/25/2020                    90.67%              93.92%                    91.16%
Western                Seattle                              2/1/2020                    89.66%              93.80%                    87.70%
Western                Seattle                              2/8/2020                    90.39%              94.89%                    94.35%
Western                Seattle                             2/15/2020                    94.33%              94.47%                    93.29%
Western                Seattle                             2/22/2020                    92.70%              94.67%                    94.06%
Western                Seattle                             2/29/2020                    92.71%              94.87%                    90.51%
Western                Seattle                              3/7/2020                    92.21%              94.31%                    90.67%
Western                Seattle                             3/14/2020                    91.72%              95.09%                    88.77%
Western                Seattle                             3/21/2020                    92.42%              95.23%                    89.14%
Western                Seattle                             3/28/2020                    91.12%              96.30%                    85.75%
Western                Seattle                              4/1/2020                    91.79%              94.28%                    89.11%
Western                Seattle                              4/4/2020                    91.48%              96.26%                    85.71%
Western                Seattle                             4/11/2020                    90.61%              96.31%                    89.81%
Western                Seattle                             4/18/2020                    91.89%              96.21%                    88.09%
Western                Seattle                             4/25/2020                    91.16%              96.08%                    89.21%
Western                Seattle                              5/2/2020                    90.60%              95.07%                    88.16%
Western                Seattle                              5/9/2020                    88.35%              95.27%                    83.71%
Western                Seattle                             5/16/2020                    92.23%              95.11%                    85.26%
Western                Seattle                             5/23/2020                    91.90%              92.78%                    85.66%
Western                Seattle                             5/30/2020                    90.66%              94.16%                    87.13%
Western                Seattle                              6/6/2020                    91.69%              94.33%                    81.82%
Western                Seattle                             6/13/2020                    91.51%              95.10%                    87.97%
Western                Seattle                             6/20/2020                    91.50%              92.78%                    80.46%
Western                Seattle                             6/27/2020                    91.58%              94.19%                    93.81%
Western                Seattle                              7/1/2020                    91.59%              93.77%                    92.84%
Western                Seattle                              7/4/2020                    91.85%              93.38%                    80.78%
Western                Seattle                             7/11/2020                    85.75%              94.10%                    87.05%
Western                Seattle                             7/18/2020                    81.32%              80.55%                    82.38%
Western                Seattle                             7/25/2020                    86.66%              92.23%                    78.34%
Western                Seattle                              8/1/2020                    84.20%              89.47%                    75.81%
Western                Seattle                              8/8/2020                    75.89%              90.99%                    81.31%
Western                Seattle                             8/15/2020                    75.85%              90.31%                    79.88%
Western                Seattle                             8/22/2020                    77.91%              91.75%                    88.24%
Western                Seattle                             8/29/2020                    82.00%              92.11%                    81.87%
Western                Seattle                              9/5/2020                    87.70%              91.58%                    89.04%
Western                Seattle                             9/12/2020                    85.45%              89.47%                    85.09%
Western                Seattle                             9/19/2020                    88.25%              94.20%                    88.33%
Western                Seattle                             9/26/2020                    88.98%              93.55%                    88.64%
Western                Seattle                             10/3/2020                    89.48%              95.62%                    87.02%
Western                Seattle                            10/10/2020                    89.14%              93.81%                    88.40%
Western                Seattle                            10/17/2020                    81.15%              93.05%                    89.19%
Western                Seattle                            10/24/2020                    84.54%              94.39%                    92.22%
Western                Seattle                            10/31/2020                    88.04%              93.64%                    92.83%
Western                Seattle                             11/7/2020                    85.70%              92.50%                    92.90%
Western                Seattle                            11/14/2020                    89.53%              92.67%                    86.10%
Western                Seattle                            11/21/2020                    83.33%              92.60%                    88.52%
Western                Seattle                            11/28/2020                    80.06%              90.03%                    84.29%
Western                Seattle                             12/5/2020                    80.10%              88.76%                    88.29%




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Commission (PRC) at the end of the quarter.                          68
